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                          EXHIBIT A
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                                                                                                      US008217033B2


 (12) United States Patent                                                          (10) Patent No.:                   US 8,217,033 B2
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 (51) Int. Cl.                                                                                              (Continued)
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 (58) Field of Classification Search ........................ None             The Dow Chemical Company (PEGs & MPEGs, Mar. 2006).*
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                               1.                                                                   2
      METHODS AND COMPOSITIONS FOR THE                                (Ed.) TRANSNASAL SYSTEMIC MEDICATIONS, FUNDAMENTALS,
       DELIVERY OF ATHERAPEUTICAGENT                                  DEVELOPMENTAL CONCEPTS AND BIOMEDICAL ASSESSMENTS,
                                                                      ELSEVIER Science Publishers, Amsterdam, pp. 101-105). As a
                 RELATED APPLICATIONS                                 result, this hypothesis, if correct, may limit the delivery of
                                                                      certain therapeutic agents that are sparingly soluble in water.
    This application is a continuation of co-pending U.S. appli          To facilitate delivery to the nasal cavity, an effective
 cation Ser. No. 12/016,724, filed Jan. 18, 2008, which claims        amount of the therapeutic agent should be dissolved in a small
 the benefit of and priority to Icelandic Patent Application volume, for example, less than about 1000 uL, preferably less
 Serial No. 8593/2007, filed Jan. 19, 2007, the entire disclo         than 300 u, and more preferably less than 150 uL. Larger
 sure of each of which is incorporated by reference herein for Volumes drain out anteriorly through the nostrils or posteri
                                                                   10
 all purposes.                                                        orly toward the pharynx where excess liquid is swallowed. As
                                                                      a result, if large Volumes are administered, a portion of the
                  FIELD OF THE INVENTION                              therapeutic agent can be lost from the absorption site, and it
                                                                      can be difficult if not impossible to reproducibly administer
    This invention relates generally to compositions for the 15 the correct dose of the therapeutic agent.
 delivery of a therapeutic agent and to related methods, and             A variety of delivery systems have been developed for the
 more particularly relates to compositions containing one or nasal administration of therapeutic agents. Lau and Slattery
 more alkoxy-polyethylene glycols for the delivery of a thera studied the absorption characteristics of diazepam and
 peutic agent and to related methods.                                 lorazepam following their intranasal administration for the
                                                                      treatment of epilepticus (Lau, S.W. J. & Slattery, J.T. (1989),
                         BACKGROUND                                   Absorption of Diazepam and Lorazepam Following Intrana
                                                                      sal Administration, INT. J. PHARM., 54, 171-174). In order to
    The administration of atherapeutic agent by injection (e.g.,      solubilize the therapeutic agent, a non-ionic Surfactant—
 intravenous, intramuscular or Subcutaneous injection) typi polyoxyethylated castor oil—was selected as the least irritat
 cally is regarded as the most convenient way of administra 25 ing solvent of several solvents studied, including polyethyl
 tion when the purpose is to achieve a rapid and strong sys ene glycol 400 (PEG 400). Diazepam absorption was 84%
 temic effect, for example, within 3-10 minutes, when the and 72%, respectively, in two adults measured over a period
 agent is not absorbed by the gastrointestinal tract, or when the of 60 hours. However, the peak concentration was not
 agentis inactivated in the gastrointestinal tract or by first-pass observed until 1.4 hours after the nasal administration and
 hepatic metabolism. However, administration by injection 30 was only about 27% with reference to intravenous adminis
 presents a range of disadvantages. For example, sterile tration, Suggesting that most of the absorption had taken place
 syringes must be used and injections cannot be administered after the test substance passed down to pharynx and swal
 by untrained personnel. Furthermore, this mode of adminis lowed. Similar results were obtained for lorazepam but with
 tration may cause pain and/or irritation, especially in the case an even longer time to peak (2.3 hours). The authors con
 of repeated injections at the same site.                          35 cluded that the intranasal route of administration had limited
    Mucosal administration, Such as, intranasal, buccal, Sub          potential for the acute treatment of epileptic seizures.
 lingual, rectal and pulmonal administration, is receiving par           Wilton et al. attempted to administer midazolam to 45
 ticular interest as it avoids many of the disadvantages of children to achieve pre-anesthetic sedation (Wilton et al.
 injecting a therapeutic agent while, at the same time, still (1988) Preanaesthetic Sedation of Preschool Children. Using
 providing a strong and rapid systemic effect. In order to be an 40 Intranasal Midazolam, ANESTHESIOLOGY, 69,972-975). How
 attractive alternative to injection, mucosal administration, for ever, the Volumes used were impractical and exceeded the
 example, intranasal administration, should neither cause sig maximal volume required for efficient administration. This
 nificant pain, discomfort or irritation nor cause any irrevers resulted in coughing and Sneezing with expulsion of at least
 ible damage to the mucosal Surface. However, in the case of part of the dose.
 acute health threatening indications, a relatively high local 45 Morimoto et al. Studied a gel preparation for nasal appli
 irritation to the mucosa may be acceptable.                          cation in rats of nifedipine containing the gelling agent car
    In mucosal administration, such as during nasal, buccal or bopol (polyacrylic acid) in PEG 400, for achieving prolonged
 rectal administration, the therapeutic agent should be applied action and high bioavailability of the therapeutic agent
 to the mucosa in a vehicle that permits it to penetrate, or be (Morimoto et al. (1987) Nasal Absorption of Nifedipine from
 absorbed through, the mucosa. In order to penetrate the 50 Gel Preparations in Rats, CHEMICAL AND PHARMACEUTICAL BUL
 mucus, the vehicle should be biocompatible with mucus and LETINS,35, No. 7,3041-3044). A mixture of equal amounts of
 hence have a certain degree of hydrophilicity. However, the carbopol and PEG 400 was preferred. It was shown that nasal
 vehicle should preferably also possess lipophilic properties to application provided higher bioavailability of nifedipine than
 dissolve a clinically relevant amount of the therapeutic agent after peroral administration, but the peak plasma concentra
 of interest.                                                    55   tion was not observed until 30 minutes after administration.
    The extensive network of blood capillaries under the                Danish Patent Application No. 2586/87 discloses a phar
 mucosal Surface, especially in the nasal mucosa, is well Suited maceutical composition comprising an anti-inflammatory
 to provide a rapid and effective systemic absorption of drugs,      steroid, water, 2 to 10% (v/v) propylene glycol, 10 to 25%
 vaccines and biologicals. Moreover, the nasal epithelial mem (v/v) PEG 400, and 1 to 4% (v/v) Tween 20.
 brane in effect contains a single layer of epithelial cells (pseu 60 U.S. Pat. No. 4,153,689 discloses a stable aqueous solution
 dostratified epithelium) and, therefore, is more suited for drug of insulin intended for intranasal administration. The solu
 administration than other mucosal Surfaces having squamous tions had a pH not more than 4.7, and contained from 0.1 to
 epithelial layers, such as, the mouth and vagina.                   20% by weight of a stabilizing agent including (a) one or
    It has been hypothesized that the usefulness of nasal more non-ionic Surface active agents whose hydrophile-lipo
 administration can be limited if the therapeutic agent has 65 phile balance value was in the range of 9 to 22, and/or (b)
 limited solubility in water (Proctor, D. F. (1985) Nasal Physi polyethylene glycol whose molecular weight was in the range
 ology in Intranasal Drug Administrations, in Chien, Y. W. of from 200 to 7500. Exemplary non-ionic surface active
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 agents included polyoxyethylene fatty acid ester, a polyoxy           wherein,
 ethylene higher alcohol ether, a polyoxyethylene alkylphenyl         R is (C-C)alkyl; and
 ether, or a polyoxyethylene alkylphenyl ether, or a polyoxy          n, which is the average number of oxyethylene repeating
 ethylene hydrogenated castor oil.                                 units, is a number in the range of from about 1 to about 25.
    International Patent Publication No. DK-2075/90 dis               In another aspect, the invention provides methods of deliv
 closes the nasal administration of therapeutic agents, for ering a therapeutic agent of interest to a mammal, for
 example, benzodiazepines, in compositions containing example, a human, using an alkoxy-polyethylene glycol con
 n-glycofurol, a derivative of polyethyleneglycol, for mucosal taining composition described herein. The composition is
 administration. The application discloses the nasal adminis
 tration of therapeutic agents, for example, benzodiazepines, 10 particularly
                                                                   mucosal
                                                                                  useful when the composition is applied to a
                                                                              membrane,    for example, a nasal membrane during
 in formulations containing at least 30% n-ethyleneglycols intranasal drug delivery.
 ranging from 1-8 ethylene glycol, for example, polyethylene
 glycol 200 (PEG 200).                                                These and other aspects and advantages of the invention
    U.S. Pat. No. 5,693,608 discloses a method of administer       will  become apparent upon consideration of the following
 ing a therapeutic agent via the nasal mucosa of a mammal, 15 detailed description and claims.
 where the agent is dissolved or Suspended in an n-ethyleneg           DETAILED DESCRIPTION OF THE INVENTION
 lycol containing vehicle where the n-ethyleneglycol is repre
 sented  by the formula, H(OCH2CH2)OH, wherein p is a
 number from 1 to 8.                                                  The invention is based, in part, upon the discovery that the
    Notwithstanding, there is still a need for compositions        inclusion   of one or more alkoxy-polyethylene glycols into
 deliverable through mucosal membranes that produce thera formulations
                                                                   ents  when   the
                                                                                   provides certain advantages over other excipi
                                                                                     formulations are applied, for example, to a
 peutic plasma concentrations of the therapeutic agent as fast
                                                                   mucosal Surface. For example, it has been discovered that
 as or nearly as fast as by intravenous administration but with when
 out causing irritation and/or unacceptable damage to the lation,anthealkoxy-polyethylene           glycol is used in Such a formu
                                                                                therapeutic agent (for example, a poorly soluble
 mucosal membrane.                                              25
                                                                   therapeutic agent) can be solubilized more easily and in larger
              SUMMARY OF THE INVENTION                             amounts than when other excipients, for example, polyethyl
                                                                   ene glycol (more particularly PEG 400), are used. However,
    The invention is based, in part, upon the discovery that the the    resulting formulations are less viscous and cause less
                                                                   irritation to mucosal membranes as the amount of other vis
 inclusion of one or more alkoxy-polyethylene glycols in a 30
 formulation provides certain advantages when the resulting cous and irritable excipients can be reduced or eliminated
 composition is to be applied, for example, to a mucosal Sur altogether. As a result, the lower viscosity formulations, when
 face. For example, it has been discovered that when alkoxy converted
                                                                   ing
                                                                               into droplets, for example, by a nasal sprayer dur
                                                                       intranasal  delivery, produce a spray pattern optimized for
 polyethylene glycol is used in Such formulations, the thera
 peutic agent can be still be solubilized (which is especially 35 delivering the therapeutic agent to the mucosal membrane. In
 useful for poorly soluble therapeutic agents) but the resulting addition, formulations containing one or more alkoxy-poly
 formulations are less viscous and cause less irritation to        ethylene glycols cause less irritation (for example, a burning
 mucosal membranes because the amount of other potentially sensation) when applied to a mucosal Surface, for example, a
 Viscous and irritable excipients, for example, polyethylene nasal membrane during intranasal administration. In addi
 glycol or propylene glucol, can be reduced or eliminated 40 tion, when administered intranasally, the compositions of the
 altogether. As a result, the lower viscosity formulations, when invention have less undesirable after taste (for example, a
 converted into droplets, for example, by a nasal sprayer dur petroleum-like after taste) than when other excipients, for
 ing intranasal delivery, can produce a spray pattern optimized example, propylene glycol, are used.
 for delivering the therapeutic agent to the mucosal mem              Under certain circumstances, the alkoxy-group also
 brane. In addition, formulations containing alkoxy-polyeth 45 increases the bioadhesion of the composition to the site of
 ylene glycols create less irritation (burning sensation) when administration on the mucosal Surface thereby prolonging the
 applied to a mucosal Surface, for example, a nasal membrane duration of the composition at the site of administration. This
 following nasal administration. In addition, when adminis can increase the amount of therapeutic agent that is ultimately
 tered intranasally, the compositions of the invention mini absorbed.
 mize undesirable after taste (for example, a petroleum-like 50 I—Formulations
 after taste) that can be associated with certain other excipi tical  In one aspect, the invention provides a liquid pharmaceu
 entS.                                                                    composition comprising a therapeutic agent and an
    In one aspect, the invention provides a liquid pharmaceu alkoxy-polyethylene glycol represented by Formula I:
 tical composition comprising a therapeutic agent and an
 alkoxy-polyethylene glycol represented by Formula I:           55        R-O-(CH2CH2O). H                                       (I)
       R-O-(CH2CH2O). H                                      (I)       wherein,
                                                                    R is methyl, ethyl, n-propyl, isopropyl, or cyclopropyl; and
   wherein,                                                         n is the average number of oxyethylene repeating units and
    R is methyl, ethyl, n-propyl, isopropyl, or cyclopropyl; and
    n, which is the average number of oxyethylene repeating 60 is aInnumber    in the range of from about 1 to about 25.
                                                                       another aspect, the invention provides a liquid formula
 units, is a number in the range of from about 1 to about 25.    tion for Solubilizing a poorly soluble therapeutic agent. The
    In another aspect, the invention provides a liquid formula liquid pharmaceutical composition comprises a poorly
 tion for solubilizing a poorly soluble therapeutic agent, for soluble therapeutic agent, for example, a poorly soluble
 example, a poorly soluble organic therapeutic agent. The organic therapeutic agent, and an alkoxy-polyethylene glycol
 composition comprises a poorly soluble therapeutic agent 65 represented by Formula I:
 and an alkoxy-polyethylene glycol represented by Formula I:
       R-O-(CH2CH2O). H                                      (I)           R-O-(CH2CH2O). H                                      (I)
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                                                                                                        6
   wherein,                                                             sprays that have more uniform spray characteristics (for
    R is (C-C)alkyl; and                                                example, more uniform droplet sizes and/or plume geom
    n is the average number of oxyethylene repeating units and          etries) for the intranasal administration of therapeutic agent.
 is a number in the range of from about 1 to about 25. The              The resulting pharmaceutical composition at a temperature of
 formulations typically are in liquid format 20°C., 25°C., 30°          20° C. has a viscosity in the range of about 1.5 cF to about 60
 C., 35° C., or 40° C. Certain formulations preferably are cP, or from about 2 cP to about 50 cP, or from about 3 cF to
 liquid formulations at 37° C.                                      about 40 cB, or from about 4 cp to about 30 cp, or from about
    The term “poorly soluble therapeutic agent” refers to a 5 cF          to about 25 cF.
                                                                       Exemplary alkoxy-polyethylene glycols, therapeutic
 compound having biological activity and a solubility in water 10 agents,    and other excipients useful in creating compositions
 of less than about 1 mg/mL at pH 7 and 20°C. In certain of the invention                are described in the following sections.
 embodiments, the poorly soluble therapeutic agent is an              A. Alkoxy-Polyethylene Glycol
 organic compound that has a molecular weight of less than            Useful alkoxy-polyethylene glycol excipients useful in the
 1500 g/mol, and preferably less than 500 g/mol. In certain practice          of the invention are represented by Formula (I):
 embodiments, the poorly soluble therapeutic agent is a com
 pound, for example, an organic compound, having an aque 15                R-O-(CH2CH2O). H                                            (I)
 ous solubility of less than about 0.5 mg/mL, less than about         wherein,    n,  as  the average  number    of oxyethylene   repeat
 0.3 mg/mL, or less than about 0.1 mg/mL, at pH 7 and 20°C. ing units, is a number in the range of from about 1 to about 25.
    In addition, the term “alkyl is art-recognized, and includes
 saturated aliphatic groups, including straight-chain alkyl Accordingly,
                                                                    10, 11,  12, 13,
                                                                                     in can be a number about 1, 2, 3, 4, 5, 6, 7, 8, 9.
                                                                                       14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, or 25.
 groups, branched-chain alkyl groups, cycloalkyl (alicyclic) In certain embodiments,              n is an number in the range of from
 groups, alkyl Substituted cycloalkyl groups, and cycloalkyl about 2 to about 15, or from
 substituted alkyl groups. The term “(C-C)alkyl refers to an 2 to about 13, or from aboutabout              2 to about 14, or from about
 alkyl group having between 1 and 6 carbon atoms. Represen about 11, or from about 2 to about 10, or12,
                                                                                                      2 to about      or from about 2 to
 tative alkyl groups include methyl, ethyl, n-propyl, isopropyl. 25 15, or from about 3 to about 14, or from aboutabout
                                                                                                                   from        3 to about
                                                                                                                          3 to about 13,
 n-butyl, Sec-butyl, isobutyl, tert-butyl, pentyl, hexyl, cyclo
 propyl, cyclobutyl, cyclopropylmethylene, cyclopentyl, from        or from about 3 to about 12, or from about 3 to about 11, or
                                                                          about 3 to about 10.
 cyclobutylmethylene, cyclobutylethylene, cyclohexyl, cyclo            In certain embodiments, R is (C-C)alkyl. For example, as
 propylpropylene, cyclobutylethylene, and cyclopentylmeth
 ylene. The term cyclopropylmethylene, for example, is art 30 discussed         above, R can be methyl, ethyl, n-propyl, isopropyl.
 recognized and refers to a radical having the following n-butyl,             Sec-butyl, isobutyl, tert-butyl, pentyl, hexyl, cyclo
                                                                    propyl, cyclobutyl, cyclopropylmethylene, cyclopentyl,
 formula:
                                                                    cyclobutylmethylene, cyclobutylethylene, cyclohexyl, cyclo
                                                                    propylpropylene, cyclobutylethylene, or cyclopentylmethyl
                                                                    ene. In certain embodiments, R is selected from the group
                                                                 35 consisting of methyl, ethyl, n-propyl, isopropyl, and cyclo
                                                                    propyl.
                                                                       In a preferred embodiment, the alkoxy-polyethylene gly
                                                                    col is methoxy-polyethylene glycol where R is methyl and in
    In certain embodiments, the alkoxy-polyethylene glycol is an number from about 1 to about 25, or from about 2 to
 can comprise from about 0.1% (v/v) to about 80% (v/v), or 40 about 12, or from about 3 to about 10.
 from about 0.5% (v/v) to about 70% (v/v), of the composition.        Useful methoxy-polyethylene glycols include, for
 In certain other embodiments, the alkoxy-polyethylene gly example, methoxy-diethyleneglycol (m2EG), methoxy-tri
 col can comprise from about 5% (v/v) to about 80% (v/v), or ethylene glycol (m3EG), methoxy-tetraethylene glycol
 from about 30% (v/v) to about 75% (v/v) or from about 40% (m4EG), methoxy-pentaethylene glycol (mSEG), methoxy
 (v/v) to about 70% (v/v), of the composition. For certain 45 hexaethylene glycol (m6EG), methoxy-heptaethylene glycol
 hydrophilic drugs, the alkoxy-polyethylene glycol can com (m7EG), methoxy-octaethylene glycol (m8EG), methoxy
 prise from about 0.1% (v/v) to about 80% (v/v), or from about nonaethylene glycol (m9EG), methoxy-decaethylene glycol
 0.5% (v/v) to about 70% (v/v), or from about 1% (v/v) to (m10EG), methoxy-undecaethylene glycol (m11EG), meth
 about 60% of the composition. For certain lipophilic drugs, oxy-dodecaethylene glycol (m12EG), methoxy-tridecaethyl
 the alkoxy-polyethylene glycol can comprise from about 1% 50 ene glycol (m13EG) and methoxy-tetradecaethylene glycol
 (v/v) to about 80% (v/v), or from about 2%(v/v) to about 65% (m14EG). The ethylene glycols may be used in the form of the
 (v/v), or from about 5% (v/v) to about 50% of the composi single compounds or as a mixture of two or more methoxy
 tion. Furthermore, the therapeutic agent can comprise from n-ethylene glycols.
 about 0.001% (w/v) to about 20% (w/v) of the composition,             In certain embodiments, the alkoxy-polyethylene glycol is
 or from about 0.1% (w/v) to about 10% (w/v) of the compo 55 methoxy-polyethylene glycol 350 (mPEG 350) or is meth
 sition.                                                            oxy-polyethylene glycol 550 (mPEG 550) or is methoxy
    The pharmaceutical composition can have a pH in the polyethylene glycol 750 (mPEG 750). The term “mPEG 350
 range of from about 4.5 to about 8.5, or from about 4.5 to is understood to mean methoxy polyethylene glycol having
 about 7.5, or from about 4.5 to about 6.5, or from about 5.5 to    an average molecular weight of about 350, and in certain
 about 8.5, or from about 6.5 to about 8.5, or from about 5.5 to 60 embodiments “n” as denoted in Formula I, is 7.2. The term
 about 7.5.                                                        “mPEG550' is understood to mean methoxy polyethylene
    As discussed, one of the advantages of using an alkoxy glycol having an average molecular weight of about 550, and
 polyethylene glycol is that it can be used in place of or can be in certain embodiments “n” as denoted in Formula I, is 11.8.
 used to reduce the amount of other excipients, for example, The term “mPEG750' is understood to mean methoxy poly
 certain polyethylene glycols and propylrnr glycol, so as to 65 ethylene glycol having an average molecular weight of about
 reduce the Viscosity of the resulting formulation. By reducing 750, and in certain embodiments “n” as denoted in Formula
 the viscosity of the resulting formation it is possible to create I, is 16.3.
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   Certain, preferred alkoxy-polyethylene glycols include            late, capsaicin, celecoxib, diclofenac, diflunisal, etodolac,
 CarbowaxTM mPEG 350, CarbowaxTM mPEG 550 or Carbo                   fenbufen, fenoprofen calcium, flurbiprofen, ibuprofen,
 waxTM mPEG 750, which are available commercially from indomethacin, ketoprofen, ketorolac, leflunomide, meclofe
 Dow Chemical Company. Both mPEG350 and mPEG550 are namic acid, mefenamic acid, nabumetone, naproxen,
 colorless liquids that are miscible with water, alcohols, such oxaprozin, oxyphenbutaZone, phenylbutaZone, piroxicam,
 as methanol, ethanol, n-propanol, glycerol and various oils in refocoxib, Sulindac, tetrahydrocannabinol, tramadol and
 all proportions, and have a boiling point about 155° C. It is tromethamine; (2) anti-arrhythmic agents, such as, amio
 understood that alkoxy-polyethylene glycols are known by darone HCl, diisopyramide, flecaimide acetate and quinidine
 other names, where, for example, methoxy-polyethylene gly Sulfate; (3) anti-asthma agents, such as, Zileuton, Zafirlukast,
 col is also known as mono-methyl polyethylene glycol and 10 montelukast, and albuterol; (4) anti-bacterial agents, such as,
 poly(ethylene glycol) methyl ether.                                 baclofen, benZathine penicillin, cinoxacin, clarithromycin,
    By using one or more of the alkoxy-polyethylene glycols clofazimine, cloxacillin, demeclocycline, dirithromycin,
 described herein, the resulting pharmaceutical compositions doxycycline, erythromycin, ethionamide, furazolidone, gre
 can be optimized, for example, with respect to bioadhesion, pafloxacin, imipenem, levofloxacin, lomefloxacin, moxi
 viscosity and sprayability. For example, mPEG 350, at an 15 floxacin HCl, nalidixic acid, nitrofurantoin, norfloxacin,
 equivalent concentration as PEG 200, can still solubilize a ofloxacin, rifampicin, rifabutin, rifapentine, sparfloxacin, spi
 therapeutic agent but the resulting composition has a lower ramycin, Sulphabenzamide, Sulphadoxine, Sulphamerazine,
 Viscosity. As a result, this Substitution has a Surprisingly posi Sulphacetamide, Sulphadiazine, Sulphafurazole, Sulpha
 tive effect on the sprayability compared with lower molecular methoxazole, Sulphapyridine, tetracycline, trimethoprimand
 weight PEG 200, which is important where the formulation is trovafloxacin; (5) anti-viral agents, such as, abacavir,
 to be sprayed.                                                      amprenavir, delavirdine, efavirenz, indinavir, lamivudine,
    B. Therapeutic Agent                                             nelfinavir, nevirapine, ritonavir, saquinavir, and stavudine;
    The pharmaceutical composition of the invention may (6) anti-coagulants, such as, ciloStaZol, clopidogrel, dicuma
 comprise one or more therapeutic agents (also referred to as rol, dipyridamole, nicoumalone, oprelvekin, phenindione,
 biologically active Substances) selected from the group con 25 ticlopidine, and tirofiban; (7) anti-depressants, such as amox
 sisting of hydrophobic therapeutic agents, hydrophilic thera apine, bupropion, citalopram, clomipramine, maprotiline
 peutic agents, and combinations thereof.                            HCl, mianserin HCl, nortriptyline HCl, paroxetine HCl, ser
    The alkoxy-polyethylene glycol excipients are surpris traline HCl, trazodone HCl, trimipramine maleate, and ven
 ingly capable of solubilizing and delivering a wide variety of lafaxine HCl; (8) anti-diabetics, such as, acetohexamide,
 hydrophilic and hydrophobic therapeutic agents. The hydro 30 chlorpropamide, glibenclamide, gliclazide, glipizide, glime
 phobic drugs have little or no water solubility. It is understood piride, miglitol, pioglitaZone, repaglinide, rosiglitaZone,
 that the excipients described herein can be used to solubilize tolazamide, tolbutamide and troglitazone; (9) anti-epileptics,
 therapeutic agents that have a solubility in water of less than Such as, beclamide, carbamazepine, clonazepam, ethotoin,
 about 1.0 mg/mL, less than about 0.5 mg/mL, less than about felbamate, fosphenyloin Sodium, lamotrigine, methoin,
 0.3 mg/mL, or less than about 0.1 mg/mL, or less than about 35 methSuximide, methylphenobarbitone, Oxcarbazepine,
 0.01 mg/mL, at pH 7 and 20° C. Such therapeutic agents can paramethadione, phenacemide, phenobarbitone, phenyloin,
 be any agents having therapeutic or other value when admin phensuximide, primidone, Sulthiame, tiagabine HCl, topira
 istered to a mammal, for example, a human, and can include mate, valproic acid, and vigabatrin; (10) anti-fungal agents,
 organic molecules (for example, Small molecule drugs having Such as, amphotericin, butenafine HCl, butoconazole nitrate,
 a molecular weight of less than 1,500 g/mol., or less than 500 40 clotrimazole, econazole nitrate, fluconazole, flucytosine,
 g/mol.), proteins, peptides, immungens (e.g. Vaccines, cytok griseofulvin, itraconazole, ketoconazole, miconazole, nata
 ines, etc.), nutrients, and cosmetics (cosmeceuticals).             mycin, nystatin, Sulconazole nitrate, oxiconazole, terbinafine
    In certain embodiments, the therapeutic agent is an anal HCl, terconazole, tioconazole and undecenoic acid; (11) anti
 gesic agent, an anti-inflammatory agent, an anti-arrhythmic hypertensive agents, such as, amlodipine, benidipine, ben
 agent, an anti-asthma agent, an anti-bacterial agent, an anti 45 eZepril, candesartan, captopril, darodipine, diltiazem HCl,
 viral agent, an anti-coagulant, an anti-depressant, an anti diazoxide, doxazosin HCl, elanapril, eprosartan, losartan
 diabetic, an anti-epileptic, an anti-fungal agent, an anti-hy mesylate, felodipine, fenoldopam, fosenopril, guanabenz
 pertensive agent, an anti-malarial, an anti-migraine agent, an acetate, irbesartan, isradipine, lisinopril, minoxidil, nicar
 anti-muscarinic agent, an anti-neoplastic agent, an immuno dipine HCl, nifedipine, nimodipine, nisoldipine, phenoxy
 Suppressant, an anti-protozoal agent, an anti-thyroid agent, an 50 benzamine HCl, prazosin HCl, quinapril, reserpine, teraZosin
 anxiolytic agent, a sedative, a hypnotic agent, a neuroleptic HCl, telmisartan, and Valsartan; (12) anti-malarials, such as,
 agent, a beta-Blocker, a cardiac inotropic agent, a corticos amodiaquine, chloroquine, chlorproguanil HCl, halofantrine
 teroid, a diuretic agent, an anti-Parkinsonian agent, a gas HCl, mefloquine HCl, proguanil HCl, pyrimethamine and
 trointestinal agent, an anti-histamine, a histamine-receptor quinine Sulfate; (13) anti-migraine agents, such as, dihydro
 antagonist, a lipid regulating agent, a muscle relaxant, nitrate 55 ergotamine mesylate, ergotamine tartrate, froVatriptan,
 and other anti-anginal agent, a nutritional agent, an opioid methysergide maleate, naratriptan HCl, pizotyline malate,
 analgesic, sex hormone, stimulant, cytokine, peptidomi rizatriptanbenzoate, Sumatriptan Succinate, and Zolmitriptan;
 metic, peptide, protein, toxoid, Sera, antibody, vaccine,           (14) anti-muscarinic agents, such as, atropine, benzhexyl
 nucleoside, nucleotide, nucleic acid and peptidyl-nucleic HCl, biperiden, ethopropazine HCl, hyoscyamine, oxyphen
 acid.                                                            60 cyclimine HCl and tropicamide; (15) anti-neoplastic agents
    Specific non-limiting examples of hydrophobic therapeu and immunosuppressants, such as, aminoglutethimide, amsa
 tic agents that can be used in the pharmaceutical composi crine, azathioprine, bicalutamide, bisantrene, buSulfan,
 tions of the present invention include the following represen camptothecin, chlorambucil, cyclosporin, dacarbazine, ellip
 tative compounds, as well as their pharmaceutically ticine, estramustine, etoposide, irinotecan, lomustine, mel
 acceptable salts, isomers, esters, ethers and other derivatives 65 phalan, mercaptopurine, mitomycin, mitotane, mitoxantrone,
 including, for example: (1) analgesics and anti-inflammatory mofetil mycophenolate, nilutamide, paclitaxel, procarbazine
 agents. Such as, aloxiprin, auranofin, azapropaZone, benory HCl, sirolimus, tacrolimus, tamoxifen citrate, teniposide, tes
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 tolactone, topotecan HCl, and toremifene citrate; (16) anti        salen, Verteporfin, physostigmine, pyridostigmine, raloxifene
 protozoal agents, such as, atovaquone, benznidazole, clio          HCl, sibutramine HCl, sildenafil citrate, tacrine, tamsulosin
 quinol, decoquinate, diiodohydroxyquinoline, diloxanide            HCl, and tolterodine.
 furoate, dinitolmide, furazolidone, metronidazole, nimora               Certain exemplary hydrophobic therapeutic agents include
 Zole, nitrofuraZone, omidazole and tinidazole; (17) anti-thy sildenafil citrate, amlodipine, tramadol, celecoxib, rofecoxib,
 roid agents, such as, carbimazole, paracalcitol, and propylth oxaprozin, nabumetone, ibuprofen, terbinafine, itraconazole,
 iouracil; anti-tussives, such as, benzonatate; (18) anxiolytics, Zileuton, Zafirlukast, cisapride, fenofibrate, tizanidine, niza
 sedatives, hypnotics and neuroleptics, such as, alprazolam, tidine, fexofenadine, loratadine, famotidine, paricalcitol,
 amylobarbitone, barbitone, bentazepam, bromazepam, bro atovaquone, nabumetone, alprazolam, bromazepam, chlor
 mperidol, brotizolam, butobarbitone, carbromal, chlordiaz 10 promazine, clonazepam, diazepam, flunitrazepam, flu
 epoxide, chlormethiazole, chlorpromazine, chlorprothixene, razepam, haloperidol, lorazepam, lormetazepam, mida
 clonazepam, clobazam, clotiazepam, clozapine, diazepam, Zolam, nitrazepam, oxazepam, pseudoephedrine,
 droperidol, ethinamate, fluanisone, flunitrazepam, triflupro temazepam, triazolam, Zolpidem, Zopiclone, tetrahydrocan
 mazine, flupenthixol decanoate, fluphenazine decanoate, flu nabinol, testosterone, megestrol acetate, repaglinide, proges
 razepam, gabapentin, haloperidol, lorazepam, lormetazepam, 15 terone, rimexolone, cyclosporin, tacrolimus, sirolimus, teni
 medazepam, meprobamate, mesoridazine, methaqualone, poside, paclitaxel, pseudoephedrine, troglitaZone,
 methylphenidate, midazolam, molindone, nitrazepam, olan rosiglitaZone, finasteride, Vitamin A, vitamin D. Vitamin E,
 Zapine, oxazepam, pentobarbitone, perphenazine pimozide, and pharmaceutically acceptable salts, isomers and deriva
 proclorperazine, pseudoephedrine, quetiapine, rispiridone, tives thereof. It should be appreciated that the listing of hydro
 sertindole, Sulpiride, temazepam, thioridazine, triazolam, phobic therapeutic agents and their therapeutic classes is
 Zolpidem, and Zopiclone; (19) beta-Blockers, such as, acebu merely illustrative. It is understood, that mixtures of hydro
 tolol, alprenolol, labetalol, metoprolol, nadolol, oXprenolol. phobic therapeutic agents may also be used where desired.
 pindolol and propranolol; (20) cardiac inotropic agents. Such           An advantage of using alkoxy-polyethylene glycol as an
 as, aminone, digitoxin, digoxin, enoXimone, lanatoside Cand excipient in the pharmaceutical composition is that, for
 medigoxin; (21) a corticosteroid, such as, beclomethasone, 25 example, highly lipophilic Substances, such as, lorazepam,
 betamethasone, budesonide, cortisone acetate, desoxymetha midazolam, clonazepam, alprazolam and other compounds
 Sone, dexamethasone, fludrocortisone acetate, flunisolide,           belonging to the benzodiazepines, as well as water soluble
 fluocortolone, fluticasone propionate, hydrocortisone, meth Substances, for example, peptides and proteins. Such as, the
 ylprednisolone, prednisolone, prednisone and triamcinolone; pancreatic hormones can be solubilized in a clinically rel
 (22) diuretics, such as, acetazolamide, amiloride, bendroflu 30 evant volume (for example, 25-300 LL) for delivery to a
 methiazide, bumetamide, chlorothiazide, chlorthalidone,              human Subject. By way of comparison, clinically relevant
 ethacrynic acid, frusemide, metolazone, spironolactone and doses of midazolam, lorazepam, alprazolam, diazepam and
 triamterene; (23) anti-Parkinsonian agents, such as, bro clonazepam would have to be dissolved in at least 5 mL of
 mocriptine mesylate, lysuride maleate, pramipexole, ropin Water.
 irole HCl, and tolcapone; (24) gastrointestinal agents, such as 35 Although the alkoxy-polyethylene glycol excipients are
 bisacodyl, cimetidine, cisapride, diphenoxylate HCl, domp particularly useful for the delivery of hydrophobic agents,
 eridone, famotidine, lansoprazole, loperamide, mesalazine, alkoxy-polyethylene glycol can also be used to deliver a
 nizatidine, omeprazole, ondansetron HCl, rabeprazole variety of hydrophilic therapeutic agents. Alkoxy-polyethyl
 Sodium, ranitidine HCl and Sulphasalazine; (25) anti-hista ene glycols, under certain circumstances, may prolong the
 mines and histamine-receptor antagonists, such as, acrivas 40 duration of the therapeutic agent at the absorption site thereby
 tine, astemizole, chlorpheniramine, cinnarizine, cetirizine, increasing the amount of agent ultimately delivered. Exem
 clemastine fumarate, cyclizine, cyproheptadine HCl, dex plary hydrophilic therapeutic agents include hydrophilic
 chlorpheniramine, dimenhydrinate, fexofenadine, flunariz drugs (i.e., conventional non-peptidic drugs), hydrophilic
 ine HCl, loratadine, meclizine HCl, oxatomide, and terfena           macromolecules, such as, cytokines, peptides, proteins, pep
 dine; (26) lipid regulating agents, such as, atorvastatin, 45 tidomimetics, toxoids, Sera, antibodies, vaccines, nucleo
 bezafibrate, cerivastatin, ciprofibrate, clofibrate, fenofibrate,    sides, nucleotides, nucleic acids, and genetic material. The
 fluvastatin, gemfibrozil, pravastatin, probucol, and simvasta hydrophilic therapeutic agent can be administered alone or in
 tin; (27) muscle relaxants. Such as, dantrolene sodium and combination with other agents, for example, a hydrophobic
 tizanidine HCl; (28) nitrates and other anti-anginal agents, therapeutic agent discussed hereinabove or a second, differ
 Such as, amyl nitrate, glyceryl trinitrate, isosorbide dinitrate, 50 ent hydrophilic therapeutic agent.
 isosorbide mononitrate and pentaerythritol tetranitrate; (29)           Without limitation, exemplary hydrophilic therapeutic
 nutritional agents. Such as, calcitriol, carotenes, dihydrotach agents that can be delivered using the compositions and meth
 ysterol, essential fatty acids, non-essential fatty acids, phy ods of the present invention, include the following com
 tonadiol, vitamin A, vitamin B. vitamin D. Vitamin E and pounds as well as their pharmaceutically acceptable salts,
 Vitamin K; (30) opioid analgesics, such as, codeine, dextro 55 isomers, esters, ethers and other derivatives, for example:
 propoxyphene, diamorphine, dihydrocodeine, fentanyl. acarbose; acyclovir, acetyl cysteine; acetylcholine chloride;
 meptazinol, methadone, morphine, hydromorphone, nalbu alatrofloxacin; alendronate; alglucerase; amantadine hydro
 phine and pentazocine; (31) sex hormones, such as, clomi chloride; ambenomium; amifostine; aminocaproic acid; anti
 phene citrate, cortisone acetate, danazol, dehydroepiandros hemophilic factor (human); antihemophilic factor (porcine);
 terone, ethynyl estradiol, finasteride, fludrocortisone, 60 antihemophilic factor (recombinant); aprotinin; asparagi
 fluoxymesterone, medroxyprogesterone acetate, megestrol nase; atenolol; atracurium besylate; azithromycin; aztre
 acetate, mestranol, methyltestosterone, norethisterone, norg onam, BCG vaccine; bacitracin; becalermin; belladonna;
 estrel, oestradiol, conjugated estrogens, progesterone, rimex bepridil hydrochloride; bleomycin sulfate; calcitonin human;
 olone, stanozolol, Stilbestrol, testosterone and tibolone; and       calcitonin salmon; carboplatin: capecitabine; capreomycin
 (32) stimulants, such as, amphetamine, dexamphetamine, 65 Sulfate, cefamandole nafate; cefazolin Sodium, cefepime
 dexfenfluramine, fenfluramine and mazindol; and others,              hydrochloride; cefixime, cefonicid sodium, cefoperaZone;
 Such as, becaplermin, donepezil HCl, L-thrynoxine, methox cefotetan disodium, cefotaxime; cefoxitin Sodium, cefti
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  Zoxime, ceftriaxone; cefuroxime axetil; cephalexin; cephapi agents; antibodies, such as, monoclonal or polyclonal anti
  rin sodium; cholera vaccine; chorionic gonadotropin, cido bodies; anti-cholinergic agents; anti-depressants, such as,
  fovir, cisplatin: cladribine; clidinium bromide; clindamycin amitriptyline HCl, imipramine HCl; anti-emitics, such as,
  and clindamycin derivatives; ciprofloxacin; clondronate; neuroleptica, for example, metopimazin, anti-emetics having
  colistimethate Sodium; colistin Sulfate; corticotropin; coSyn a regulatory effect on the motility of the intestine. Such as,
  tropin; cromalyn Sodium: cytarabine; daltaperin Sodium; dan domperidon; anti-histaminic agents and histaminic agents,
  aproid; deforoxamine; denileukin diftitox; desmopressin;         Such as, diphenhydramin HCl, chloropheniramine maleate,
  diatrizoate megluamine and diatrizoate sodium; dicyclomine; histamine, prophenpyridamine maleate, chlorprophenpy
  didanosine; dopamine hydrochloride; dornase alpha: doxacu ridamine maleate, disodium chromoglycate, meclizine; anti
  rium chloride: doxorubicin; editronate disodium; elanaprilat; 10 hypertensive agents, such as, clonidine HCl; anti-inflamma
  enkephalin; enoxacin; enoxaparin Sodium; ephedrine; epi tory agents (enzymatic). Such as, chymotrypsin, bromelain
  nephrine; epoetin alpha; esmol hydrochloride; Factor IX:         seratiopeptidase; anti-inflammatory agents (non-steroidal),
  famiciclovir, fludarabine; fluoxetine; foscarnet Sodium; gan Such as, acetaminophen, aspirin, aminopyrine, phenylbuta
  ciclovir, granulocyte colony Stimulating factor; granulocyte Zone, colchicine, probenocid; anti-inflammatory agents (Ste
  macrophage stimulating factor; growth hormones (human or 15 roidal). Such as, fluticaSone, predonisolone, triaxncinolone
  bovine); gentamycin; glucagon; glycopyrrolate; gonadotro acetonide; anti-neoplastic agents, such as, actinomycin C.;
  pin releasing hormone and synthetic analogs thereof, GnRH; anti-septics, such as, chlorhexidine HCl, hexylresorcinol,
  gonadorelin; grepafloxacin; hemophilus B conjugate vac dequalinium chloride, ethacridine; anti-tussive expectorant
  cine; Hepatitis A virus vaccine inactivated; Hepatitis B virus (asthmatic agents). Such as, Sodium chromoglycate, isoprot
  vaccine inactivated; heparin Sodium; indinavir Sulfate; influ erenol HCl; anti-viral and anti-cancer agents such as interfer
  enza virus vaccine; interleukin-2; interleukin-3; insulin-hu     ons (such as alpha-2 interferon for treatment of common
  man; insulin-porcine; insulin NPH; insulin aspart; insulin colds), phenyl-p-guanidino benzoate, enviroXime, etc.; beta
  glargine; insulin detemir, interferon-C.; interferon-B; ipratro adrenergic blocking agents, such as, propranolol HCl; blood
  pium bromide; isofosfamide: japanese encephalitis virus vac factors, such as, factor VII, factor VIII; bone metabolism
  cine; leucoVorin calcium; leuprolide acetate; levofloxacin; 25 controlling agents, such as, vitamin D; bronchoisters. Such
  lincomycin and lincomycin derivatives; lobucavir, lom as, clenbuterol HCl, bitolterol mesylate; cardiotonics such as
  efloxacin; loracarbef mannitol; measles virus vaccine; men       digitalis; cardiovascular regulatory hormones, drugs and
  ingococcal vaccine; menotropins; mephenzolate bromide; derivatives, such as, bradykin antagonists, atrial natriuretic
  mesalmine; methanamine; methotrexate; methScopolamine; peptide and derivatives, such as, hydrailsazine, angiotensin II
  metformin hydrochloride; metoprolol; mezocillin sodium; 30 antagonist, nitroglycerin, propranolol, clofilium rosylate;
  mivacurium chloride; mumps viral vaccine; nedocromil chemotherapeutic agents, such as, Sulphathiazole, nitrofura
  sodium; neostigmine bromide: neostigmine methyl sulfate: Zone; CNS-stimulants, such as, lidocaine, cocaine; corticos
  neutontin; norfloxacin; octreotide acetate; olpadronate; oxy teroids, such as, lacicortone, hydrocortisone, fluocinolone
  tocin, pamidronate disodium; pancuronium bromide; paroX acetonide, triamcinolone acetonide; enzymes, such as,
  etine; pefloxacin; pentamidine isethionate; pentostatin: pen 35 lysozyme chloride, dextranase; gastrointestinal hormones
  toxifylline; periciclovir, pentagastrin; phentolamine and derivatives, such as, secretin, Substance P; hypothalamus
  mesylate; phenylalanine; physostigmine Salicylate; plague hormones and derivatives, such as, LHRH and analogues
  vaccine; piperacillin Sodium; platelet derived growth factor (such as naferelin, buserelin, Zolidex), TRH (thyrotropin
  human; pneumococcal vaccine polyvalent; poliovirus vac releasing hormone); hypotensives; local anaesthetics, such
  cine (live or inactivated); polymixin B sulfate; pralidoxime 40 as, benzocaine; migraine treatment Substances, such as, dihy
  chloride; pramlintide; pregabalin; propafenone; propentha droergot amine, ergometrine, ergotamine, pizotizin; pancre
  line bromide:pyridostigmine bromide; rabies vaccine; residr atic hormones and derivatives, such as, insulin (hexameric/
  onate; ribavarin: rimantadine hydrochloride; rotavirus vac dimeric/monomeric forms); parasympathomimetics, such as,
  cine; Salmetrol Xinofoate; sincalide; Small pox vaccine; nicotine, methacholine; parasympatholytics, such as, Scopo
  solatol; somatostatin; Sparfloxacin; spectinomycin; stavu 45 lamine, atropine, ipratropium; Parkinson's disease Sub
  dine; Streptokinase; streptozocin, suxamethonium chloride;       stances, such as, apomorphin, pituitary gland hormones and
  tacrine hydrochloride; terbutaline sulfate; thiopeta: ticarcil derivatives, such as, growth hormone (e.g. human), Vaso
  lin; tiludronate; timolol, tissue type plasminogen activator, pressin and analogues (DDAVP, Lypressin); prostaglandins,
  TNFR:Fc: TNK-tRA; trandolapril; trimetrexate gluconate:          such as, PGA and derivatives thereof, PGE and derivatives
  trospectinomycin; trovafloxacin; tubocurarine chloride; 50 thereof, PGE and derivatives thereof, PGF and derivatives
  tumor necrosis factor; typhoid vaccine live; urea; urokinase; thereof, dinoprost trometamol; protease inhibitors, such as,
  Vancomycin; Valaciclovir, Varicella virus vaccine live; vaso citrate, or O-antitrypsin; sex-hormones, such as, ethiny
  pressin and Vasopressin derivatives; Vecoronium bromide; loestradiol, levonorgestrel, FSH. LH, LTH, estradiol-17-beta,
  vinblastin; Vincristine; vinorelbine; warfarin-sodium; yellow norethindrone; sympathomimetics, such as, phenylephrine,
  fever vaccine; Zalcitabine; Zanamavir, Zolandtronate; and 55 Xylometazoline, tramaZoline, dopamine, dobutamine; sleep
  Zidovudine.                                                      aids, such as granisetron and ramelteon, tranquilizers, such
     Other therapeutic agents that can be administered in this as, brotizolam, camazepam, chloraZepic acid, cloxazolam,
  formulation may comprise adrenal hormones, corticosteroids delorazepam, estazolam, ethyl loflazepate, fludiazepam,
  and derivatives, such as, ACTH and analogs thereof, tetracos flutazolam, halazepam, haloxazolam, ketazolam, laprazolam,
  actrin, alsactide, cortisone, hydrocortisone alcohol, hydro 60 lormetazepam, nimetazepam, nitrazepam, nordiazepam,
  cortisone acetate, hydrocortisone hemisuccinate, predniso oxazepam, pinazepam, prazepam, temazepam, tetrazepam,
  lone terbutate, 9-alpha-fluoroprednisolone, triamcinolone tofisopam; vaccines, such as, AIDS-vaccines, parainfluenza
  acetonide, dexamethasone phosphate, flunisolide, toxicorol virus, polio, rhinovirus type 13, respiratory syncytial virus;
  pivalate; anorectics, such as, benzphetamine HCl chlorphen vasoconstrictors, such as, phenylephrine HCl, tetrahydrozo
  termine HCl; antibiotics, such as, tetracycline HCl, tyrothri 65 line HCl, naphazoline nitrate, oxymetazoline HCl, tramazo
  cin, cephalosporine, aminoglycosides, Streptomycin, genta line HCl; vasodilators, such as, papaverine HCl, Substance P.
  mycin, leucomycin, penicillin and derivatives; anti-allergic vasoactive intestinal peptide (VIP).
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     Certain exemplary formulations comprising alkoxy-poly tetrahydrofurfuryl alcohol PEG ether (glycofurol, available
  ethylene glycol also comprise one or more therapeutic agents commercially from BASF under the trade name Tetraglycol):
  selected from the group consisting of peptide drugs, such as,     Surfactants, such as, Sodium lauryl Sulfate, oleic acid, linoleic
  oxytocin, vasopressin (desmopressin), insulin, calcitonin, acid, monoolein, lecithin, lysolecithin, deoxycholate, tauro
  elcatonin, cyanocobalamin B, and glucagon-like protein-1          deoxycholate, glycochenodeoxycholate, polyoxyethylene
  (GLP-1), and Small organic molecules, such as, dinoprSoone, X-lauryl ether, where X is from 9 to 20, sodium tauro-24.25
  misoprostol, apomorphine, fentanyl, metoclopramide, butor dihydrofusidate, polyoxyethylene ether, polyoxyethylene
  phanol, and midazolam                                             Sorbitan esters, p-t-octylphenoxypolyoxyethylene, N-lauryl
     C. Other Excipients                                            B-D-maltopyranoside, 1-dodecylazacycloheptane-2-aZone;
     It is understood that the compositions of the invention, in 10 amides. Such as, 2-pyrrolidone, 2-piperidone, caprolactam,
  addition to the alkoxy-polyethylene glycol and the therapeu N-alkylpyrrolidone, N-hydroxyalkylpyrrolidone, N-alkylpi
  tic agent, can comprise a number of other excipients known to peridone, N-alkylcaprolactam, dimethylacetamide, and poly
  those skilled in the art, including absorption promoters, buff vinylpyrrolidone; esters, such as, ethyl propionate, tributyl
  ering agents, water absorbing polymers, alcohols, lipids, citrate, acetyl triethylcitrate, acetyl tributyl citrate,
  osmotic pressure controlling agents, pH-controlling agents, 15 triethylcitrate, ethyl oleate, ethyl caprylate, ethylbutyrate,
  preservatives, propellants, Surfactants, enzyme inhibitors, triacetin, propylene glycol monoacetate, propylene glycol
  excipients for adjusting hydrophilic-lipophilic balance diacetate, caprolactone and isomers thereof, Valerolactone
  (HLB) and stabilizers.                                            and isomers thereof, B-butyrolactone and isomers thereof.
     Exemplary Surfactants, include, for example nonoxynol, and other solubilizers known in the art, such as dimethyl
  octoxynol, tweens, spans, sodium lauryl Sulfate, and Sorbitan acetamide, dimethyl isosorbide (Arlasolve DMI (ICI)),
  monopalmitate. Exemplary absorption promoters include, N-methylpyrrolidones (Pharmasolve (ISP)), monooctanoin,
  for example, bile salts and derivatives thereof, fusidic acid and diethylene glycol monoethyl ether (available from Gat
  and derivatives thereof, oleic acid, lecithin, lysolechitins, tefosse under the trade name Transcutol).
  dodecanoyl phosphatidylcholine (DDPC), sucrose mon                   Preferred additional solubilizers include triacetin, triethyl
  ododecanoate, n-dodecyl-B-D-maltopyranoside, pectin, chi 25 citrate, ethyl oleate, ethyl caprylate, dimethylacetamide,
  tosan, Cl-, 3- and Y-cyclodextrins and derivatives thereof, N-methylpyrrolidone, N-hydroxyethylpyrrolidone, polyvi
  pegylated caprylic-/capric glycerides and derivatives thereof, nylpyrrolidone, hydroxypropyl methylcellulose, hydrox
  Such as, Softigen and Labrasol. Exemplary water absorbing ypropyl cyclodextrins, ethanol, polyethylene glycol 200
  polymers include, for example, polyethylene glycols having        1000, PEG 300, PEG 400, Transcutol, and dimethyl
  an average molecular weight ranging from 200 to 7500, pro 30 isosorbide, Sorbitol, glycerol, triacetin, glycofuroland propy
  pylene glycol, or mixtures thereof, or single ethylene glycols lene glycol. Typically, the Solubilizer, if present, is present in
  such as tetraethylene glycol and pentaethylene glycol. Exem an amount of from about 0.1% (w/v) to about 50% (w/v),
  plary alcohols include, for example, ethanol, isopropyl alco from about 1% (w/v) to about 40% (w/v) or from about 2%
  hol. Exemplary lipids include, for example, vegetable oil,        (w/v) to about 25% (w/v). In addition, the liquid pharmaceu
  Soybean oil, peanut oil, coconut oil, maize oil, olive oil, 35 tical composition can comprise water, for example, from
  Sunflower oil, monoglycerides, diglycerides, mono/diglycer about 2% (v/v) to about 99% (v/v), from about 10% (v/v) to
  ides, mono/di?triglycerides. Exemplary osmotic pressure about 95% (v/v), or from about 20% (v/v) to about 90% (v/v),
  controlling agents include, for example, glycerol, dextrose, of the liquid composition.
  maltose, Sucrose, mannitol, Xylitol, various salts (for              As discussed, the composition can comprise a preservative.
  example, sodium chloride). Exemplary pH-controlling 40 In addition or in the alternative, the composition can be ster
  agents include, for example, buffers, acids (for example, ilized. Sterilization can be achieved by filter sterilization,
  nitric acid, phosphoric acid, or acetic acid). Exemplary pre autoclaving, exposure to ionizing radiation, for example,
  servatives include, for example, methyl paraoxybenzoate, gamma radiation, UV irradiation, and chemical sterilization.
  phenyl ethyl alcohol or benzoic acid. Exemplary propellants,      In one embodiment, the sterile composition has a sterility
  include, for example, butane or air displacement such as 45 assurance level of at least about 10. The resulting liquid
  nitrogen. Excipients adjusting the HLB of the formulation compositions preferably are stable at room temperature. Such
  include, for example, Tween 20, 25, 40, 45, 65, 85, Span that less than 5%, 4%, 3%, 2% or 1% by weight of the
  20-80, Brij 30-98, acacia. Exemplary enzyme inhibitors therapeutic agent degrades after storage for 30 days, or more
  include, for example aprotinin and other peptidase inhibitors, preferably 6 months, at 20° C.
  diisopropylfluorophosphate (DFP), carbopol. Exemplary sta 50 In addition, the formulations may also include a Sweetener
  bilizers include, for example, cyclodextrins.                     or flavoring agent. Exemplary Sweeteners or flavoring agents
     Although it is understood that the alkoxy-polyethylene include, for example, acacia syrup, acesulfame potassium,
  glycols described herein, for example, methoxy-polyethylene anethole, anise oil, aromatic elixir, aspartame, benzaldehyde,
  glycol, can solubilize poorly soluble therapeutic agents, benzaldehyde elixir, cyclodextrins, caraway, caraway oil, car
  under certain circumstances, it may be helpful to include 55 damom oil, cardamom seed, cardamom spirit, cardamom
  additional compounds that enhance the solubility of the thera tincture, cherry juice, cherry syrup, cinnamon, cinnamon oil,
  peutic agent. Examples of Such solubilizers include, for cinnamon water, citric acid, citric acid syrup, clove oil, cocoa,
  example, alcohols and polyols, such as ethanol, isopropanol, cocoa syrup, coriander oil, dextrose, eriodictyol, eriodictyol
  butanol, benzyl alcohol, ethylene glycol, propylene glycol, fluid extract, eriodictyol syrup, aromatic, ethylacetate, ethyl
  butanediols and isomers thereof, glycerol, pentaerythritol, 60 Vanillin, fennel oil, ginger, ginger fluid extract, ginger oleo
  Sorbitol, mannitol, transcutol, dimethyl isosorbide, polyeth resin, glucose, Sugar, maltodextrin, glycerin, glycyrrhiza,
  ylene glycol, polypropylene glycol, pegylated-mono/di-ca glycyrrhiza elixir, glycyrrhiza extract, glycyrrhiza extract
  prylic/capric glycerides, polyvinylalcohol, hydroxypropyl pure, glycyrrhiza fluid extract, glycyrrhiza syrup, honey, iso
  methylcellulose and other cellulose derivatives, cyclodex alcoholic elixir, lavender oil, lemon oil, lemon tincture, mal
  trins (for example, Cl-, 3-, or Y-cyclodextrins) and cyclodex 65 todextrin, maltose, mannitol, methyl salicylate, menthol, nut
  trin derivatives; ethers of polyethylene glycols having an meg oil, orange bitter, elixir, orange bitter, oil, orange flower
  average molecular weight of about 200 to about 6000 or oil, orange flower water, orange oil, orange peel, bitter,
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  orange peel Sweet, tincture, orange spirit, orange syrup, pep delivering a therapeutic agent to the mucosa of the nose,
  permint, peppermint oil, peppermint spirit, peppermint water, mouth (buccal, gingual, Sublingual or to the hard palate), or
  phenylethyl alcohol, raspberry juice, raspberry syrup, rose the vagina.
  mary oil, rose oil, rose water, saccharin, saccharin calcium,           It is understand that the compositions of the invention are
  saccharin Sodium, Sarsaparilla syrup, Sarsaparilla compound, particularly useful in the intranasal delivery of a therapeutic
  Sorbitol Solution, spearmint, spearmint oil. Sucrose, Sucral agent. When the composition is applied to the nasal mucosa,
  ose, syrup, thyme oil, tolu balsam, tolu balsam syrup, winter the Volume of the pharmaceutical composition applied typi
  green oil, Vanilla, Vanilla tincture, Vanillin, wild cherry syrup, cally is in the range of 1-1000 uL, preferably not more than
  xylitol, or combinations thereof.                                    700 uL, more preferably 50-150 uL per nostril, and most
     In addition, the formulations optionally can contain a taste 10 preferably
                                                                          It is
                                                                                    about 100 uL/nostril.
                                                                                understood  that when administered intranasally, the
  masking agents. Exemplary masking agents include, for compositions are delivered
  example, cyclodextrins, cyclodextrin emulsions, cyclodex plume of spray droplets thatviacontact       a spray device that produces a
                                                                                                               the nasal mucosa. It is
  trin particles, cyclodextrin complexes, or combinations contemplated that the compositions can                    be delivered using
  thereof.                                                          15 commercially available spray devices available from, for
     The foregoing list of excipients and additives is by no example, Pfeiffer of America, Princeton, N.J.; Valois of
  means complete, and it is understood that a person of ordinary America, Inc., Greenwich, Conn.; or Becton Dickinson,
  skill in the art can choose other excipients and additives from Franklin Lakes, N.J. Furthermore, these devices are easily
  the GRAS (generally regarding as safe) list of chemicals used operable by the patient or care giver, and leave little or no
  in pharmaceutical preparations and those that are currently residual formulation in the device after use.
  allowed in topical and parenteral formulations.                         Such devices can be filled with single or multi-dose
     Exemplary liquid compositions of the invention contain, amounts of the desired formulation. The container holding
  for example, the active ingredient (for example, midazolam), the pharmaceutical composition and its sealing means are
  40% (v/v) to 70% (v/v) methoxy-polyethylene glycol (for sterilizable. At least the parts of the device that are in contact
  example, mPEG 350), 0% (v/v) to 20% (v/v) polyethylene 25 with the pharmaceutical composition should be constructed
  glycol (for example, PEG 400), 0% (v/v) to 10% (v/v) pro and assembled in a configuration that can be sterilized. Exem
  pylene glycol, and 0% (v/v) to 5% (v/v) ethanol. Other exem plary delivery devices with one or more unit-dose(s) are
  plary liquid compositions of the invention contain, for described, for example, in U.S. Pat. Nos. 4,946,069; 5,307,
  example, the active ingredient dissolved in 50% (v/v) to 70% 953; 6,948,492; and 6,446,839. Individual devices can be
  (v/v) mPEG 350, 1% (v/v) to 4% (v/v) propylene glycol, and 30 packaged, sterilized and shipped; alternatively, entire ship
  1% (v/v) to 4% (v/v) ethanol.                                        ping and storage packages can be sterilized at once, and the
     It is understood that the choice and amounts of each of the       devices removed individually for dispensing, without affect
  therapeutic agents, alkoxy-polyethylene glycol and other ing the sterility of the remaining units.
  excipients combined to produce the compositions of the                  The mucosal epithelium in the nasal cavity is covered with
  invention will depend upon the ultimate use of the composi 35 many hair-like cilia that provide an important defense mecha
  tion, and the intended therapy and mode of administration. nism against inhaled dust, allergens and microorganisms. The
  When the liquid compositions ultimately are administered to          normal half-time for non-absorbed substances administered
  a patient, the amount of a given excipient, unless the circum to the nasal cavity is about 15 minutes due to the mucociliary
  stances dictate otherwise, preferably is limited to a bioaccept clearance removing foreign particles and excess mucus
  able amount, which is readily determined by one of skill in the 40 toward the pharynx. For this reason it is preferred that the
  art. Furthermore, it is understood that the liquid compositions absorption occurs rapidly and preferably within 0.5 to 20
  of the invention can be formulated using techniques known to         minutes. However, in the current invention due to bioadhesive
  those skilled in the art. A thorough discussion of formulations properties of the invention, the preferred absorption may
  and the selection of pharmaceutically acceptable carriers, occur within 0.5 to 300 minutes (e.g., for vaccines and bio
  stabilizers, etc. can be found, for example, in Remington's 45 logicals), preferably between 0.5 to 60 minutes (e.g., for large
  Pharmaceutical Sciences (18" Ed.), Mack Publishing Com molecules) and more preferably between 0.5 and 20 minutes,
  pany, Eaton, Pa.                                                     for example, within 2, 3, 4, 5, 10, 15 or 20 minutes post
     Although the therapeutic agent and the alkoxy-polyethyl administration. The composition can be formulated so that
  ene glycol are combined in the liquid formulations of the upon administration to a Subject, for example, via intranasal
  invention, they are not covalently linked to one another. In 50 administration to the Subject, the therapeutic agent has a peak
  certain embodiments, the liquid formulations of the invention concentration (T,) in the blood of the subject within 30, 25,
  are free or are substantially free of chitosan. In certain 20, 15, 108, 5, 3 or 2 minutes after administration of the
  embodiments, the compositions of the invention may be pre therapeutic agent.
  pared in a powder form.                                                 In addition to administration to humans, the compositions
  II Modes of Administration and Pharmacokinetics                   55 of the invention can be used to deliver the therapeutic agent to
     The compositions of the invention are particularly useful in an animal, for example: pets, for example, dogs, cats, rabbits,
  delivering one or more therapeutic agents to a mucosal mem and guinea pigs; and farm animals, for example, horses,
  brane or the skin of a mammal, for example, a human. The sheep, pigs, cattle, and chickens.
  mucosal membrane to which the pharmaceutical preparation                Throughout the description, where compositions are
  of the invention is administered may be any mucosal mem 60 described as having, including, or comprising specific com
  brane of the mammal to which the therapeutic agent is to be ponents, it is contemplated that compositions also consist
  applied, for example, the nose (for example, via a nasal mem essentially of or consist of the recited components. Simi
  brane), vagina, eye (for example, via an ocular membrane), larly, where processes are described as having, including, or
  ear (for example, via a tympanic membrane), mouth (for comprising specific process steps, the processes also consist
  example, via the buccal membrane), lungs (for example, via 65 essentially of, or consist of the recited processing steps.
  the pulmonal membrane), or rectum (for example, via the Except where indicated otherwise, the order of steps or order
  rectal membrane). The compositions are particularly useful in for performing certain actions are immaterial so long as the
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                               17                                                                                    18
  invention remains operable. Moreover, unless otherwise                                                          TABLE 1
  noted, two or more steps or actions may be conducted simul
  taneously.                                                                           Test Formulation 1 Containing 50 mg/mL Midazolam base
                             EXAMPLES
                                                                                        Component                         Percent of Final (% viv)
     The invention is explained in more detail with reference to                          PEG 350                                      47
  the following Examples, which are to be considered as illus                           PEG 400                                        18
  trative and not to be construed so as to limit the scope of the 10                    Propylene Glycol                                5
  invention as set forth in the appended claims.
                                                                                        Ethanol                                         7
                             Example 1                                                  Water                                          21

         Exemplary LoraZapam Containing Formulation                       15

     In this Example, 10 mg lorazepam is dissolved in 2 mL of                                                     TABLE 2
  mPEG 350 using ultrasound to obtain a solution containing 5                          Test Formulation 2 Containing 50 mg/mL Midazolam base
  mg/mL of lorazepam. 50 LL of the resulting composition is
  administered into each nasal cavity of male New Zealand                               Component                         Percent of Final (% viv)
  White rabbits held in a supine position during, and then one                           PEG 350                                     47
  minute after application. An Eppendorf pipette is used for                            PEG 400                                      18
  each application. After administration, blood samples then                            Propylene Glycol                             10
                                                                                        Polysorbate 80                                O.1
  are harvested from a marginal ear vein at 0.2, 5, 10, 15.30 and                       Water                                        22
  60 minutes, and the lorazepam concentration determined by 25
  high performance liquid chromatography (HPLC). The phar
  macokinetics of lorazepam delivery via intranasal adminis                                                       TABLE 3
  tration can then be compared with the pharmacokinetics of
  lorazepam delivery by intravenous administration. It is con                                Control Containing 50 mg/mL Midazolam base
  templated that the pharmacokinetics of the intranasally 30
  administered lorazepam will be comparable to those of the                          Component                                Percent of Final (% viv)
  intravenously administered lorazepam.                                               PEG 400                                          18
                                                                                     Propylene Glycol                                  78
                               Example 2                                             Butylatedhydoxytoluene                             O.O1
                                                                          35
         Exemplary Midazolam Containing Formulation                               Each of the test and control formulations contained 50
    In this Example, 10 mg of midazolam is dissolved in 2 mL mg/mLmL was
                                                                         midazolam. Once made, 5 mg of midazolam in 0.1
                                                                         delivered intranasally to the right nostril of each dog
  ofmPEG 350 using ultrasound to obtain a solution containing
  5 mg/mL midazolam. 50 uL of the resulting composition is 40 (3 dogs perset) for each formulation in a cross over manner.
  then administered into each nasal cavity of male New Zealand Blood was harvested from the dogs predose and at 0.03, 0.08,
  White rabbits, held in a supine position during, and then one 0.16, 0.25, 0.5,0.75, 1, 2, and 4 hours after administration,
  minute after application. After administration, blood samples and the concentration of midazolam in the blood measured by
  then are harvested from a marginal ear vein at 0, 2, 5, 10, 15, HPLC. The pharmacokinetic properties are summarized in
  30 and 60 minutes, and the midazolam concentration deter 45 Table 4.
  mined by HPLC. The pharmacokinetics of midazolam deliv
  ery via intranasal administration can then be compared with                                                     TABLE 4
  the pharmacokinetics of midazolam delivery by intravenous
  administration. It is contemplated that the pharmacokinetics                                            Pharmacokinetic Properties
  of the intranasally administered midazolam will be compa 50                                        Tmax            Cmax           AUC,          AUC
  rable to those of the intravenously administered midazolam.  Formulation                           (hr)           (ng/mL)        (hring/mL)    (hring/mL)
                                                               Test                               O. 11    O.OS    2220   289       SO694          SO895
                            Example 3                          Formulation 1
                                                                             Test                 O.OS     O.O3    1880 - 682       399     75     403   76
           Pharmacokinetics of Exemplary Midazolam                        55 Formulation 2
                             Formulations                                    Control              O.O7     O.O3    23SO   796       SO672          SO971
                                                                             Formulation

     This Example describes a variety of formulations contain InTable 4. Cmax refer to the maximum plasma concentration, Trefers to the time to reach
  ing methoxy-polyethylene glycol that demonstrate compa measurableC, AUC refers to area under the concentration curve from time zero to the last
                                                                            plasma concentration, and AUCNF refers to the area under the concentration
  rable pharmacokinetic properties to a control formulation 60 curve from time zero to infinity,
  containing polyethylene glycol and propylene. In addition to
  having comparable pharmacokinetic properties, the meth              The results demonstrate that the test formulations, when
  oxy-polyethylene glycol formulations had a lower viscosity administered intranasally to the dogs, produced comparable
  than the control formulation.                                    pharmacokinetics to the control formulation. The test formu
     Table 1 lists the composition of a first test formulation, 65 lations, however, had a lower viscosity than the control for
  Table 2 lists the composition of a second test formulation, and mulations. Lower viscosity correlates with better spray pat
  Table 3 lists the composition of a control formulation.          tern characteristics.
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                                                                 US 8,217,033 B2
                                    19                                                                       20
                                 Example 4                                        additional organic phase was added. The remaining 35% of
                                                                                  the mPEG 350 was mixed with water, and the diluted mPEG
      Additional Exemplary Methoxy-Polyethylene Glycol            350 then was gradually added with mixing to the midazolam
                   Containing Formulations                        Solution until a clear Solution was produced. The Viscosity of
                                                                  the resulting formulations and spray patterns were tested.
    This example describes the benefit of incorporating meth        The viscosity of the resulting formulations was tested at
  oxy-polyethylene glycol into certain intranasal formulations. 25°C. using a viscometer (Brookfield DV-II PRO). The vis
  Table 5 describes a formulation containing methoxy-polyeth cosity of the control formulation without methoxy-polyeth
  ylene glycol and PEG 400, Table 6 describes a formulation ylene glycol (Table 8) was found to be about 42 cp, whereas
  containing methoxy-polyethylene glycol without PEG 400, 10 the viscosity of the test formulation of Table 5 was found to be
  Table 7 describes a formulation containing methoxy-polyeth about 30 cp and the viscosity of the test formulation of Table
  ylene glycol without PEG 400 (with reduced ethanol), and 6 was found to be about 23 cF. The reduced viscosity of the
  Table 8 describes a control formulation containing PEG 400 test formulations relative to the control formulation permitted
  but no methoxy-polyethylene glycol.                             the creation of more reproducible spray patterns.
                                                               15   The spray patterns produced by the two test formulations of
                            TABLE 5                               Tables 5 and 6 were tested using a Proveris spray view instru
                                                                  ment. The resulting parameters of the resulting spray patterns
      Component               Viscosity (cP)       % (w.fw)       were found to be more reproducible as the viscosity of the
      Propylene glycol                    40                     5                formulation decreased.
      PEG 400
        PEG 350
                                          8O
                                          29
                                                               18
                                                               47
                                                                                   In addition, 100 uL of placebo formulations (no mida
      Ethanol                                                   6
                                                                                Zolam) corresponding to the formulations set forth in Tables
      Water                                 1                  18               7 and 8 were administered intranasally to three healthy test
      Midazolam                                                 7               Subjects using a commercially available spray device from
                                                                                Pfeiffer. The placebo formulation corresponding to Table 7
                                                                             25 containing methoxy-polyethylene glycol had a less notice

                                   TABLE 6
                                                                                able taste relative to the placebo formulation corresponding to
                                                                                  Table 8.
      Component                      Viscosity (cP)          % (w.fw)               These collective results demonstrate that mPEG 350 is a
                                                                                  Suitable excipient for nasal administration, for example, with
      Propylene glycol                    40                     2           30   midazolam.
        PEG 350                           29                   64
      Ethanol                                                   5                                          Example 5
      Water                                 1                  23
      Midazolam                                                 7
                                                                                         Sprayability of Methoxy-Polyethylene Glycol
                                                                             35
                                                                                                   Containing Formulations
                                   TABLE 7                                         This Example demonstrates that methoxy-polyethylene
                            75 mg                 50 mg          25 mg
                                                                                glycol-based formulations produce Superior spray flumes
                         Midazolam              Midazolam     Midazolam         relative to polyethylene glycol. Solutions containing 100%
  Component              dose (% w/w)       dose (% w/w)      dose (% w/w)   40
                                                                                methoxy-polyethylene glycol 350 (MPEG 350) from Sigma
  MPEG 350                  64.8                  64.8           64.8
                                                                                Aldrich Chemie GmbH (St. Louis, Mo., USA) and 100%
  Propylene glycol           2.0                     2.0             2.0        polyethylene glycol 300 (PEG 300) from Croda Chemicals
  Ethanol                    2.5                   2.5            2.5           Europe Ltd. (Goole, UK) were placed into Pfeiffer 20 mL
  Water                     23.7                  26.O           28.3           bottles (Pfeiffer 34473) and attached to certain pumps from
                                                                             45 Valois or Pfeiffer (see Table 8). Each spray device was placed
  Phenethyl                  O.O2S                   O.O2S           O.O2S
  Alcohol
  Midazolam                  6.9                     4.6             2.3        25 cm under a sheet of absorbent paper and the sprayability
                                                                                was measured as the diameter across of the paper wetted by
                                                                                the resulting spray. The results are summarized in Table 9.
                                   TABLE 8                                                                 TABLE 9
                                                                             50
         Control Formulation (Without Methoxy-polyethylene Glycol                    Pump Type             Formulation    Spray diameter (cm)
      Component                         Viscosity (cP)        % (w.fw)               Pfeiffer 71514         PEG 300             2.0-3.2 cm
                                                                                     Pfeiffer 71514          PEG 350             22-26 cm
      PEG 400                                   89             19                    Valois VP6,100         PEG 300             5.0–7.5 cm
      Propylene Glycol                          40             76            55      Valois VP6,100          PEG 350             15-21 cm
      Butylated hydroxytoluene                                  O.O1
      Midazolam                                                 5
                                                                                    The results show that there is a clear difference in the
                                                                 sprayability of mPEG 350 compared with PEG 300. The
    The formulation of Table 5 was prepared by mixing the required
  propylene glycol, PEG 400, mPEG 350, and ethanol. The a clinically
                                                              60
                                                                          spray angle is not achieved using PEG 300, whereas
  midazolam was then added to the mixture, and then after the               relevant spray-angle can beachieved using mPEG
                                                                 350.
  midazolam had dissolved following mixing the water was
  added to the formulation. The formulations in Tables 6 and 7                              INCORPORATION BY REFERENCE
  were prepared as follows. The midazolam was weighed in a
  container and the ethanol was added to wet the active ingre 65 The entire disclosure of each of the patent documents and
  dient. After mixing, about 65% of the mPEG 350 was added,      scientific articles referred to herein is incorporated by refer
  and the resulting mixture mixed for 2 minutes. Thereafter, the ence for all purposes.
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                                                      US 8,217,033 B2
                            21                                                                     22
                        EQUIVALENTS                                      11. The pharmaceutical composition of claim 1, wherein
                                                                      the midazolam is present in a concentration from 0.001%
     The invention may be embodied in other specific forms (w/v) to 20% (w/v).
  without departing from the spirit or essential characteristics         12. The pharmaceutical composition of claim 1, further
  thereof. The foregoing embodiments are therefore to be con comprising water.
  sidered in all respects illustrative rather than limiting on the       13. The pharmaceutical composition of claim 10, wherein
  invention described herein. Scope of the invention is thus the midazolam is present in a concentration from 0.001%
  indicated by the appended claims rather than by the foregoing (w/v) to 20% (w/v).
  description, and all changes that come within the meaning              14. The pharmaceutical composition of claim 9, wherein
  and range of equivalency of the claims are intended to be 10 the methoxypolyethylene glycol is methoxy-polyethylene
  embraced therein.                                                   glycol 350.
     What is claimed is:                                                 15. A method of administering midazolam to a mammal,
     1. A liquid pharmaceutical composition formulated for the method comprising administering a pharmaceutical com
  intranasal administration, comprising:                              position to a mucosal Surface of the mammal, the pharmaceu
     i) midazolam or a pharmaceutically salt thereof, and          15 tical composition comprising:
     ii) a methoxy-polyethylene glycol selected from the group           midazolam or a pharmaceutically acceptable salt thereof;
         consisting of methoxy-polyethylene glycol 350 and                  and
         methoxy-polyethylene glycol 550.                                a methoxy-polyethylene glycol selected from the group
     2. The pharmaceutical composition of claim 1, further                  consisting of methoxy polyethylene glycol 350 and
  comprising propylene glycol.                                              methoxy-polyethylene glycol 550.
     3. The pharmaceutical composition of claim 2, further               16. The method of claim 15, wherein the mucosal surface is
  comprising water.                                                   a nasal membrane, buccal membrane, pulmonal membrane,
     4. The pharmaceutical composition of claim 1, wherein the ocular membrane, or rectal membrane.
  methoxy-polyethylene glycol is methoxy-polyethylene gly                17. The method of claim 15, wherein the mucosal surface is
  col 350.                                                       25   a nasal membrane.
    5. The pharmaceutical composition of claim3, wherein the            18. The method of claim 15, wherein the midazolam has a
  methoxy-polyethylene glycol is methoxy-polyethylene gly             peak concentration (T,) in the blood of the mammal within
  col 350.                                                            30 minutes after administration of the midazolam.
     6. The pharmaceutical composition of claim 1, further         19. The method of claim 15, wherein the midazolam has a
  comprising polyethylene glycol.                             30 peak concentration (T,) in the blood of the mammal within
    7. The pharmaceutical composition of claim 5, further 15 minutes after administration of the midazolam.
  comprising polyethylene glycol.                                  20. The method of claim 15, wherein the pharmaceutical
    8. The pharmaceutical composition of claim 1, further composition is administered in a volume of 50 ul to 300 ul.
  comprising ethyl alcohol.                                        21. The method of claim 15, wherein the mammal is a
    9. The pharmaceutical composition of claim 6, wherein the 35 human.
  polyethylene glycol is polyethylene glycol 400.
     10. The pharmaceutical composition of claim 7, wherein
  the polyethylene glycol is polyethylene glycol 400.
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                         EXHIBIT B
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                                                                                                          USOO8809322B2


  (12) United States Patent                                                              (10) Patent No.:     US 8,809,322 B2
       Gizurarson                                                                        (45) Date of Patent:    *Aug. 19, 2014
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  (51) Int. Cl.                                                                     EP                O519351            12/1992
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                                                       US 8,809,322 B2
                                1.                                                                   2
       METHODS AND COMPOSITIONS FOR THE                                (Ed.) TRANSNASAL SYSTEMIC MEDICATIONS, FUNDAMENTALs,
        DELIVERY OF ATHERAPEUTICAGENT                                  DEVELOPMENTAL CONCEPTS AND BIOMEDICAL ASSESSMENTS,
                                                                       ELSEVIER Science Publishers, Amsterdam, pp. 101-105). As a
                  RELATED APPLICATIONS                                 result, this hypothesis, if correct, may limit the delivery of
                                                                       certain therapeutic agents that are sparingly soluble in water.
     This application is a continuation of U.S. patent applica            To facilitate delivery to the nasal cavity, an effective
  tion Ser. No. 12/016,724, filed Jan. 18, 2008 and also claims        amount of the therapeutic agent should be dissolved in a small
  the benefit of and priority to Icelandic patent application Ser. volume, for example, less than about 1000 uL, preferably less
  No. 8593/2007, filed Jan. 19, 2007, the entire disclosure of the     than 300 u, and more preferably less than 150 uL. Larger
  above applications are incorporated by reference herein for 10 Volumes drain out anteriorly through the nostrils or posteri
  all purposes.                                                        orly toward the pharynx where excess liquid is swallowed. As
                                                                       a result, if large Volumes are administered, a portion of the
                   FIELD OF THE INVENTION                              therapeutic agent can be lost from the absorption site, and it
                                                                       can be difficult if not impossible to reproducibly administer
     This invention relates generally to compositions for the 15 the correct dose of the therapeutic agent.
  delivery of a therapeutic agent and to related methods, and             A variety of delivery systems have been developed for the
  more particularly relates to compositions containing one or nasal administration of therapeutic agents. Lau and Slattery
  more alkoxy-polyethylene glycols for the delivery of a thera studied the absorption characteristics of diazepam and
  peutic agent and to related methods.                                 lorazepam following their intranasal administration for the
                                                                       treatment of epilepticus (Lau, S.W. J. & Slattery, J.T. (1989),
                          BACKGROUND                                   Absorption of Diazepam and Lorazepam Following Intrana
                                                                       sal Administration, INT. J. PHARM., 54, 171-174). In order to
     The administration of atherapeutic agent by injection (e.g.,      solubilize the therapeutic agent, a non-ionic Surfactant—
  intravenous, intramuscular or Subcutaneous injection) typi polyoxyethylated castor oil—was selected as the least irritat
  cally is regarded as the most convenient way of administra 25 ing solvent of several solvents studied, including polyethyl
  tion when the purpose is to achieve a rapid and strong sys ene glycol 400 (PEG 400). Diazepam absorption was 84%
  temic effect, for example, within 3-10 minutes, when the and 72%, respectively, in two adults measured over a period
  agent is not absorbed by the gastrointestinal tract, or when the of 60 hours. However, the peak concentration was not
  agentis inactivated in the gastrointestinal tract or by first-pass observed until 1.4 hours after the nasal administration and
  hepatic metabolism. However, administration by injection 30 was only about 27% with reference to intravenous adminis
  presents a range of disadvantages. For example, sterile tration, Suggesting that most of the absorption had taken place
  syringes must be used and injections cannot be administered after the test substance passed down to pharynx and swal
  by untrained personnel. Furthermore, this mode of adminis lowed. Similar results were obtained for lorazepam but with
  tration may cause pain and/or irritation, especially in the case an even longer time to peak (2.3 hours). The authors con
  of repeated injections at the same site.                          35 cluded that the intranasal route of administration had limited
     Mucosal administration, Such as, intranasal, buccal, Sub          potential for the acute treatment of epileptic seizures.
  lingual, rectal and pulmonal administration, is receiving par           Wilton et al. attempted to administer midazolam to 45
  ticular interest as it avoids many of the disadvantages of children to achieve pre-anesthetic sedation (Wilton et al.
  injecting a therapeutic agent while, at the same time, still (1988) Preanaesthetic Sedation of Preschool Children. Using
  providing a strong and rapid systemic effect. In order to be an 40 Intranasal Midazolam, ANESTHESIOLOGY, 69,972-975). How
  attractive alternative to injection, mucosal administration, for ever, the Volumes used were impractical and exceeded the
  example, intranasal administration, should neither cause sig maximal volume required for efficient administration. This
  nificant pain, discomfort or irritation nor cause any irrevers resulted in coughing and Sneezing with expulsion of at least
  ible damage to the mucosal Surface. However, in the case of part of the dose.
  acute health threatening indications, a relatively high local 45 Morimoto et al. Studied a gel preparation for nasal appli
  irritation to the mucosa may be acceptable.                          cation in rats of nifedipine containing the gelling agent car
     In mucosal administration, such as during nasal, buccal or bopol (polyacrylic acid) in PEG 400, for achieving prolonged
  rectal administration, the therapeutic agent should be applied action and high bioavailability of the therapeutic agent
  to the mucosa in a vehicle that permits it to penetrate, or be (Morimoto et al. (1987) Nasal Absorption of Nifedipine from
  absorbed through, the mucosa. In order to penetrate the 50 Gel Preparations in Rats, CHEMICAL AND PHARMACEUTICAL BUL
  mucus, the vehicle should be biocompatible with mucus and LETINS,35, No. 7,3041-3044). A mixture of equal amounts of
  hence have a certain degree of hydrophilicity. However, the carbopol and PEG 400 was preferred. It was shown that nasal
  vehicle should preferably also possess lipophilic properties to application provided higher bioavailability of nifedipine than
  dissolve a clinically relevant amount of the therapeutic agent after peroral administration, but the peak plasma concentra
  of interest.                                                    55   tion was not observed until 30 minutes after administration.
     The extensive network of blood capillaries under the                Danish Patent Application No. 2586/87 discloses a phar
  mucosal Surface, especially in the nasal mucosa, is well Suited maceutical composition comprising an anti-inflammatory
  to provide a rapid and effective systemic absorption of drugs,      steroid, water, 2 to 10% (v/v) propylene glycol, 10 to 25%
  vaccines and biologicals. Moreover, the nasal epithelial mem (v/v) PEG 400, and 1 to 4% (v/v) Tween 20.
  brane in effect contains a single layer of epithelial cells (pseu 60 U.S. Pat. No. 4,153,689 discloses a stable aqueous solution
  dostratified epithelium) and, therefore, is more suited for drug of insulin intended for intranasal administration. The solu
  administration than other mucosal Surfaces having squamous tions had a pH not more than 4.7, and contained from 0.1 to
  epithelial layers, such as, the mouth and vagina.                   20% by weight of a stabilizing agent including (a) one or
     It has been hypothesized that the usefulness of nasal more non-ionic Surface active agents whose hydrophile-lipo
  administration can be limited if the therapeutic agent has 65 phile balance value was in the range of 9 to 22, and/or (b)
  limited solubility in water (Proctor, D. F. (1985) Nasal Physi polyethylene glycol whose molecular weight was in the range
  ology in Intranasal Drug Administrations, in Chien, Y. W. of from 200 to 7500. Exemplary non-ionic surface active
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                                3
  agents included polyoxyethylene fatty acid ester, a polyoxy           wherein,
  ethylene higher alcohol ether, a polyoxyethylene alkylphenyl         R is (C-C)alkyl; and
  ether, or a polyoxyethylene alkylphenyl ether, or a polyoxy          n, which is the average number of oxyethylene repeating
  ethylene hydrogenated castor oil.                                 units, is a number in the range of from about 1 to about 25.
     International Patent Publication No. DK-2075/90 dis               In another aspect, the invention provides methods of deliv
  closes the nasal administration of therapeutic agents, for ering a therapeutic agent of interest to a mammal, for
  example, benzodiazepines, in compositions containing example, a human, using an alkoxy-polyethylene glycol con
  n-glycofurol, a derivative of polyethyleneglycol, for mucosal taining composition described herein. The composition is
  administration. The application discloses the nasal adminis
  tration of therapeutic agents, for example, benzodiazepines, 10 particularly
                                                                    mucosal
                                                                                   useful when the composition is applied to a
                                                                               membrane,    for example, a nasal membrane during
  in formulations containing at least 30% n-ethyleneglycols intranasal drug delivery.
  ranging from 1-8 ethylene glycol, for example, polyethylene
  glycol 200 (PEG 200).                                                These and other aspects and advantages of the invention
     U.S. Pat. No. 5,693,608 discloses a method of administer       will  become apparent upon consideration of the following
  ing a therapeutic agent via the nasal mucosa of a mammal, 15 detailed description and claims.
  where the agent is dissolved or Suspended in an n-ethyleneg           DETAILED DESCRIPTION OF THE INVENTION
  lycol containing vehicle where the n-ethyleneglycol is repre
  sented  by the formula, H(OCH2CH2)OH, wherein p is a
  number from 1 to 8.                                                  The invention is based, in part, upon the discovery that the
     Notwithstanding, there is still a need for compositions        inclusion   of one or more alkoxy-polyethylene glycols into
  deliverable through mucosal membranes that produce thera formulations
                                                                    ents  when   the
                                                                                    provides certain advantages over other excipi
                                                                                      formulations are applied, for example, to a
  peutic plasma concentrations of the therapeutic agent as fast
                                                                    mucosal Surface, For example, it has been discovered that
  as or nearly as fast as by intravenous administration but with when
  out causing irritation and/or unacceptable damage to the lation,anthealkoxy-polyethylene           glycol is used in Such a formu
                                                                                 therapeutic agent (for example, a poorly soluble
  mucosal membrane.                                              25
                                                                    therapeutic agent) can be solubilized more easily and in larger
               SUMMARY OF THE INVENTION                             amounts than when other excipients, for example, polyethyl
                                                                    ene glycol (more particularly PEG 400), are used. However,
     The invention is based, in part, upon the discovery that the the    resulting formulations are less viscous and cause less
                                                                    irritation to mucosal membranes as the amount of other vis
  inclusion of one or more alkoxy-polyethylene glycols in a 30
  formulation provides certain advantages when the resulting cous and irritable excipients can be reduced or eliminated
  composition is to be applied, for example, to a mucosal Sur altogether. As a result, the lower viscosity formulations, when
  face. For example, it has been discovered that when alkoxy converted
                                                                    ing
                                                                                into droplets, for example, by a nasal sprayer dur
                                                                        intranasal  delivery, produce a spray pattern optimized for
  polyethylene glycol is used in Such formulations, the thera
  peutic agent can be still be solubilized (which is especially 35 delivering the therapeutic agent to the mucosal membrane. In
  useful for poorly soluble therapeutic agents) but the resulting addition, formulations containing one or more alkoxy-poly
  formulations are less viscous and cause less irritation to        ethylene glycols cause less irritation (for example, a burning
  mucosal membranes because the amount of other potentially sensation) when applied to a mucosal Surface, for example, a
  Viscous and irritable excipients, for example, polyethylene nasal membrane during intranasal administration. In addi
  glycol or propylene glucol, can be reduced or eliminated 40 tion, when administered intranasally, the compositions of the
  altogether. As a result, the lower viscosity formulations, when invention have less undesirable after taste (for example, a
  converted into droplets, for example, by a nasal sprayer dur petroleum-like after taste) than when other excipients, for
  ing intranasal delivery, can produce a spray pattern optimized example, propylene glycol, are used.
  for delivering the therapeutic agent to the mucosal mem              Under certain circumstances, the alkoxy-group also
  brane. In addition, formulations containing alkoxy-polyeth 45 increases the bioadhesion of the composition to the site of
  ylene glycols create less irritation (burning sensation) when administration on the mucosal Surface thereby prolonging the
  applied to a mucosal Surface, for example, a nasal membrane duration of the composition at the site of administration. This
  following nasal administration. In addition, when adminis can increase the amount of therapeutic agent that is ultimately
  tered intranasally, the compositions of the invention mini absorbed.
  mize undesirable after taste (for example, a petroleum-like 50 I—Formulations
  after taste) that can be associated with certain other excipi tical  In one aspect, the invention provides a liquid pharmaceu
  entS.                                                                    composition comprising a therapeutic agent and an
     In one aspect, the invention provides a liquid pharmaceu alkoxy-polyethylene glycol represented by Formula I:
  tical composition comprising a therapeutic agent and an
  alkoxy-polyethylene glycol represented by Formula I:           55        R-O-(CH2CH2O). H                                       (I)
        R-O-(CH2CH2O). H                                      (I)       wherein,
                                                                     R is methyl, ethyl, n-propyl, isopropyl, or cyclopropyl; and
    wherein,                                                         n is the average number of oxyethylene repeating units and
     R is methyl, ethyl, n-propyl, isopropyl, or cyclopropyl; and
     n, which is the average number of oxyethylene repeating 60 is aInnumber    in the range of from about 1 to about 25.
                                                                        another aspect, the invention provides a liquid formula
  units, is a number in the range of from about 1 to about 25.    tion for Solubilizing a poorly soluble therapeutic agent. The
     In another aspect, the invention provides a liquid formula liquid pharmaceutical composition comprises a poorly
  tion for solubilizing a poorly soluble therapeutic agent, for soluble therapeutic agent, for example, a poorly soluble
  example, a poorly soluble organic therapeutic agent. The organic therapeutic agent, and an alkoxy-polyethylene glycol
  composition comprises a poorly soluble therapeutic agent 65 represented by Formula I:
  and an alkoxy-polyethylene glycol represented by Formula I:
        R-O-(CH2CH2O). H                                      (I)           R-O-(CH2CH2O). H                                      (I)
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                                                        US 8,809,322 B2
                                                                                                       6
    wherein,                                                           sprays that have more uniform spray characteristics (for
     R is (C-C)alkyl; and                                              example, more uniform droplet sizes and/or plume geom
     n is the average number of oxyethylene repeating units and        etries) for the intranasal administration of therapeutic agent.
  is a number in the range of from about 1 to about 25. The            The resulting pharmaceutical composition at a temperature of
  formulations typically are in liquid format 20°C., 25°C., 30°        20° C. has a viscosity in the range of about 1.5 cF to about 60
  C., 35° C., or 40° C. Certain formulations preferably are cP, or from about 2 cP to about 50 cP, or from about 3 cF to
  liquid formulations at 37° C.                                      about 40 cB, or from about 4 cp to about 30 cp, or from about
     The term “poorly soluble therapeutic agent” refers to a 5 cF          to about 25 cF.
                                                                        Exemplary alkoxy-polyethylene glycols, therapeutic
  compound having biological activity and a solubility in water 10 agents,    and other excipients useful in creating compositions
  of less than about 1 mg/mL at pH 7 and 20°C. In certain of the invention              are described in the following sections.
  embodiments, the poorly soluble therapeutic agent is an               A. Alkoxy-polyethylene Glycol
  organic compound that has a molecular weight of less than             Useful alkoxy-polyethylene glycol excipients useful in the
  1500 g/mol, and preferably less than 500 g/mol. In certain practice          of the invention are represented by Formula (I):
  embodiments, the poorly soluble therapeutic agent is a com
  pound, for example, an organic compound, having an aque 15                R-O-(CH2CH2O). H                                         (I)
  ous solubility of less than about 0.5 mg/mL, less than about          wherein,   n, as the average number   of oxyethylene   repeat
  0.3 mg/mL, or less than about 0.1 mg/mL, at pH 7 and 20°C.
     In addition, the term “alkyl is art-recognized, and includes ing units, is a number in the range of from about 1 to about 25.
  saturated aliphatic groups, including straight-chain alkyl Accordingly, in can be a number about 1, 2, 3, 4, 5, 6, 7, 8, 9.
  groups, branched-chain alkyl groups, cycloalkyl(alicyclic)         10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, or 25.
  groups, alkyl Substituted cycloalkyl groups, and cycloalkyl In certain embodiments, n is an number in the range of from
  substituted alkyl groups. The term “(C-C)alkyl refers to an about 2 to about 15, or from about 2 to about 14, or from about
  alkyl group having between 1 and 6 carbon atoms. Represen 2 to about 13, or from about 2 to about 12, or from about 2 to
  tative alkyl groups include methyl, ethyl, n-propyl, isopropyl. 25 about 11, or from about 2 to about 10, or from about 3 to about
  n-butyl, Sec-butyl, isobutyl, tert-butyl, pentyl, hexyl, cyclo     15, or from about 3 to about 14, or from about 3 to about 13,
  propyl, cyclobutyl, cyclopropylmethylene, cyclopentyl, from        or from about 3 to about 12, or from about 3 to about 11, or
  cyclobutylmethylene, cyclobutylethylene, cyclohexyl, cyclo               about 3 to about 10.
  propylpropylene, cyclobutylethylene, and cyclopentylmeth              In certain embodiments, R is (C-C)alkyl. For example, as
  ylene. The term cyclopropylmethylene, for example, is art 30 discussed         above, R can be methyl, ethyl, n-propyl, isopropyl.
  recognized and refers to a radical having the following n-butyl,             Sec-butyl, isobutyl, tent-butyl, pentyl, hexyl, cyclo
                                                                     propyl, cyclobutyl, cyclopropylmethylene, cyclopentyl,
  formula:
                                                                     cyclobutylmethylene, cyclobutylethylene, cyclohexyl, cyclo
                                                                     propylpropylene, cyclobutylethylene, or cyclopentylmethyl
                                                                     ene. In certain embodiments, R is selected from the group
                                                                  35 consisting of methyl, ethyl, n-propyl, isopropyl, and cyclo
                                                                     propyl.
                                                                        In a preferred embodiment, the alkoxy-polyethylene gly
                                                                     col is methoxy-polyethylene glycol where R is methyl and in
     In certain embodiments, the alkoxy-polyethylene glycol is an number from about 1 to about 25, or from about 2 to
  can comprise from about 0.1% (v/v) to about 80% (v/v), or 40 about 12, or from about 3 to about 10.
  from about 0.5% (v/v) to about 70% (v/v), of the composition.         Useful methoxy-polyetbylene glycols include, for
  In certain other embodiments, the alkoxy-polyethylene gly example, methoxy-diethyleneglyol (m2EG), methoxy-trieth
  col can comprise from about 5% (v/v) to about 80% (v/v), or ylene glycol (m3EG), methoxy-tetraethylene glycol (mAEG),
  from about 30% (v/v) to about 75% (v/v) or from about 40% methoxy-pentaethylene glycol (mSEG), methoxy-hexaethyl
  (vlv) to about 70% (v/v), of the composition. For certain 45 ene glycol (m6EG), methoxy-heptaethylene glycol (m7EG),
  hydrophilic drugs, the alkoxy-polyethylene glycol can com methoxy-octaethylene glycol (m8EG), methoxy-nonaethyl
  prise from about 0.1% (v/v) to about 80% (v/v), or from about ene glycol (m9EG), methoxy-decaethylene glycol (m1 OEG),
  0.5% (v/v) to about 70% (vlv), or from about 1% (vlv) to methoxy-undecaethylene glycol (m11EG), methoxy-dode
  about 60% of the composition. For certain lipophilic drugs, caethylene glycol (m12EG), methoxy-tridecaethylene glycol
  the alkoxy-polyethylene glycol can comprise from about 1% 50 (m13EG) and methoxy-tetradecaethylene glycol (m14EG).
  (v/v) to about 80% (v/v), or from about 2%(v/v) to about 65% The ethylene glycols may be used in the form of the single
  (v/v), or from about 5% (v/v) to about 50% of the composi compounds or as a mixture of two or more methoxy-n-ethyl
  tion. Furthermore, the therapeutic agent can comprise from ene glycols.
  about 0.001% (w/v) to about 20% (w/v) of the composition,             In certain embodiments, the alkoxy-polyethylene glycol is
  or from about 0.1% (w/v) to about 10% (w/v) of the compo 55 methoxy-polyethylene glycol 350 (mPEG 350) or is meth
  sition.                                                            oxy-polyethylene glycol 550 (mPEG 550) or is methoxy
     The pharmaceutical composition can have a pH in the polyethylene glycol 750 (mPEG 750). The term “mPEG 350
  range of from about 4.5 to about 8.5, or from about 4.5 to is understood to mean methoxy polyethylene glycol having
  about 7.5, or from about 4.5 to about 6.5, or from about 5.5 to    an average molecular weight of about 350, and in certain
  about 8.5, or from about 6.5 to about 8.5, or from about 5.5 to 60 embodiments “n” as denoted in Formula I, is 7.2. The term
  about 7.5.                                                        “mPEG550' is understood to mean methoxy polyethylene
     As discussed, one of the advantages of using an alkoxy glycol having an average molecular weight of about 550, and
  polyethylene glycol is that it can be used in place of or can be in certain embodiments “n” as denoted in Formula I, is 11.8.
  used to reduce the amount of other excipients, for example, The term “mPEG750' is understood to mean methoxy poly
  certain polyethylene glycols and propylrnr glycol, so as to 65 ethylene glycol having an average molecular weight of about
  reduce the Viscosity of the resulting formulation. By reducing 750, and in certain embodiments “n” as denoted in Formula
  the viscosity of the resulting formation it is possible to create I, is 16.3.
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    Certain, preferred alkoxy-polyethylene glycols include            late, capsaicin, celecoxib, diclofenac, diflunisal, etodolac,
  CarbowaxTM mPEG 350, CarbowaxTM mPEG 550 or Carbo                   fenbufen, fenoprofen calcium, flurbiprofen, ibuprofen,
  waxTM mPEG 750, which are available commercially from indomethacin, ketoprofen, ketorolac, leflunomide, meclofe
  Dow Chemical Company. Both mPEG350 and mPEG550 are namic acid, mefenamic acid, nabumetone, naproxen,
  colorless liquids that are miscible with water, alcohols, such oxaprozin, oxyphenbutaZone, phenylbutaZone, piroxicam,
  as methanol, ethanol, n-propanol, glycerol and various oils in refocoxib, Sulindac, tetrahydrocannabinol, tramadol and
  all proportions, and have a boiling point about 155° C. It is tromethamine; (2) anti-arrhythmic agents, such as, amio
  understood that alkoxy-polyethylene glycols are known by darone HCl, disopyramide, flecainide acetate and quinidine
  other names, where, for example, methoxy-polyethylene gly Sulfate; (3) anti-asthma agents, such as, Zileuton, Zafirlukast,
  col is also known as mono-methyl polyethylene glycol and 10 montelukast, and albuterol; (4) anti-bacterial agents, such as,
  poly(ethylene glycol)methyl ether.                                  baclofen, benZathine penicillin, cinoxacin, clarithromycin,
     By using one or more of the alkoxy-polyethylene glycols clofazimine, cloxacillin, demeclocycline, dirithromycin,
  described herein, the resulting pharmaceutical compositions doxycycline, erythromycin, ethionamide, furazolidone, gre
  can be optimized, for example, with respect to bioadhesion, pafloxacin, imipenem, levofloxacin, lorefloxacin, moxifloxa
  viscosity and sprayability. For example, mPEG 350, at an 15 cin HCl, nalidixic acid, nitrofurantoin, norfloxacin, ofloxa
  equivalent concentration as PEG 200, can still solubilize a cin, rifampicin, rifabutine, rifapentine, sparfloxacin,
  therapeutic agent but the resulting composition has a lower spiramycin, Sulphabenzamide, Sulphadoxine, Sulphamera
  Viscosity. As a result, this Substitution has a Surprisingly posi Zine, Sulphacetamide, Sulphadiazine, Sulphafurazole, Sulpha
  tive effect on the sprayability compared with lower molecular methoxazole, Sulphapyridine, tetracycline, trimethoprimand
  weight PEG 200, which is important where the formulation is trovafloxacin; (5) anti-viral agents, such as, abacavir,
  to be sprayed.                                                      amprenavir, delavirdine, efavirenz, indinavir, lamivudine,
     B. Therapeutic Agent                                             nelfinavir, nevirapine, ritonavir, saquinavir, and stavudine;
     The pharmaceutical composition of the invention may (6) anti-coagulants, such as, ciloStaZol, clopidogrel, dicuma
  comprise one or more therapeutic agents (also referred to as rol, dipyridamole, nicoumalone, oprelvekin, phenindione,
  biologically active Substances) selected from the group con 25 ticlopidine, and tirofiban; (7) anti-depressants, such as amox
  sisting of hydrophobic therapeutic agents, hydrophilic thera apine, bupropion, citalopram, clomipramine, maprotiline
  peutic agents, and combinations thereof.                            HCl, mianserin HCl, nortriptyline HCl, paroxetine HCl, ser
     The alkoxy-polyethylene glycol excipients are surpris traline HCl, trazodone HCl, trimipramine maleate, and ven
  ingly capable of solubilizing and delivering a wide variety of lafaxine HCl; (8) anti-diabetics, such as, acetohexamide,
  hydrophilic and hydrophobic therapeutic agents. The hydro 30 chlorpropamide, glibenclamide, gliclazide, glipizide, glime
  phobic drugs have little or no water solubility. It is understood piride, miglitol, pioglitaZone, repaglinide, rosiglitaZone,
  that the excipients described herein can be used to solubilize tolazamide, tolbutamide and troglitazone; (9) anti-epileptics,
  therapeutic agents that have a solubility in water of less than Such as, beclamide, carbamazepine, clonazepam, ethotoin,
  about 1.0 mg/mL, less than about 0.5 mg/mL, less than about felbamate, fosphenytoin Sodium, lamotrigine, methoin,
  0.3 mg/mL, or less than about 0.1 mg/mL, or less than about 35 methSuximide, methylphenobarbitone, Oxcarbazepine,
  0.01 mg/mL, at pH 7 and 20° C. Such therapeutic agents can paramethadione, phenacemide, phenobarbitone, phenytoin,
  be any agents having therapeutic or other value when admin phensuximide, primidone, Sulthiame, tiagabine HCl, topira
  istered to a mammal, for example, a human, and can include mate, valproic acid, and vigabatrin; (10) anti-fungal agents,
  organic molecules (for example, Small molecule drugs having Such as, amphotericin, butenafine HCl, butoconazole nitrate,
  a molecular weight of less than 1,500 g/mol., or less than 500 40 clotrimazole, econazole nitrate, fluconazole, flucytosine,
  g/mol.), proteins, peptides, immungens (e.g. Vaccines, cytok griseofulvin, itraconazole, ketoconazole, miconazole, nata
  ines, etc.), nutrients, and cosmetics (cosmeceuticals).             mycin, nystatin, Sulconazole nitrate, oxiconazole, terbinafine
     In certain embodiments, the therapeutic agent is an anal HCl, terconazole, tioconazole and undecenoic acid; (11) anti
  gesic agent, an anti-inflammatory agent, an anti-arrhythmic hypertensive agents, such as, amlodipine, benidipine, ben
  agent, an anti-asthma agent, an anti-bacterial agent, an anti 45 eZepril, candesartan, captopril, darodipine, dilitazem HCl,
  viral agent, an anti-coagulant, an anti-depressant, an anti diazoxide, doxazosin HCl, elanapril, eposartan, losartan
  diabetic, an anti-epileptic, an anti-fungal agent, an anti-hy mesylate, felodipine, fenoldopam, fosenopril, guanabenz
  pertensive agent, an anti-malarial, an anti-migraine agent, an acetate, irbesartan, isradipine, lisinopril, minoxidil, nicar
  anti-muscarinic agent, an anti-neoplastic agent, an immuno dipine HCl, nifedipine, nimodipine, nisoldipine, phenoxy
  Suppressant, an anti-protozoal agent, an anti-thyroid agent, an 50 benzamine HCl, prazosin HCl, quinapril, reserpine, teraZosin
  anxiolytic agent, a sedative, a hypnotic agent, a neuroleptic HCl, telmisartan, and Valsartan; (12) anti-malarials, such as,
  agent, a beta-Blocker, a cardiac inotropic agent, a corticos amodiaquine, chloroquine, chlorproguanil HCl, halofantrine
  teroid, a diuretic agent, an anti-Parkinsonian agent, a gas HCl, mefloquine HCl, proguanil HCl, pyrimethamine and
  trointestinal agent, an anti-histamine, a histamine-receptor quinine Sulfate; (13) anti-migraine agents, such as, dihydro
  antagonist, a lipid regulating agent, a muscle relaxant, nitrate 55 ergotamine mesylate, ergotamine tartrate, froVatriptan,
  and other anti-anginal agent, a nutritional agent, an opioid methysergide maleate, naratriptan HCl, pizotyline malate,
  analgesic, sex hormone, stimulant, cytokine, peptidomi rizatriptanbenzoate, Sumatriptan Succinate, and Zolmitriptan;
  metic, peptide, protein, toxoid, Sera, antibody, vaccine,           (14) anti-muscarinic agents, such as, atropine, benzhexol
  nucleoside, nucleotide, nucleic acid and peptidyl-nucleic HCl, biperiden, ethopropazine HCl, hyoscyamine, oxyphen
  acid.                                                            60 cyclimine HCl and tropicamide; (15) anti-neoplastic agents
     Specific non-limiting examples of hydrophobic therapeu and immunosuppressants, such as, aminoglutethimide, amsa
  tic agents that can be used in the pharmaceutical composi crine, azathioprine, bicalutamide, bisantrene, buSulfan,
  tions of the present invention include the following represen camptothecin, chlorambucil, cyclosporin, dacarbazine, ellip
  tative compounds, as well as their pharmaceutically ticine, estramustine, etoposide, irinotecan, lomustine, mel
  acceptable salts, isomers, esters, ethers and other derivatives 65 phalan, mercaptopurine, mitomycin, mitotane, mitoxantrone,
  including, for example: (1) analgesics and anti-inflammatory mofetil mycophenolate, nilutamide, paclitaxel, procarbazine
  agents. Such as, aloxiprin, auranofin, azapropaZone, benory HCl, sirolimus, tacrolimus, tamoxifen citrate, teniposide, tes
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  tolactone, topotecan HCl, and toremifene citrate; (16) anti       roXine, methoXSalen, Verteporfirin, physostigmine, pyri
  protozoal agents, such as, atovaquone, benznidazole, clio         dostigmine, raloxifene HCl, sibutramine HCl, sildenafil
  quinol, decoquinate, diiodohydroxyquinoline, diloxanide           citrate, tacrine, tamsulosin HCl, and tolterodine.
  furoate, dinitolmide, furazolidone, metronidazole, nimora            Certain exemplary hydrophobic therapeutic agents include
  Zole, nitrofuraZone, ornidazole and tinidazole; (17) anti-thy sildenafil citrate, amlodipine, tramadol, celecoxib, rofecoxib,
  roid agents, such as, carbimazole, paracalcitol, and propylth oxaprozin, nabumetone, ibuprofen, terbenafine, itraconazole,
  iouracil; anti-tussives, such as, benzonatate; (18) anxiolytics, Zileuton, Zafirlukast, cisapride, fenofibrate, tizanidine, niza
  sedatives, hypnotics and neuroleptics, such as, alprazolam, tidine, fexofenadine, loratadine, famotidine, paricalcitol,
  amylobarbitone, barbitone, bentazepam, bromazepam, bro atovaquone, nabumetone, alprazolam, bromazepam, chlor
  mperidol, brotizolam, butobarbitone, carbromal, chlordiaz 10 promazine, clonazepam, diazepam, flunitrazepam, flu
  epoxide, chlormethiazole, chlorpromazine, chlorprothixene, razepam, haloperidol, lorazepam, lormetazepam, mida
  clonazepam, clobazam, clotiazepam, clozapine, diazepam, Zolam, nitrazepam, oxazepam, pseudoephedrine,
  droperidol, ethinamate, flunanisone, flunitrazepam, triflupro temazepam, triazolam, Zolpidem, Zopiclone, tetrahydrocan
  mazine, fluiphenthixol decanoate, fluiphenazine decanoate, nabinol, testosterone, megestrol acetate, repaglinide, proges
  flurazepam, gabapentin, haloperidol, lorazepam, 15 terone, rimexolone, cyclosporin, tacrolimus, Sirolimus,
  lormetazepam, medazepam, meprobamate, mesoridazine, tenipo side, paclitaxel, pseudoephedrine, troglitaZone,
  methaqualone, methylphenidate, midazolam, molindone, rosiglitaZone, finasteride, Vitamin A, vitamin D. Vitamin E,
  nitrazepam, olanzapine, oxazepam, pentobarbitone, per and pharmaceutically acceptable salts, isomers and deriva
  phenazine pimozide, prochlorperazine, pseudoephedrine, tives thereof. It should be appreciated that the listing of hydro
  quetiapine, rispiridone, sertindole, Sulpiride, temazepam, phobic therapeutic agents and their therapeutic classes is
  thioridazine, triazolam, Zolpidem, and Zopiclone; (19) beta merely illustrative. It is understood, that mixtures of hydro
  Blockers, such as, acebutolol, alprenolol, labetalol, meto phobic therapeutic agents may also be used where desired.
  prolol, nadolol, oXprenolol, pindolol and propranolol; (20)          An advantage of using alkoxy-polyethylene glycol as an
  cardiac inotropic agents, such as, amrinone, digitoxin, excipient in the pharmaceutical composition is that, for
  digoxin, enoXimone, lanatoside C and medigoxin; (21) a cor 25 example, highly lipophilic Substances, such as, lorazepam,
  ticosteroid, Such as, beclomethasone, betamethasone, budes        midazolam, clonazepam, alprazolam and other compounds
  onide, cortisone acetate, desoxymethasone, dexamethasone, belonging to the benzodiazepines, as well as water soluble
  fludrocortisone acetate, flunisolide, fluocortolone, flutica      Substances, for example, peptides and proteins. Such as, the
  Sone propionate, hydrocortisone, methylprednisolone, pred pancreatic hormones can be solubilized in a clinically rel
  nisolone, prednisone and triamcinolone; (22) diuretics. Such 30 evant volume (for example, 25-300 LL) for delivery to a
  as, acetazolamide, amiloride, bendroflumethiazide, bumet          human Subject. By way of comparison, clinically relevant
  anide, chlorothiazide, chlorthalidone, ethacrynic acid, doses of midazolam, lorazepam, alprazolam, diazepam and
  frusemide, metolaZone, spironolactone and triamterene; (23) clonazepam would have to be dissolved in at least 5 mL of
  anti-Parkinsonian agents, such as, bromocriptine mesylate, Water.
  ly Suride maleate, pramipexole, ropinirole HCl, and tolca 35 Although the alkoxy-polyethylene glycol excipients are
  pone; (24) gastrointestinal agents, such as bisacodyl, cimeti particularly useful for the delivery of hydrophobic agents,
  dine, cisapride, diphenoxylate HCl, domperidone, famoti alkoxy-polyethylene glycol can also be used to deliver a
  dine, lanSoprazole, loperamide, mesalazine, nizatidine, variety of hydrophilic therapeutic agents. Alkoxy-polyethyl
  omeprazole, ondansetron HCl, rabeprazole sodium, raniti ene glycols, under certain circumstances, may prolong the
  dine HCl and SulphaSalazine; (25) anti-histamines and hista 40 duration of the therapeutic agent at the absorption site thereby
  mine-receptor antagonists, such as, acrivastine, astemizole, increasing the amount of agent ultimately delivered. Exem
  chlorpheniramine, cinnarizine, cetrizine, clemastine fuma plary hydrophilic therapeutic agents include hydrophilic
  rate, cyclizine, cyproheptadine HCl, dexchlorpheniramine, drugs (i.e., conventional non-peptidic drugs), hydrophilic
  dimenhydrinate, fexofenadine, flunarizine HCl, loratadine, macromolecules, such as, cytokines, peptides, proteins, pep
  meclizine HCl, oxatomide, and terfenadine; (26) lipid regu 45 tidomimetics, toxoids, Sera, antibodies, vaccines, nucleo
  lating agents, such as, atorvastatin, beZafibrate, cerivastatin,  sides, nucleotides, nucleic acids, and genetic material. The
  ciprofibrate, clofibrate, fenofibrate, fluvastatin, gemfibrozil, hydrophilic therapeutic agent can be administered alone or in
  pravastatin, probucol, and simvastatin; (27) muscle relaxants, combination with other agents, for example, a hydrophobic
  such as, dantrolene sodium and tizanidine HCl: (28) nitrates therapeutic agent discussed hereinabove or a second, differ
  and other anti-anginal agents, such as, amyl nitrate, glyceryl 50 ent hydrophilic therapeutic agent.
  trinitrate, isosorbide dinitrate, isosorbide mononitrate and         Without limitation, exemplary hydrophilic therapeutic
  pentaerythritol tetranitrate; (29) nutritional agents, such as, agents that can be delivered using the compositions and meth
  calcitriol, carotenes, dihydrotachysterol, essential fatty acids, ods of the present invention, include the following com
  non-essential fatty acids, phytonadiol, vitaminA, Vitamin B. pounds as well as their pharmaceutically acceptable salts,
  Vitamin D. Vitamin E and vitamin K; (30) opioid analgesics, 55 isomers, esters, ethers and other derivatives, for example:
  Such as, codeine, dextropropoxyphene, diamorphine, dihy acarbose; acyclovir, acetyl cysteine; acetylcholine chloride;
  drocodeine, fentanyl, meptazinol, methadone, morphine, alatrofloxacin; alendronate; alglucerase; amantadine hydro
  hydromorphone, nalbuphine and pentazocine; (31) sex hor chloride; ambenomium; amifostine; aminocaproic acid; anti
  mones, such as, clomiphene citrate, cortisone acetate, dana hemophilic factor (human); antihemophilic factor (porcine);
  Zol, dehydroepiandrosterone, ethynyl estradiol, finasteride, 60 antihemophilic factor (recombinant); aprotinin; asparagi
  fludrocortisone, fluoxymesterone, medroxyprogesterone nase; atenolol; atracurium besylate; azithromycin; aztre
  acetate, megestrol acetate, mestranol, methyltestosterone, onam, BCG vaccine; bacitracin; becalermin; belladona;
  norethisterone, norgestrel, oestradiol, conjugated estrogens, bepridil hydrochloride; bleomycin sulfate; calcitonin human;
  progesterone, rimexolone, Stanozolol, stilbestrol, testoster calcitonin salmon; carboplatin: capecitabine; capreomycin
  one and tibolone; and (32) stimulants, such as, amphetamine, 65 Sulfate, cefamandole nafate; cefazolin Sodium, cefepime
  dexamphetamine, dexfenfluramine, fenfluramine and mazin hydrochloride; cefixime, cefonicid sodium, cefoperaZone;
  dol; and others, such as, becaplermin, donepezil HCl, L-thry cefotetan disodium, cefotoxime; cefoxitin Sodium, cefti
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  Zoxime, ceftriaxone; cefuroxime axetil; cephalexin; cephapi agents; antibodies, such as, monoclonal or polyclonal anti
  rin sodium; cholera vaccine; chorionic gonadotropin, cido bodies; anti-cholinergic agents; anti-depressants, such as,
  fovir, cisplatin: cladribine; clidinium bromide; clindamycin amitriptyline HCl, imipramine HCl; anti-emitics, such as,
  and clindamycin derivatives; ciprofloxacin; clondronate; neuroleptica, for example, metopimazin, anti-emetics having
  colistimethate sodium; colistin Sulfate; cortocotropin; coSyn a regulatory effect on the motility of the intestine. Such as,
  tropin; cromalyn Sodium: cytarabine; daltaperin Sodium; dan domperidon; anti-histaminic agents and histaminic agents,
  aproid; deforoxamine; denileukin diftitox; desmopressin;         Such as, diphenhydramin HCl, chloropheniramine maleate,
  diatrizoate megluamine and diatrizoate sodium; dicyclomine; histamine, prophenpyridamine maleate, chlorprophenpy
  didanosine; dopamine hydrochloride; dornase alpha: doxacu ridamine maleate, disodium cromoglyc ate, meclizine; anti
  rium chloride: doxorubicin; editronate disodium; elanaprilat; 10 hypertensive agents, such as, clonidine HCl; anti-inflamma
  enkephalin; enoxacin; enoxaprin Sodium; ephedrine; epi tory agents (enzymatic). Such as, chymotrypsin, bromelain
  nephrine; epoetin alpha; esmol hydrochloride; Factor IX:         seratiopeptidase; anti-inflammatory agents (non-steroidal),
  famiciclovir, fludarabine; fluoxetine; foscarnet Sodium; gan Such as, acetaminophen, aspirin, aminopyrine, phenylbuta
  ciclovir, granulocyte colony Stimulating factor; granulocyte Zone, colchicine, probenocid; anti-inflammatory agents (Ste
  macrophage stimulating factor; growth hormones (human or 15 roidal). Such as, fluticaSone, predonisolone, triaxncinolone
  bovine); gentamycin; glucagon; glycopyrolate; gonadotropin acetonide; anti-neoplastic agents, such as, actinomycin C.;
  releasing hormone and synthetic analogs thereof, GnRH; anti-septics, such as, chlorhexidine HCl, hexylresorcinol,
  gonadorelin; grepafloxacin; hemophilus B conjugate vac dequalinium cloride, ethacridine; anti-tussive expectorant
  cine; Hepatitis A virus vaccine inactivated; Hepatitis B virus (asthmatic agents), Such as, sodium cromoglycate, isoprot
  vaccine inactivated; heparin Sodium; indinavir Sulfate; influ ereol HCl; anti-viral and anti-cancer agents such as interfer
  enza virus vaccine; interleukin-2; interleukin-3; insulin-hu     ons (such as alpha-2 interferon for treatment of common
  man; insulin-porcine; insulin NPH; insulin aspart; insulin colds), phenyl-p-guanidino benzoate, enviroXime, etc.; beta
  glargine; insulin deternir, interferon-C., interferon-B; ipratro adrenergic blocking agents, such as, propranolol HCl; blood
  pium bromide; isofosfamide: japanese encephalitis virus vac factors, such as, factor VII, factor VIII; bone metabolism
  cine; leucoVorin calcium; leuprolide acetate; levofloxacin; 25 controlling agents, such as, vitamin D; bronchoisters. Such
  lincomycin and lincomycin derivatives; lobucavir, lom as, clenbuterol HCl, bitolterol mesylate; cardiotonics such as
  efloxacin; loracarbef mannitol; measles virus vaccine; men       digitalis; cardiovascular regulatory hormones, drugs and
  ingococcal vaccine; menotropins; mephenzolate bromide; derivatives, such as, bradykin antagonists, atrial natriuretic
  mesalmine; methanamine; methotrexate; methScopolamine; peptide and derivatives, such as, hydrailsazine, angiotensin II
  metformin hydrochloride; metroprolol; mezocillin sodium; 30 antagonist, nitroglycerin, propranolol, clofilium rosylate;
  mivacurium chloride; mumps viral vaccine; nedocromil chemotherapeutic agents, such as, Sulphathiazole, nitrofura
  sodium; neostigmine bromide: neostigmine methyl sulfate: Zone; CNS-stimulants, such as, lidocaine, cocaine; corticos
  neutontin; norfloxacin; octreotide acetate; olpadronate; oxy teroids, such as, lacicortone, hydrocorticeone, fluocinolone
  tocin, pamidronate disodium; pancuronium bromide; paroX acetonide, triamcinolone acetonide; enzymes, such as,
  etine; pefloxacin; pentamindineisethionate; pentostatin; pen 35 lysozyme chloride, dextranase; gastrointenstinal hormones
  toxifylline; periciclovir, pentagastrin; phentolamine and derivatives, such as, secretin, Substance P; hypothalamus
  mesylate; phenylalanine; physostigmine Salicylate; plague hormones and derivatives, such as, LHRH and analogues
  vaccine; piperacillin Sodium; platelet derived growth factor (such as naferelin, buserelin, Zolidex), TRH (thyrotropin
  human; pneumococcal vaccine polyvalent; poliovirus vac releasing hormone); hypothensives; local anaesthetics. Such
  cine (live or inactivated); polymixin B sulfate; pralidoxine 40 as, benzocaine; migraine treatment Substances, such as, dihy
  chloride; pramlintide; pregabalin; propofenone; propentha droergot amine, ergometrine, ergotamine, pizotizin; pancre
  line bromide:pyridostigmine bromide; rabies vaccine; residr atic hormones and derivatives, such as, insulin (hexameric/
  onate; ribavarin: rimantadine hydrochloride; rotavirus vac dimeric/monomeric forms); parasympathomimetics, such as,
  cine; Salmetrol Xinafoate; sincalide; Small pox vaccine; nicotine, methacholine; parasympatholytics, such as, Scopo
  solatol; somatostatin; Sparfloxacin; spectinomycin; stavu 45 lamine, attopine, ipratropium; Parkinson's disease Sub
  dine; Streptokinase; streptozocin, suxamethonium chloride;       stances, such as, apomorphin, pituitary gland hormones and
  tacrine hydrochloride; terbutaline sulfate; thiopeta: ticarcil derivatives, such as, growth hormone (e.g. human), Vaso
  lin; tiludronate; timolol, tissue type plasminogen activator, pressin and analogues (DDAVP, Lypressin); prostaglandins,
  TNFR:Fc: TNK-tRA; trandolapril; trimeterxate gluconate:          such as, PGA and derivatives thereof, PGE and derivatives
  trospectinomycin; trovafloxacin; tubocurarine chloride; 50 thereof, PGE and derivatives thereof, PGF and derivatives
  tumor necrosis factor; typhoid vaccine live; urea; urokinase; thereof, dinoprost trometamol; protease inhibitors, such as,
  Vancomycin; Valaciclovir, Varicella virus vaccine live; vaso citrate, or O-antitrypsin; sex-hormones, such as, ethiny
  pres sin and vasopessin derivatives; Vecoronium bromide; loestradiol, levonorgestrel, FSH. LH, LTH, estradiol-17-beta,
  Vinbiastin; Vincristine, Vinorelbine; warfarin-Sodium; yel norethindrone; sympathomimetics, such as, phenylephrine,
  low fever vaccine; Zalcitabine; Zanamavir, Zolandtronate; and 55 Xylometazoline, tramaZoline, dopamine, dobutamine; sleep
  Zidovudine.                                                      aids, such as granistron and ramelteon, tranquilizers, such as,
     Other therapeutic agents that can be administered in this brotizolam, camazepam, chloraZepic acid, cloxazolam,
  formulation may comprise adrenal hormones, corticosteroids delorazepam, estazolam, ethyl loflazepate, fludiazepam,
  and derivatives, such as, ACTH and analogs thereof, teracos flutazolam, halazepam, haloxazolam, ketazolam, lopra
  actrin, alsactide, cortisone, hydrocortisone alcohol, hydro 60 Zolam, lormetazepam, nimetazepam, nitrazepam, nordiaz
  cortisone acetate, hydrocortisone hemisuccinate, predniso epam, oxazepam, pinazepam, praZepam, temazepam, tet
  lone terbutate, 9-alpha-fluoroprednisolone, triamcinolone razepam, tofisopam; vaccines, such as, AIDS-vaccines,
  acetonide, dexamethasone phosphate, flurisolide, toxicorol parainfluenza virus, polio, rhinovirus type 13, respiratory
  pivalate; anorectics, such as, benzphetamine HCl chlorphen syncytial virus; vasoconstrictors. Such as, phenylephrine
  termine HCl; antibiotics, such as, tetracycline HCl, tyrothri 65 HCl, tetrahydrozoline HCl, naphazoline nitrate, oxymetazo
  cin, cephalosporine, aminoglycosides, Streptomycin, genta line HCl, tramazoline HCl; vasodilators, such as, papaverine
  mycin, leucomycin, penicillin and derivatives; anti-allergic HCl, Substance P. vasoactive intestinal peptide (VIP).
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                                 13                                                               14
     Certain exemplary formulations comprising alkoxy-poly tetrahydrofurfuryl alcohol PEG ether (glycofurol, available
  ethylene glycol also comprise one or more therapeutic agents commercially from BASF under the trade name Tetraglycol):
  selected from the group consisting of peptide drugs, such as,     Surfactants, such as, Sodium lauryl Sulfate, oleic acid, linoleic
  oxytocin, vasopression (desmopresin), insulin, calcitonin, acid, monoolein, lecithin, lysolecithin, deoxycholate, tauro
  elcatonin, cyanocobalmin B, and glucagon-like protein-1           deoxycholate, glycochenodeoxycholate, polyoxyethylene
  (GLP-1), and Small organic molecules, such as, dinoprSoone, X-lauryl ether, where X is from 9 to 20, sodium tauro-24.25
  misoprostol, apomorphine, fentanyl, metoclopramide, butor dihydrofusidate, polyoxyethylene ether, polyoxyethylene
  phanol, and midazolam                                             Sorbitan esters, p-t-octylphenoxypolyoxyethylene, N-lauryl
     C. Other Excipients                                            B-D-maltopyranoside, 1-dodecylazacycloheptane-2-aZone;
     It is understood that the compositions of the invention, in 10 amides. Such as, 2-pyrrolidone, 2-piperidone, caprolactam,
  addition to the alkoxy-polyethylene glycol and the therapeu N-alkylpyrrolidone, N-hydroxyalkylpyrrolidone, N-alkylpi
  tic agent, can comprise a number of other excipients known to peridone, N-alkylcaprolactam, dimethylacetamide, and poly
  those skilled in the art, including absorption promoters, buff vinylpyrrolidone; esters, such as, ethyl propionate, tributyl
  ering agents, water absorbing polymers, alcohols, lipids, citrate, acetyl triethylcitrate, acetyl tributyl citrate,
  osmotic pressure controlling agents, pH-controlling agents, 15 triethylcitrate, ethyl oleate, ethyl caprylate, ethylbutyrate,
  preservatives, propellants, Surfactants, enzyme inhibitors, triacetin, propylene glycol monoacetate, propylene glycol
  excipients for adjusting hydrophilic-lipophilic balance diacetate, caprolactone and isomers thereof, Valerolactone
  (HLB) and stabilizers.                                            and isomers thereof, B-butyrolactone and isomers thereof.
     Exemplary Surfactants, include, for example nonoxynol, and other solubilizers known in the art, such as dimethyl
  octoxynol, tweens, spans, sodium lauryl Sulfate, and Sorbitan acetamide, dimethyl isosorbide (Arlasolve DMI (ICI)),
  monopalmitate. Exemplary absorption promoters include, N-methyl pyrrolidones (Pharmasolve (ISP)), monooctanoin,
  for example, bile salts and derivatives thereof, fusidic acid and diethylene glycol monoethyl ether (available from Gat
  and derivatives thereof, oleic acid, lecithin, lysolechitins, tefosse under the trade name Transcutol).
  dodecanoyl phosphatidylcholine (DDPC), sucrose mon                   Preferred additional solubilizers include triacetin, triethyl
  ododecanoate, n-dodecyl-B-D-maltopyranoside, pectin, chi 25 citrate, ethyl oleate, ethyl caprylate, dimethylacetamide,
  tosan, Cl-, 3- and Y-cyclodextrins and derivatives thereof, N-methylpyrrolidone, N-hydroxyethylpyrrolidone, polyvi
  pegylated caprylic-/capric glycerides and derivatives thereof, nylpyrrolidone, hydroxypropyl methylcellulose, hydrox
  Such as, Softigen and Labrasol. Exemplary water absorbing ypropyl cyclodextrins, ethanol, polyethylene glycol 200
  polymers include, for example, polyethylene glycols having        1000, PEG 300, PEG 400, Transcutol, and dimethyl
  an average molecular weight ranging from 200 to 7500, pro 30 isosorbide, Sorbitol, glycerol, triacetin, glycofuroland propy
  pylene glycol, or mixtures thereof, or single ethylene glycols lene glycol. Typically, the Solubilizer, if present, is present in
  such as tetraethylene glycol and pentaethylene glycol. Exem an amount of from about 0.1% (w/v) to about 50% (w/v),
  plary alcohols include, for example, ethanol, isopropyl alco from about 1% (w/v) to about 40% (w/v) or from about 2%
  hol. Exemplary lipids include, for example, vegetable oil,        (w/v) to about 25% (w/v). In addition, the liquid pharmaceu
  Soyabean oil, peanut oil, coconut oil, maize oil, olive oil, 35 tical composition can comprise water, for example, from
  Sunflower oil, monoglycerides, diglycerides, mono/diglycer about 2% (v/v) to about 99% (v/v), from about 10% (v/v) to
  ides, mono/di?triglycerides. Exemplary osmotic pressure about 95% (v/v), or from about 20% (v/v) to about 90% (v/v),
  controlling agents include, for example, glycerol, dextrose, of the liquid composition.
  maltose, Sucrose, mannitol, Xylitol, various salts (for              As discussed, the composition can comprise a preservative.
  example, sodium chloride). Exemplary pH-controlling 40 In addition or in the alternative, the composition can be ster
  agents include, for example, buffers, acids (for example, ilized. Sterilization can be achieved by filter sterilization,
  nitric acid, phosphoric acid, or acetic acid). Exemplary pre autoclaving, exposure to ionizing radiation, for example,
  servatives include, for example, methyl paraoxybenzoate, gamma radiation, UV irradiation, and chemical sterilization.
  phenyl ethyl alcohol or benzoic acid. Exemplary propellants,      In one embodiment, the sterile composition has a sterility
  include, for example, butane or air displacement such as 45 assurance level of at least about 10. The resulting liquid
  nitrogen. Excipients adjusting the HLB of the formulation compositions preferably are stable at room temperature. Such
  include, for example, Tween 20, 25, 40, 45, 65, 85, Span that less than 5%, 4%, 3%, 2% or 1% by weight of the
  20-80, Brij 30-98, acacia. Exemplary enzyme inhibitors therapeutic agent degrades after storage for 30 days, or more
  include, for example aprotinin and other peptidase inhibitors, preferably 6 months, at 20° C.
  diisopropylfluorophosphate (DFP), carbopol. Exemplary sta 50 In addition, the formulations may also include a Sweetener
  bilizers include, for example, cyclodextrins.                     or flavoring agent. Exemplary Sweeteners or flavoring agents
     Although it is understood that the alkoxy-polyethylene include, for example, acacia syrup, acesulfame potassium,
  glycols described herein, for example, methoxy-polyethylene anethole, anise oil, aromatic elixir, aspartame, benzaldehyde,
  glycol, can solubilize poorly soluble therapeutic agents, benzaldehyde elixir, cyclodextrins, caraway, caraway oil, car
  under certain circumstances, it may be helpful to include 55 damom oil, cardamom seed, cardamom spirit, cardamom
  additional compounds that enhance the solubility of the thera tincture, cherry juice, cherry syrup, cinnamon, cinnamon oil,
  peutic agent. Examples of Such solubilizers include, for cinnamon water, citric acid, citric acid syrup, clove oil, cocoa,
  example, alcohols and polyols, such as ethanol, isopropanol, cocoa syrup, coriander oil, dextrose, eriodictyon, eriodictyon
  butanol, benzyl alcohol, ethylene glycol, propylene glycol, fluid extract, eriodictyon syrup, aromatic, ethylacetate, ethyl
  butanediols and isomers thereof, glycerol, pentaerythritol, 60 Vanillin, fennel oil, ginger, ginger fluid extract, ginger oleo
  Sorbitol, mannitol, transcutol, dimethyl isosorbide, polyeth resin, glucose, Sugar, maltodextrin, glycerin, glycyrrhiza,
  ylene glycol, polypropylene glycol, pegylated-mono/di-ca glycyrrhiza elixir, glycyrrhiza extract, glycyrrhiza extract
  prylic/capric glycerides, polyvinylalcohol, hydroxypropyl pure, glycyrrhiza fluid extract, glycyrrhiza syrup, honey, iso
  methylcellulose and other cellulose derivatives, cyclodex alcoholic elixir, lavender oil, lemon oil, lemon tincture, mal
  trins (for example, Cl-, 3-, or Y-cyclodextrins) and cyclodex 65 todextrin, maltose, mannitol, methyl salicylate, menthol, nut
  trin derivatives; ethers of polyethylene glycols having an meg oil, orange bitter, elixir, orange bitter, oil, orange flower
  average molecular weight of about 200 to about 6000 or oil, orange flower water, orange oil, orange peel, bitter,
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                                  15                                                                  16
  orange peel Sweet, tincture, orange spirit, orange syrup, pep delivering a therapeutic agent to the mucosa of the nose,
  permint, peppermint oil, peppermint spirit, peppermint water, mouth (buccal, gingual, Sublingual or to the hard palate), or
  phenylethyl alcohol, raspberry juice, raspberry syrup, rose the vagina.
  mary oil, rose oil, rose water, saccharin, saccharin calcium,           It is understand that the compositions of the invention are
  saccharin Sodium, Sarsaparilla syrup, Sarsaparilla compound, particularly useful in the intranasal delivery of a therapeutic
  Sorbitol Solution, spearmint, spearmint oil. Sucrose, Sucral agent. When the composition is applied to the nasal mucosa,
  ose, syrup, thyme oil, tolu balsam, tolu balsam syrup, winter the Volume of the pharmaceutical composition applied typi
  green oil, Vanilla, Vanilla tincture, Vanillin, wild cherry syrup, cally is in the range of 1-1000 uL, preferably not more than
  xylitol, or combinations thereof.                                    700 uL, more preferably 50-150 uL per nostril, and most
     In addition, the formulations optionally can contain a taste 10 preferably
                                                                          It is
                                                                                    about 100 uL/nostril.
                                                                                understood  that when administered intranasally, the
  masking agents. Exemplary masking agents include, for compositions are delivered
  example, cyclodextrins, cyclodextrin emulsions, cyclodex plume of spray droplets thatviacontact       a spray device that produces a
                                                                                                               the nasal mucosa. It is
  trin particles, cyclodextrin complexes, or combinations contemplated that the compositions can                    be delivered using
  thereof.                                                          15 commercially available spray devices available from, for
     The foregoing list of excipients and additives is by no example, Pfeiffer of America, Princeton, N.J.; Valois of
  means complete, and it is understood that a person of ordinary America, Inc., Greenwich, Conn.; or Becton Dickinson,
  skill in the art can choose other excipients and additives from Franklin Lakes, N.J. Furthermore, these devices are easily
  the GRAS (generally regarding as safe) list of chemicals used operable by the patient or care giver, and leave little or no
  in pharmaceutical preparations and those that are currently residual formulation in the device after use.
  allowed in topical and parenteral formulations.                         Such devices can be filled with single or multi-dose
     Exemplary liquid compositions of the invention contain, amounts of the desired formulation. The container holding
  for example, the active ingredient (for example, midazolam), the pharmaceutical composition and its sealing means are
  40% (v/v) to 70% (v/v) methoxy-polyethylene glycol (for sterilizable. At least the parts of the device that are in contact
  example, mPEG 350), 0% (v/v) to 20% (vlv) polyethylene 25 with the pharmaceutical composition should be constructed
  glycol (for example, PEG 400), 0% (v/v) to 10% (v/v) pro and assembled in a configuration that can be sterilized. Exem
  pylene glycol, and 0% (v/v) to 5% (vlv) ethanol. Other exem plary delivery devices with one or more unit-dose(s) are
  plary liquid compositions of the invention contain, for described, for example, in U.S. Pat. Nos, 4,946,069; 5,307,
  example, the active ingredient dissolved in 50% (v/v) to 70% 953; 6,948,492; and 6,446,839. Individual devices can be
  (v/v) mPEG 350, 1% (v/v) to 4% (v/v) propylene glycol, and 30 packaged, sterilized and shipped; alternatively, entire ship
  1% (v/v) to 4% (v/v) ethanol.                                        ping and storage packages can be sterilized at once, and the
     It is understood that the choice and amounts of each of the       devices removed individually for dispensing, without affect
  therapeutic agents, alkoxy-polyethyline glycol and other ing the sterility of the remaining units.
  excipients combined to produce the compositions of the                  The mucosal epithelium in the nasal cavity is covered with
  invention will depend upon the ultimate use of the composi 35 many hair-like cilia that provide an important defense mecha
  tion, and the intended therapy and mode of administration. nism against inhaled dust, allergens and microorganisms. The
  When the liquid compositions ultimately are administered to          normal half-time for non-absorbed substances administered
  a patient, the amount of a given excipient, unless the circum to the nasal cavity is about 15 minutes due to the mucociliary
  stances dictate otherwise, preferably is limited to a bioaccept clearance removing foreign particles and excess mucus
  able amount, which is readily determined by one of skill in the 40 toward the pharynx. For this reason it is preferred that the
  art. Furthermore, it is understood that the liquid compositions absorption occurs rapidly and preferably within 0.5 to 20
  of the invention can be formulated using techniques known to         minutes. However, in the current invention due to bioadhesive
  those skilled in the art. A thorough discussion of formulations properties of the invention, the preferred absorption may
  and the selection of pharmaceutically acceptable carriers, occur within 0.5 to 300 minutes (e.g., for vaccines and bio
  stabilizers, etc. can be found, for example, in Remington's 45 logicals), preferably between 0.5 to 60 minutes (e.g., for large
  Pharmaceutical Sciences (18" Ed.), Mack Publishing Com molecules) and more preferably between 0.5 and 20 minutes,
  pany, Eaton, Pa.                                                     for example, within 2, 3, 4, 5, 10, 15 or 20 minutes post
     Although the therapeutic agent and the alkoxy-polyethyl administration. The composition can be formulated so that
  ene glycol are combined in the liquid formulations of the upon administration to a Subject, for example, via intranasal
  invention, they are not covalently linked to one another. In 50 administration to the Subject, the therapeutic agent has a peak
  certain embodiments, the liquid formulations of the invention concentration (T,) in the blood of the subject within 30, 25,
  are free or are substantially free of chitosan. In certain 20, 15, 108, 5, 3 or 2 minutes after administration of the
  embodiments, the compositions of the invention may be pre therapeutic agent.
  pared in a powder form.                                                 In addition to administration to humans, the compositions
  II Modes of Administration and Pharmacokinetics                   55 of the invention can be used to deliver the therapeutic agent to
     The compositions of the invention are particularly useful in an animal, for example: pets, for example, dogs, cats, rabbits,
  delivering one or more therapeutic agents to a mucosal mem and guinea pigs; and farm animals, for example, horses,
  brane or the skin of a mammal, for example, a human. The sheep, pigs, cattle, and chickens.
  mucosal membrane to which the pharmaceutical preparation                Throughout the description, where compositions are
  of the invention is administered may be any mucosal mem 60 described as having, including, or comprising specific com
  brane of the mammal to which the therapeutic agent is to be ponents, it is contemplated that compositions also consist
  applied, for example, the nose (for example, via a nasal mem essentially of or consist of the recited components. Simi
  brane), vagina, eye (for example, via an ocular membrane), larly, where processes are described as having, including, or
  ear (for example, via a tympanic membrane), mouth (for comprising specific process steps, the processes also consist
  example, via the buccal membrane), lungs (for example, via 65 essentially of, or consist of the recited processing steps.
  the pulmonal membrane), or rectum (for example, via the Except where indicated otherwise, the order of steps or order
  rectal membrane). The compositions are particularly useful in for performing certain actions are immaterial so long as the
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                               17                                                                                  18
  invention remains operable. Moreover, unless otherwise                                                        TABLE 1
  noted, two or more steps or actions may be conducted simul
  taneously.                                                                           Test Formulation 1 Containing 50 mg/mL Midazolam base

                             EXAMPLES                                                                                          Percent of Final
                                                                                             Component                               (% viv)
     The invention is explained in more detail with reference to                               PEG 350                                 47
  the following Examples, which are to be considered as illus                                 PEG 400                                  18
  trative and not to be construed so as to limit the scope of the 10                      Propylene Glycol                                 5
                                                                                               Ethanol                                  7
  invention as set forth in the appended claims.                                                Water                                  21
                             Example 1
         Exemplary LoraZapam Containing Formulation                       15
                                                                                                                TABLE 2

     In this Example, 10 mg lorazepam is dissolved in 2 mL of                          Test Formulation 2 Containing 50 mg/mL Midazolam base
  mPEG 350 using ultrasound to obtain a solution containing 5                                                                  Percent of Final
  mg/mL of lorazepam. 50 LL of the resulting composition is                                  Component                               (% viv)
  administered into each nasal cavity of male New Zealand                                      PEG 350                                47
  White rabbits held in a supine position during, and then one                                PEG 400                                 18
  minute after application. An Eppendorf pipette is used for                              Propylene Glycol                            10
  each application. After administration, blood samples then                               Polysorbate 80                              O.1
                                                                                                Water                                 22
  are harvested from a marginal ear vein at 0.2, 5, 10, 15.30 and
  60 minutes, and the lorazepam concentration determined by 25
  high performance liquid chromatography (HPLC). The phar
  macokinetics of lorazepam delivery via intranasal adminis                                                     TABLE 3
  tration can then be compared with the pharmacokinetics of                                  Control Containing 50 mg/mL Midazolam base
  lorazepam delivery by intravenous administration. It is con
  templated that the pharmacokinetics of the intranasally 30                                                                   Percent of Final
  administered lorazepam will be comparable to those of the                                   Component                              (% viv)
  intravenously administered lorazepam.                                                        PEG 400                                18
                                                                                           Propylene Glycol                           78
                               Example 2                                                Butylated hydoxytoluene                        O.O1
                                                                          35
         Exemplary Midazolam Containing Formulation                               Each of the test and control formulations contained 50
    In this Example, 10 mg of midazolam is dissolved in 2 mL mg/mLmL was
                                                                         midazolam. Once made, 5 mg of midazolam in 0.1
                                                                         delivered intranasally to the right nostril of each dog
  ofmPEG 350 using ultrasound to obtain a solution containing
  5 mg/mL midazolam. 50 uL of the resulting composition is 40 (3 dogs perset) for each formulation in a cross over manner.
  then administered into each nasal cavity of male New Zealand Blood was harvested from the dogs predose and at 0.03, 0.08,
  White rabbits, held in a supine position during, and then one 0.16, 0.25, 0.5,0.75, 1, 2, and 4 hours after administration,
  minute after application. After administration, blood samples and the concentration of midazolam in the blood measured by
  then are harvested from a marginal ear vein at 0, 2, 5, 10, 15, HPLC. The pharmacokinetic properties are summarized in
  30 and 60 minutes, and the midazolam concentration deter 45 Table 4.
  mined by HPLC. The pharmacokinetics of midazolam deliv
  ery via intranasal administration can then be compared with                                                   TABLE 4
  the pharmacokinetics of midazolam delivery by intravenous
  administration. It is contemplated that the pharmacokinetics                                          Pharmacokinetic Properties
  of the intranasally administered midazolam will be compa 50                                                      Cmax         AUC,         AUC
  rable to those of the intravenously administered midazolam.  Formulation                         Tax (hr)       (ng/mL)     (hr * ng/mL) (hr * ng/mL)
                                                               Test                               O.11 - O.OS 222O      289     SO694             SO895
                            Example 3                          Formulation 1
                                                                             Test                 O.05 - O.O3    1880 - 682     399     75     403   76
           Pharmacokinetics of Exemplary Midazolam                        55 Formulation 2
                             Formulations                                    Control              O.O7    O.O3 23SO     796     SO672             SO971
                                                                             Formulation

     This Example describes a variety of formulations contain InTable 4. Cmax refer to the maximum plasma concentration, Trefers to the time to reach
  ing methoxy-polyethylene glycol that demonstrate compa measurableC, AUC refers to area under the concentration curve from time zero to the last
                                                                            plasma concentration, and AUCNF refers to the area under the concentration
  rable pharmacokinetic properties to a control formulation 60 curve from time zero to infinity,
  containing polyethylene glycol and propylene. hiaddition to
  having comparable pharmacokinetic properties, the meth              The results demonstrate that the test formulations, when
  oxy-polyethylene glycol formulations had a lower viscosity administered intranasally to the dogs, produced comparable
  than the control formulation.                                    pharmacokinetics to the control formulation. The test formu
     Table 1 lists the composition of a first test formulation, 65 lations, however, had a lower viscosity than the control for
  Table 2 lists the composition of a second test formulation, and mulations. Lower viscosity correlates with better spray pat
  Table 3 lists the composition of a control formulation.          tern characteristics.
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                                 19                                                                  20
                              Example 4                                   additional organic phase was added. The remaining 35% of
                                                                          the mPEG 350 was mixed with water, and the diluted mPEG
     Additional Exemplary Methoxy-Polyethylene Glycol             350 then was gradually added with mixing to the midazolam
                  Containing Formulations                         Solution until a clear Solution was produced. The Viscosity of
                                                                  the resulting formulations and spray patterns were tested.
    This example describes the benefit of incorporating meth        The viscosity of the resulting formulations was tested at
  oxy-polyethylene glycol into certain intranasal formulations. 25°C. using a viscometer (Brookfield DV-II PRO). The vis
  Table 5 describes a formulation containing methoxy-polyeth cosity of the control formulation without methoxy-polyeth
  ylene glycol and PEG 400, Table 6 describes a formulation ylene glycol (Table 8) was found to be about 42 cp, whereas
  containing methoxy-polyethylene glycol without PEG 400, 10 the viscosity of the test formulation of Table 5 was found to be
  Table 7 describes a formulation containing methoxy-polyeth about 30 cp and the viscosity of the test formulation of Table
  ylene glycol without PEG 400 (with reduced ethanol), and 6 was found to be about 23 cF. The reduced viscosity of the
  Table 8 describes a control formulation containing PEG 400 test formulations relative to the control formulation permitted
  but no methoxy-polyethylene glycol.                             the creation of more reproducible spray patterns.
                                                               15   The spray patterns produced by the two test formulations of
                            TABLE 5                               Tables 5 and 6 were tested using a Proveris spray view instru
                                                                  ment. The resulting parameters of the resulting spray patterns
           Component           Viscosity (cP)      % (w.fw)       were found to be more reproducible as the viscosity of the
         Propylene glycol                40                 5             formulation decreased.
             PEG 400
              PEG 350
                                         8O
                                         29
                                                           18
                                                           47
                                                                           In addition, 100 uL of placebo formulations (no mida
             Ethanol                                        6
                                                                        Zolam) corresponding to the formulations set forth in Tables
              Water                        1               18           7 and 8 were administered intranasally to three healthy test
            Midazolam                                       7           Subjects using a commercially available spray device from
                                                                        Pfeiffer. The placebo formulation corresponding to Table 7
                                                                     25 containing methoxy-polyethylene glycol had a less notice

                               TABLE 6
                                                                        able taste relative to the placebo formulation corresponding to
                                                                          Table 8.
            Component               Viscosity (cP)      % (w.fw)            These collective results demonstrate that mPEG 350 is a
                                                                          Suitable excipient for nasal administration, for example, with
         Propylene glycol                40                 2        30   midazolam.
              PEG 350                    29                64
             Ethanol                                        5                                       Example 5
              Water                        1               23
            Midazolam                                       7
                                                                                 Sprayability of Methoxy-Polyethylene Glycol
                                                                     35
                                                                                           Containing Formulations
                               TABLE 7                                    This Example demonstrates that methoxy-polyethylene
                           75 mg          50 mg          25 mg
                                                                       glycol-based   formulations produce Superior spray flumes
                       Midazolam dose Midazolam dose Midazolam dose    relative to polyethylene   glycol. Solutions containing 100%
      Component           (% w/w)        (% w/w)        (% w/w)     40
                                                                       methoxy-polyethylene     glycol  350 (MPEG 350) from Sigma
      MPEG 350             64.8           64.8           64.8
                                                                       Aldrich  Chemie    GmbH     (St. Louis, Mo., USA) and 100%
    Propylene glycol        2.0            2.0            2.0          polyethylene glycol 300 (PEG 300) from Croda Chemicals
        Ethanol             2.5            2.5            2.5          Europe Ltd. (Goole, UK) were placed into Pfeiffer 20 mL
         Water             23.7           26.O           28.3          bottles (Pfeiffer 34473) and attached to certain pumps from
                                                                    45 Valois or Pfeiffer (see Table 8). Each spray device was placed
       Phenethyl            O.O2S          O.O2S          O.O2S
        Alcohol
      Midazolam             6.9            4.6            2.3          25 cm under a sheet of absorbent paper and the sprayability
                                                                       was measured as the diameter across of the paper wetted by
                                                                       the resulting spray. The results are summarized in Table 9.
                               TABLE 8                                                               TABLE 9
                                                                     50
        Control Formulation (Without Methoxy-polyethylene Glycol               Pump Type           Formulation    Spray diameter (cm)
                  Component            Viscosity (cP)      (% w/w)             Pfeiffer 71514      PEG 300        2.0-3.2 cm
                                                                               Pfeiffer 71514       PEG 350        22-26 cm
                   PEG 400                     89           19                 Valois VP6,100      PEG 300        5.0–7.5 cm
             Propylene Glycol                  40           76       55        Valois VP6,100       PEG 350        15-21 cm
         Butylated hydroxytoluene                            O.O1
                  Midazolam                                  5
                                                                            The results show that there is a clear difference in the
                                                                 sprayability of mPEG 350 compared with PEG 300. The
    The formulation of Table 5 was prepared by mixing the required
  propylene glycol, PEG 400, mPEG 350, and ethanol. The a clinically
                                                              60
                                                                          spray angle is not achieved using PEG 300, whereas
  midazolam was then added to the mixture, and then after the               relevant spray-angle can beachieved using mPEG
                                                                 350.
  midazolam had dissolved following mixing the water was
  added to the formulation. The formulations in Tables 6 and 7                      INCORPORATION BY REFERENCE
  were prepared as follows. The midazolam was weighed in a
  container and the ethanol was added to wet the active ingre 65 The entire disclosure of each of the patent documents and
  dient. After mixing, about 65% of the mPEG 350 was added,      scientific articles referred to herein is incorporated by refer
  and the resulting mixture mixed for 2 minutes. Thereafter, the ence for all purposes.
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                           21                                                                     22
                       EQUIVALENTS                                      3. The pharmaceutical composition of claim 1 further com
                                                                     prising water.
     The invention may be embodied in other specific forms              4. The pharmaceutical composition of claim 1, wherein the
  without departing from the spirit or essential characteristics methoxypolyethylene glycol comprises methoxy-polyethyl
  thereof. The foregoing embodiments are therefore to be con ene glycol 350.
  sidered in all respects illustrative rather than limiting on the      5. The pharmaceutical composition of claim 1, wherein the
  invention described herein. Scope of the invention is thus methoxypolyethylene glycol comprises methoxy-polyethyl
  indicated by the appended claims rather than by the foregoing ene glycol 550.
  description, and all changes that come within the meaning             6. The pharmaceutical composition of claim 1 further com
  and range of equivalency of the claims are intended to be 10 prising polyethylene glycol 200, 300 or 400.
  embraced therein.                                                     7. The pharmaceutical composition of claim 1 further com
     What is claimed is:                                             prising propylene glycol.
     1. A liquid pharmaceutical composition formulated for              8. The pharmaceutical composition of claim 1 wherein the
  intranasal administration comprising:                              midazolam    or pharmaceutically acceptable salt thereof com
     a) a therapeutically effective amount of a therapeutic agent 15 prises about 0.0001% (w/v) to about 50% (w/v) of the phar
        Selected from midazolam, a pharmaceutically accept maceutical            composition.
                                                                        9. The pharmaceutical composition of claim 8 wherein the
        able salt thereof or combinations thereof, and               midazolam or pharmaceutically acceptable salt thereof com
     b) a methoxy-polyethylene glycol of Formula I
                                                                     prises about 0.001% (w/v) to about 20% (w/v) of the phar
         HC O—(CH2CH2O), H                                      (I)  maceutical composition.
     wherein n is a number in the range of 2 to 12.                     10. The pharmaceutical composition of claim 1 wherein
     2. The pharmaceutical composition of claim 1 whereinn is        the therapeutic agent is midazolam.
  in the range of 3 to 10.                                                                   k  k   k   k  k
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                         EXHIBIT C
Case 1:25-cv-00382-UNA                           Document 1-1                    Filed 03/28/25               Page 32 of 61 PageID #: 51

                                                                                                        USOO9289432B2


  (12) United States Patent                                                           (10) Patent No.:                 US 9.289,432 B2
         Gizurarson                                                                   (45) Date of Patent:                     *Mar. 22, 2016
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  (72) Inventor: Sveinbjorn Gizurarson, Reykjavik (IS)                                  5,457,100 A       10, 1995 Daniel
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       continuation of application No. 12/016,724, filed on                      CA                2582374            4/2006
                                                                                 EP                O519351           12/1992
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          None
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                                                                                 The present invention provides a liquid pharmaceutical com
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         4,464,378 A        8, 1984 Hussain                                      ethylene glycol, for example, methoxy-polyethylene glycol,
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                                                        US 9,289,432 B2
                                 1.                                                               2
       METHODS AND COMPOSITIONS FOR THE                                ology in Intranasal Drug Administrations, in Chien, Y. W.
        DELIVERY OF ATHERAPEUTICAGENT                                  (Ed.) TRANSNASAL SYSTEMIC MEDICATIONS, FUNDAMENTALS,
                                                                       DEVELOPMENTAL CONCEPTS AND BIOMEDICAL ASSESSMENTS,
                  RELATED APPLICATIONS                                  ELSEVIER Science Publishers, Amsterdam, pp. 101-105). As a
                                                                        result, this hypothesis, if correct, may limit the delivery of
     This application is a continuation of U.S. patent applica certain therapeutic agents that are sparingly soluble in water.
  tion No. 13/446.284, filed Apr. 13, 2012, which is a continu             To facilitate delivery to the nasal cavity, an effective
  ation of U.S. patent application No. 12/016,724, filed Jan. 18, amount of the therapeutic agent should be dissolved in a small
  2008 and also claims the benefit of and priority to Icelandic volume, for example, less than about 1000 uL, preferably less
  Patent Application Serial No. 8593/2007, filed Jan. 19, 2007, 10 th. 300 uL, and more preferably less than 150 uL. Larger
  the entire disclosure of which is incorporated by reference Volumes drain out anteriorly through the nostrils or posteri
  herein for all purposes.                                              orly toward the pharynx where excess liquid is swallowed. As
                                                                        a result, if large Volumes are administered, a portion of the
                   FIELD OF THE INVENTION                               therapeutic agent can be lost from the absorption site, and it
                                                                     15 can be difficult if not impossible to reproducibly administer
     This invention relates generally to compositions for the the correct dose of the therapeutic agent.
  delivery of a therapeutic agent and to related methods, and              A variety of delivery systems have been developed for the
  more particularly relates to compositions containing one or nasal administration of therapeutic agents. Lau and Slattery
  more alkoxy-polyethylene glycols for the delivery of a thera studied the absorption characteristics of diazepam and
  peutic agent and to related methods.                                  lorazepam following their intranasal administration for the
                                                                        treatment of epilepticus (Lau, S.W. J. & Slattery, J.T. (1989),
                          BACKGROUND                                    Absorption of Diazepam and Lorazepam Following Intrana
                                                                        sal Administration, INT. J. PHARM., 54, 171-174). In order to
     The administration of atherapeutic agent by injection (e.g.,       solubilize the therapeutic agent, a non-ionic Surfactant—
  intravenous, intramuscular or Subcutaneous injection) typi 25 polyoxyethylated castor oil—was selected as the least irritat
  cally is regarded as the most convenient way of administra ing solvent of several solvents studied, including polyethyl
  tion when the purpose is to achieve a rapid and strong sys ene glycol 400 (PEG 400). Diazepam absorption was 84%
  temic effect, for example, within 3-10 minutes, when the and 72%, respectively, in two adults measured over a period
  agent is not absorbed by the gastrointestinal tract, or when the of 60 hours. However, the peak concentration was not
  agentis inactivated in the gastrointestinal tract or by first-pass 30 observed until 1.4 hours after the nasal administration and
  hepatic metabolism. However, administration by injection was only about 27% with reference to intravenous adminis
  presents a range of disadvantages. For example, sterile tration, suggesting that most of the absorption had taken place
  Syringes must be used and injections cannot be administered after the test Substance passed down to pharynx and Swal
  by untrained personnel. Furthermore, this mode of adminis lowed. Similar results were obtained for lorazepam but with
  tration may cause pain and/or irritation, especially in the case 35 an even longer time to peak (2.3 hours). The authors con
  of repeated injections at the same site.                              cluded that the intranasal route of administration had limited
     Mucosal administration, Such as, intranasal, buccal, Sub           potential for the acute treatment of epileptic seizures.
  lingual, rectal and pulmonal administration, is receiving par            Wilton et al. attempted to administer midazolam to 45
  ticular interest as it avoids many of the disadvantages of children to achieve pre-anesthetic sedation (Wilton et al.
  injecting a therapeutic agent while, at the same time, still 40 (1988) Preanaesthetic Sedation of Preschool Children. Using
  providing a strong and rapid systemic effect. In order to be an Intranasal Midazolam, ANESTHESIOLOGY, 69,972-975). How
  attractive alternative to injection, mucosal administration, for ever, the Volumes used were impractical and exceeded the
  example, intranasal administration, should neither cause sig maximal volume required for efficient administration. This
  nificant pain, discomfort or irritation nor cause any irrevers resulted in coughing and Sneezing with expulsion of at least
  ible damage to the mucosal Surface. However, in the case of 45 part of the dose.
  acute health threatening indications, a relatively high local            Morimoto et al. Studied a gel preparation for nasal appli
  irritation to the mucosa may be acceptable.                           cation in rats of nifedipine containing the gelling agent car
     In mucosal administration, such as during nasal, buccal or bopol (polyacrylic acid) in PEG 400, for achieving prolonged
  rectal administration, the therapeutic agent should be applied action and high bioavailability of the therapeutic agent
  to the mucosa in a vehicle that permits it to penetrate, or be 50 (Morimoto et al. (1987) Nasal Absorption of Nifedipine from
  absorbed through, the mucosa. In order to penetrate the Gel Preparations in Rats, CHEMICAL AND PHARMACEUTICAL BUL
  mucus, the vehicle should be biocompatible with mucus and LETINS, 35, No. 7,3041-3044). A mixture of equal amounts of
  hence have a certain degree of hydrophilicity. However, the carbopol and PEG 400 was preferred. It was shown that nasal
  vehicle should preferably also possess lipophilic properties to application provided higher bioavailability of nifedipine than
  dissolve a clinically relevant amount of the therapeutic agent 55 after peroral administration, but the peak plasma concentra
  of interest.                                                        tion was not observed until 30 minutes after administration.
     The extensive network of blood capillaries under the              Danish Patent Application No. 2586/87 discloses a phar
  mucosal Surface, especially in the nasal mucosa, is well Suited maceutical composition comprising an anti-inflammatory
  to provide a rapid and effective systemic absorption of drugs,    steroid, water, 2 to 10% (v/v) propylene glycol, 10 to 25%
  vaccines and biologicals. Moreover, the nasal epithelial mem 60 (v/v) PEG 400, and 1 to 4% (v/v) Tween 20.
  brane in effect contains a single layer of epithelial cells (pseu    U.S. Pat. No. 4,153,689 discloses a stable aqueous solution
  dostratified epithelium) and, therefore, is more suited for drug of insulin intended for intranasal administration. The solu
  administration than other mucosal Surfaces having squamous tions had a pH not more than 4.7, and contained from 0.1 to
  epithelial layers, such as, the mouth and vagina.                 20% by weight of a stabilizing agent including (a) one or
     It has been hypothesized that the usefulness of nasal 65 more non-ionic Surface active agents whose hydrophile-lipo
  administration can be limited if the therapeutic agent has phile balance value was in the range of 9 to 22, and/or (b)
  limited solubility in water (Proctor, D. F. (1985) Nasal Physi polyethylene glycol whose molecular weight was in the range
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  of from 200 to 7500. Exemplary non-ionic surface active              composition comprises a poorly soluble therapeutic agent
  agents included polyoxyethylene fatty acid ester, a polyoxy          and analkoxy-polyethylene glycol represented by Formula I:
  ethylene higher alcohol ether, a polyoxyethylene alkylphenyl              R-O-(CH2CH2O). H                                       (I)
  ether, or a polyoxyethylene alkylphenyl ether, or a polyoxy            wherein,
  ethylene hydrogenated castor oil.                                   R is (C-C)alkyl, and
    International Patent Publication No. DK-2075/90 dis               n, which is the average number of oxyethylene repeating
  closes the nasal administration of therapeutic agents, for units, is a number in the range of from about 1 to about 25.
  example, benzodiazepines, in compositions containing                In another aspect, the invention provides methods of deliv
  n-glycofurol, a derivative of polyethyleneglycol, for mucosal 10 ering a therapeutic agent of interest to a mammal, for
  administration. The application discloses the nasal adminis example, a human, using an alkoxy-polyethylene glycol con
  tration of therapeutic agents, for example, benzodiazepines, taining composition described herein. The composition is
  in formulations containing at least 30% n-ethyleneglycols particularly useful when the composition is applied to a
  ranging from 1-8 ethylene glycol, for example, polyethylene mucosal membrane, for example, a nasal membrane during
  glycol 200 (PEG 200).                                         15 intranasal drug delivery.
     U.S. Pat. No. 5,693,608 discloses a method of administer         These and other aspects and advantages of the invention
  ing a therapeutic agent via the nasal mucosa of a mammal, will become apparent upon consideration of the following
  where the agent is dissolved or Suspended in an n-ethyleneg detailed description and claims.
  lycol containing vehicle where the n-ethyleneglycol is repre         DETAILED DESCRIPTION OF THE INVENTION
  sented by the formula, H(OCH2CH2)OH, wherein p is a
  number from 1 to 8.
     Notwithstanding, there is still a need for compositions inclusion The invention is based, in part, upon the discovery that the
                                                                               of one or more alkoxy-polyethylene glycols into
  deliverable through mucosal membranes that produce thera formulations provides certain advantages over other excipi
  peutic plasma concentrations of the therapeutic agent as fast ents when the formulations are applied, for example, to a
  as or nearly as fast as by intravenous administration but with 25 mucosal Surface, For example, it has been discovered that
  out causing irritation and/or unacceptable damage to the when an alkoxy-polyethylene glycol is used in Such a formu
  mucosal membrane.                                                 lation, the therapeutic agent (for example, a poorly soluble
                                                                    therapeutic agent) can be solubilized more easily and in larger
               SUMMARY OF THE INVENTION                             amounts than when other excipients, for example, polyethyl
                                                                 30 ene glycol (more particularly PEG 400), are used. However,

     The invention is based, in part, upon the discovery that the the    resulting formulations are less viscous and cause less
  inclusion of one or more alkoxy-polyethylene glycols in a cous and toirritable
                                                                    irritation   mucosal membranes as the amount of other vis
                                                                                        excipients can be reduced or eliminated
  formulation provides certain advantages when the resulting altogether. As a result,
  composition is to be applied, for example, to a mucosal Sur 35 converted into droplets,theforlower  viscosity formulations, when
                                                                                                  example, by a nasal sprayer dur
  face. For example, it has been discovered that when alkoxy ing intranasal delivery, produce a spray pattern optimized for
  polyethylene glycol is used in Such formulations, the thera delivering the therapeutic agent to the mucosal membrane. In
  peutic agent can be still be solubilized (which is especially addition, formulations containing one or more alkoxy-poly
  useful for poorly soluble therapeutic agents) but the resulting ethylene glycols cause less irritation (for example, a burning
  formulations are less viscous and cause less irritation to 40 sensation) when applied to a mucosal Surface, for example, a
  mucosal membranes because the amount of other potentially nasal membrane during intranasal administration. In addi
  Viscous and irritable excipients, for example, polyethylene tion, when administered intranasally, the compositions of the
  glycol or propylene glucol, can be reduced or eliminated invention have less undesirable after taste (for example, a
  altogether. As a result, the lower viscosity formulations, when petroleum-like     after taste) than when other excipients, for
  converted into droplets, for example, by a nasal sprayer dur 45 example, propylene glycol, are used.
  ing intranasal delivery, can produce a spray pattern optimized       Under certain circumstances, the alkoxy-group also
  for delivering the therapeutic agent to the mucosal mem increases the bioadhesion of the composition to the site of
  brane. In addition, formulations containing alkoxy-polyeth administration on the mucosal Surface thereby prolonging the
  ylene glycols create less irritation (burning sensation) when duration of the composition at the site of administration. This
  applied to a mucosal Surface, for example, a nasal membrane 50 can     increase the amount of therapeutic agent that is ultimately
  following nasal administration. In addition, when adminis absorbed.
  tered intranasally, the compositions of the invention mini I-Formulations
  mize undesirable after taste (for example, a petroleum-like tical    In one aspect, the invention provides a liquid pharmaceu
                                                                           composition comprising a therapeutic agent and an
  after taste) that can be associated with certain other excipi alkoxy-polyethylene
  entS.                                                                                    glycol represented by Formula I:
                                                                  55
     In one aspect, the invention provides a liquid pharmaceu               R-O-(CH2CH2O). H                                       (I)
  tical composition comprising a therapeutic agent and an                wherein,
  alkoxy-polyethylene glycol represented by Formula I:                   R is methyl, ethyl, n-propyl, isopropyl, or cyclopropyl; and
                                                                         n is the average number of oxyethylene repeating units and
         R-O-(CH2CH2O). H                                      (I) 60 is a number in the range of from about 1 to about 25.
     wherein,                                                            In another aspect, the invention provides a liquid formula
     R is methyl, ethyl, n-propyl, isopropyl, or cyclopropyl; and tion for Solubilizing a poorly soluble therapeutic agent. The
     n, which is the average number of oxyethylene repeating liquid pharmaceutical composition comprises a poorly
  units, is a number in the range of from about 1 to about 25.        soluble therapeutic agent, for example, a poorly soluble
     In another aspect, the invention provides a liquid formula 65 organic therapeutic agent, and an alkoxy-polyethylene glycol
  tion for solubilizing a poorly soluble therapeutic agent, for represented by Formula I:
  example, a poorly soluble organic therapeutic agent. The                   R-O-(CH2CH2O). H                                      (I)
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    wherein,                                                           sprays that have more uniform spray characteristics (for
     R is (C-C)alkyl; and                                              example, more uniform droplet sizes and/or plume geom
     n is the average number of oxyethylene repeating units and        etries) for the intranasal administration of therapeutic agent.
  is a number in the range of from about 1 to about 25. The            The resulting pharmaceutical composition at a temperature of
  formulations typically are in liquid format 20°C., 25°C., 30°        20° C. has a viscosity in the range of about 1.5 cF to about 60
  C., 35° C., or 40° C. Certain formulations preferably are cP, or from about 2 cP to about 50 cP, or from about 3 cF to
  liquid formulations at 37° C.                                      about 40 cB, or from about 4 cp to about 30 cp, or from about
     The term “poorly soluble therapeutic agent” refers to a 5 cF          to about 25 cF.
                                                                        Exemplary alkoxy-polyethylene glycols, therapeutic
  compound having biological activity and a solubility in water 10 agents,    and other excipients useful in creating compositions
  of less than about 1 mg/mL at pH 7 and 20°C. In certain of the invention              are described in the following sections.
  embodiments, the poorly soluble therapeutic agent is an               A. Alkoxy-Polyethylene Glycol
  organic compound that has a molecular weight of less than             Useful alkoxy-polyethylene glycol excipients useful in the
  1500 g/mol, and preferably less than 500 g/mol. In certain practice          of the invention are represented by Formula (I):
  embodiments, the poorly soluble therapeutic agent is a com
  pound, for example, an organic compound, having an aque 15                R-O-(CH2CH2O). H                                         (I)
  ous solubility of less than about 0.5 mg/mL, less than about          wherein,   n, as the average number   of oxyethylene   repeat
  0.3 mg/mL, or less than about 0.1 mg/mL, at pH 7 and 20°C.
     In addition, the term “alkyl is art-recognized, and includes ing units, is a number in the range of from about 1 to about 25.
  saturated aliphatic groups, including straight-chain alkyl Accordingly, in can be a number about 1, 2, 3, 4, 5, 6, 7, 8, 9.
  groups, branched-chain alkyl groups, cycloalkyl (alicyclic)        10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, or 25.
  groups, alkyl Substituted cycloalkyl groups, and cycloalkyl In certain embodiments, n is an number in the range of from
  substituted alkyl groups. The term “(C-C)alkyl refers to an about 2 to about 15, or from about 2 to about 14, or from about
  alkyl group having between 1 and 6 carbon atoms. Represen 2 to about 13, or from about 2 to about 12, or from about 2 to
  tative alkyl groups include methyl, ethyl, n-propyl, isopropyl. 25 about 11, or from about 2 to about 10, or from about 3 to about
  n-butyl, Sec-butyl, isobutyl, tert-butyl, pentyl, hexyl, cyclo     15, or from about 3 to about 14, or from about 3 to about 13,
  propyl, cyclobutyl, cyclopropylmethylene, cyclopentyl, from        or from about 3 to about 12, or from about 3 to about 11, or
  cyclobutylmethylene, cyclobutylethylene, cyclohexyl, cyclo               about 3 to about 10.
  propylpropylene, cyclobutylethylene, and cyclopentylmeth              In certain embodiments, R is (C-C)alkyl. For example, as
  ylene. The term cyclopropylmethylene, for example, is art 30 discussed         above, R can be methyl, ethyl, n-propyl, isopropyl.
  recognized and refers to a radical having the following n-butyl,             Sec-butyl, isobutyl, tent-butyl, pentyl, hexyl, cyclo
                                                                     propyl, cyclobutyl, cyclopropylmethylene, cyclopentyl,
  formula:
                                                                     cyclobutylmethylene, cyclobutylethylene, cyclohexyl, cyclo
                                                                     propylpropylene, cyclobutylethylene, or cyclopentylmethyl
                                                                     ene. In certain embodiments, R is selected from the group
       "ky                                                        35 consisting of methyl, ethyl, n-propyl, isopropyl, and cyclo
                                                                     propyl.
                                                                        In a preferred embodiment, the alkoxy-polyethylene gly
                                                                     col is methoxy-polyethylene glycol where R is methyl and in
     In certain embodiments, the alkoxy-polyethylene glycol is an number from about 1 to about 25, or from about 2 to
  can comprise from about 0.1% (v/v) to about 80% (v/v), or 40 about 12, or from about 3 to about 10.
  from about 0.5% (v/v) to about 70% (v/v), of the composition.         Useful methoxy-polyetbylene glycols include, for
  In certain other embodiments, the alkoxy-polyethylene gly example, methoxy-diethyleneglyol (m2EG), methoxy-trieth
  col can comprise from about 5% (v/v) to about 80% (v/v), or ylene glycol (m3EG), methoxy-tetraethylene glycol (mAEG),
  from about 30% (v/v) to about 75% (v/v) or from abou, 40% methoxy-pentaethylene glycol (mSEG), methoxy-hexaethyl
  (vlv) to about 70% (v/v), of the composition. For certain 45 ene glycol (m6EG), methoxy-heptaethylene glycol (m7EG),
  hydrophilic drugs, the alkoxy-polyethylene glycol can com methoxy-octaethylene glycol (m8EG), methoxy-nonaethyl
  prise from about 0.1% (v/v) to about 80% (v/v), or from about ene glycol (m9EG), methoxy-decaethylene glycol (m1 OEG),
  0.5% (v/v) to about 70% (vlv), or from about 1% (vlv) to methoxy-undecaethylene glycol (ml lEG), methoxy-dodeca
  about 60% of the composition. For certain lipophilic drugs, ethylene glycol (m12EG), methoxy-tridecaethylene glycol
  the alkoxy-polyethylene glycol can comprise from about 1% 50 (m13EG) and methoxy-tetradecaethylene glycol (m14EG).
  (v/v) to about 80% (v/v), or from about 2%(v/v) to about 65% The ethylene glycols may be used in the form of the single
  (v/v), or from about 5% (v/v) to about 50% of the composi compounds or as a mixture of two or more methoxy-n-ethyl
  tion. Furthermore, the therapeutic agent can comprise from ene glycols.
  about 0.001% (w/v) to about 20% (w/v) of the composition,             In certain embodiments, the alkoxy-polyethylene glycol is
  or from about 0.1% (w/v) to about 10% (w/v) of the compo 55 methoxy-polyethylene glycol 350 (mPEG 350) or is meth
  sition.                                                            oxy-polyethylene glycol 550 (mPEG 550) or is methoxy
     The pharmaceutical composition can have a pH in the polyethylene glycol 750 (mPEG 750). The term “mPEG 350
  range of from about 4.5 to about 8.5, or from about 4.5 to is understood to mean methoxy polyethylene glycol having
  about 7.5, or from about 4.5 to about 6.5, or from about 5.5 to    an average molecular weight of about 350, and in certain
  about 8.5, or from about 6.5 to about 8.5, or from about 5.5 to 60 embodiments “n” as denoted in Formula I, is 7.2. The term
  about 7.5.                                                        “mPEG550' is understood to mean methoxy polyethylene
     As discussed, one of the advantages of using an alkoxy glycol having an average molecular weight of about 550, and
  polyethylene glycol is that it can be used in place of or can be in certain embodiments “n” as denoted in Formula I, is 11.8.
  used to reduce the amount of other excipients, for example, The term “mPEG750' is understood to mean methoxy poly
  certain polyethylene glycols and propylrnr glycol, so as to 65 ethylene glycol having an average molecular weight of about
  reduce the Viscosity of the resulting formulation. By reducing 750, and in certain embodiments “n” as denoted in Formula
  the viscosity of the resulting formation it is possible to create I, is 16.3.
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    Certain, preferred alkoxy-polyethylene glycols include            late, capsaicin, celecoxib, diclofenac, diflunisal, etodolac,
  CarbowaxTM mPEG 350, CarbowaxTM mPEG 550 or Carbo                   fenbufen, fenoprofen calcium, flurbiprofen, ibuprofen,
  waxTM mPEG 750, which are available commercially from indomethacin, ketoprofen, ketorolac, leflunomide, meclofe
  Dow Chemical Company. Both mPEG350 and mPEG550 are namic acid, mefenamic acid, nabumetone, naproxen,
  colorless liquids that are miscible with water, alcohols, such oxaprozin, oxyphenbutaZone, phenylbutaZone, piroxicam,
  as methanol, ethanol, n-propanol, glycerol and various oils in refocoxib, Sulindac, tetrahydrocannabinol, tramadol and
  all proportions, and have a boiling point about 155° C. It is tromethamine; (2) anti-arrhythmic agents, such as, amio
  understood that alkoxy-polyethylene glycols are known by darone HCl, disopyramide, flecainide acetate and quinidine
  other names, where, for example, methoxy-polyethylene gly Sulfate; (3) anti-asthma agents, such as, Zileuton, Zafirlukast,
  col is also known as mono-methyl polyethylene glycol and 10 montelukast, and albuterol; (4) anti-bacterial agents, such as,
  poly(ethylene glycol) methyl ether.                                 baclofen, benZathine penicillin, cinoxacin, clarithromycin,
     By using one or more of the alkoxy-polyethylene glycols clofazimine, cloxacillin, demeclocycline, dirithromycin,
  described herein, the resulting pharmaceutical compositions doxycycline, erythromycin, ethionamide, furazolidone, gre
  can be optimized, for example, with respect to bioadhesion, pafloxacin, imipenem, levofloxacin, lorefloxacin, moxifloxa
  viscosity and sprayability. For example, mPEG 350, at an 15 cin HCl, nalidixic acid, nitrofurantoin, norfloxacin, ofloxa
  equivalent concentration as PEG 200, can still solubilize a cin, rifampicin, rifabutine, rifapentine, sparfloxacin,
  therapeutic agent but the resulting composition has a lower spiramycin, Sulphabenzamide, Sulphadoxine, Sulphamera
  Viscosity. As a result, this Substitution has a Surprisingly posi Zine, Sulphacetamide, Sulphadiazine, Sulphafurazole, Sulpha
  tive effect on the sprayability compared with lower molecular methoxazole, Sulphapyridine, tetracycline, trimethoprimand
  weight PEG 200, which is important where the formulation is trovafloxacin; (5) anti-viral agents, such as, abacavir,
  to be sprayed.                                                      amprenavir, delavirdine, efavirenz, indinavir, lamivudine,
     B. Therapeutic Agent                                             nelfinavir, nevirapine, ritonavir, saquinavir, and stavudine;
     The pharmaceutical composition of the invention may (6) anti-coagulants, such as, ciloStaZol, clopidogrel, dicuma
  comprise one or more therapeutic agents (also referred to as rol, dipyridamole, nicoumalone, oprelvekin, phenindione,
  biologically active Substances) selected from the group con 25 ticlopidine, and tirofiban; (7) anti-depressants, such as amox
  sisting of hydrophobic therapeutic agents, hydrophilic thera apine, bupropion, citalopram, clomipramine, maprotiline
  peutic agents, and combinations thereof.                            HCl, mianserin HCl, nortriptyline HCl, paroxetine HCl, ser
     The alkoxy-polyethylene glycol excipients are surpris traline HCl, trazodone HCl, trimipramine maleate, and ven
  ingly capable of solubilizing and delivering a wide variety of lafaxine HCl; (8) anti-diabetics, such as, acetohexamide,
  hydrophilic and hydrophobic therapeutic agents. The hydro 30 chlorpropamide, glibenclamide, gliclazide, glipizide, glime
  phobic drugs have little or no water solubility. It is understood piride, miglitol, pioglitaZone, repaglinide, rosiglitaZone,
  that the excipients described herein can be used to solubilize tolazamide, tolbutamide and troglitazone; (9) anti-epileptics,
  therapeutic agents that have a solubility in water of less than Such as, beclamide, carbamazepine, clonazepam, ethotoin,
  about 1.0 mg/mL, less than about 0.5 mg/mL, less than about felbamate, fosphenytoin Sodium, lamotrigine, methoin,
  0.3 mg/mL, or less than about 0.1 mg/mL, or less than about 35 methSuximide, methylphenobarbitone, Oxcarbazepine,
  0.01 mg/mL, at pH 7 and 20° C. Such therapeutic agents can paramethadione, phenacemide, phenobarbitone, phenytoin,
  be any agents having therapeutic or other value when admin phensuximide, primidone, Sulthiame, tiagabine HCl, topira
  istered to a mammal, for example, a human, and can include mate, valproic acid, and vigabatrin; (10) anti-fungal agents,
  organic molecules (for example, Small molecule drugs having Such as, amphotericin, butenafine HCl, butoconazole nitrate,
  a molecular weight of less than 1,500 g/mol., or less than 500 40 clotrimazole, econazole nitrate, fluconazole, flucytosine,
  g/mol.), proteins, peptides, immungens (e.g. Vaccines, cytok griseofulvin, itraconazole, ketoconazole, miconazole, nata
  ines, etc.), nutrients, and cosmetics (cosmeceuticals).             mycin, nystatin, Sulconazole nitrate, oxiconazole, terbinafine
     In certain embodiments, the therapeutic agent is an anal HCl, terconazole, tioconazole and undecenoic acid; (11) anti
  gesic agent, an anti-inflammatory agent, an anti-arrhythmic hypertensive agents, such as, amlodipine, benidipine, ben
  agent, an anti-asthma agent, an anti-bacterial agent, an anti 45 eZepril, candesartan, captopril, darodipine, dilitazem HCI,
  viral agent, an anti-coagulant, an anti-depressant, an anti diazoxide, doxazosin HCl, elanapril, eposartan, losartan
  diabetic, an anti-epileptic, an anti-fungal agent, an anti-hy mesylate, felodipine, fenoldopam, fosenopril, guanabenz
  pertensive agent, an anti-malarial, an anti-migraine agent, an acetate, irbesartan, isradipine, lisinopril, minoxidil, nicar
  anti-muscarinic agent, an anti-neoplastic agent, an immuno dipine HCI, nifedipine, nimodipine, nisoldipine, phenoxy
  Suppressant, an anti-protozoal agent, an anti-thyroid agent, an 50 benzamine HCl, prazosin HCl, quinapril, reserpine, teraZosin
  anxiolytic agent, a sedative, a hypnotic agent, a neuroleptic HCl, telmisartan, and Valsartan; (12) anti-malarials, such as,
  agent, a beta-Blocker, a cardiac inotropic agent, a corticos amodiaquine, chloroquine, chlorproguanil HCl, halofantrine
  teroid, a diuretic agent, an anti-Parkinsonian agent, a gas HCl, mefloquine HCI, proguanil HCl, pyrimethamine and
  trointestinal agent, an anti-histamine, a histamine-receptor quinine Sulfate; (13) anti-migraine agents, such as, dihydro
  antagonist, a lipid regulating agent, a muscle relaxant, nitrate 55 ergotamine mesylate, ergotamine tartrate, froVatriptan,
  and other anti-anginal agent, a nutritional agent, an opioid methysergide maleate, naratriptan HCl, pizotyline malate,
  analgesic, sex hormone, stimulant, cytokine, peptidomi rizatriptanbenzoate, Sumatriptan Succinate, and Zolmitriptan;
  metic, peptide, protein, toxoid, Sera, antibody, vaccine,           (14) anti-muscarinic agents, such as, atropine, benzhexol
  nucleoside, nucleotide, nucleic acid and peptidyl-nucleic HCl, biperiden, ethopropazine HCl, hyoscyamine, oxyphen
  acid.                                                            60 cyclimine HCl and tropicamide; (15) anti-neoplastic agents
     Specific non-limiting examples of hydrophobic therapeu and immunosuppressants, such as, aminoglutethimide, amsa
  tic agents that can be used in the pharmaceutical composi crine, azathioprine, bicalutamide, bisantrene, buSulfan,
  tions of the present invention include the following represen camptothecin, chlorambucil, cyclosporin, dacarbazine, ellip
  tative compounds, as well as their pharmaceutically ticine, estramustine, etoposide, irinotecan, lomustine, mel
  acceptable salts, isomers, esters, ethers and other derivatives 65 phalan, mercaptopurine, mitomycin, mitotane, mitoxantrone,
  including, for example: (1) analgesics and anti-inflammatory mofetil mycophenolate, nilutamide, paclitaxel, procarbazine
  agents. Such as, aloxiprin, auranofin, azapropaZone, benory HCl, sirolimus, tacrolimus, tamoxifen citrate, teniposide, tes
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  tolactone, topotecan HCl, and toremifene citrate; (16) anti       roXine, methoXSalen, Verteporfirin, physostigmine, pyri
  protozoal agents, such as, atovaquone, benznidazole, clio         dostigmine, raloxifene HCl, sibutramine HCl, sildenafil
  quinol, decoquinate, diiodohydroxyquinoline, diloxanide           citrate, tacrine, tamsulosin HCl, and tolterodine.
  furoate, dinitolmide, furazolidone, metronidazole, nimora            Certain exemplary hydrophobic therapeutic agents include
  Zole, nitrofuraZone, ornidazole and tinidazole; (17) anti-thy sildenafil citrate, amlodipine, tramadol, celecoxib, rofecoxib,
  roid agents, such as, carbimazole, paracalcitol, and propylth oxaprozin, nabumetone, ibuprofen, terbenafine, itraconazole,
  iouracil; anti-tussives, such as, benzonatate; (18) anxiolytics, Zileuton, Zafirlukast, cisapride, fenofibrate, tizanidine, niza
  sedatives, hypnotics and neuroleptics, such as, alprazolam, tidine, fexofenadine, loratadine, famotidine, paricalcitol,
  amylobarbitone, barbitone, bentazepam, bromazepam, bro atovaquone, nabumetone, alprazolam, bromazepam, chlor
  mperidol, brotizolam, butobarbitone, carbromal, chlordiaz 10 promazine, clonazepam, diazepam, flunitrazepam, flu
  epoxide, chlormethiazole, chlorpromazine, chlorprothixene, razepam, haloperidol, lorazepam, lormetazepam, mida
  clonazepam, clobazam, clotiazepam, clozapine, diazepam, Zolam, nitrazepam, oxazepam, pseudoephedrine,
  droperidol, ethinamate, flunanisone, flunitrazepam, triflupro temazepam, triazolam, Zolpidem, Zopiclone, tetrahydrocan
  mazine, fluiphenthixol decanoate, fluiphenazine decanoate, nabinol, testosterone, megestrol acetate, repaglinide, proges
  flurazepam, gabapentin, haloperidol, lorazepam, 15 terone, rimexolone, cyclosporin, tacrolimus, Sirolimus,
  lormetazepam, medazepam, meprobamate, mesoridazine, tenipo side, paclitaxel, pseudoephedrine, troglitaZone,
  methaqualone, methylphenidate, midazolam, molindone, rosiglitaZone, finasteride, Vitamin A, vitamin D. Vitamin E,
  nitrazepam, olanzapine, oxazepam, pentobarbitone, per and pharmaceutically acceptable salts, isomers and deriva
  phenazine pimozide, prochlorperazine, pseudoephedrine, tives thereof. It should be appreciated that the listing of hydro
  quetiapine, rispiridone, sertindole, Sulpiride, temazepam, phobic therapeutic agents and their therapeutic classes is
  thioridazine, triazolam, Zolpidem, and Zopiclone; (19) beta merely illustrative. It is understood, that mixtures of hydro
  Blockers, such as, acebutolol, alprenolol, labetalol, meto phobic therapeutic agents may also be used where desired.
  prolol, nadolol, oXprenolol, pindolol and propranolol; (20)          An advantage of using alkoxy-polyethylene glycol as an
  cardiac inotropic agents, such as, amrinone, digitoxin, excipient in the pharmaceutical composition is that, for
  digoxin, enoXimone, lanatoside C and medigoxin; (21) a cor 25 example, highly lipophilic Substances, such as, lorazepam,
  ticosteroid, Such as, beclomethasone, betamethasone, budes        midazolam, clonazepam, alprazolam and other compounds
  onide, cortisone acetate, desoxymethasone, dexamethasone, belonging to the benzodiazepines, as well as water soluble
  fludrocortisone acetate, flunisolide, fluocortolone, flutica      Substances, for example, peptides and proteins. Such as, the
  Sone propionate, hydrocortisone, methylprednisolone, pred pancreatic hormones can be solubilized in a clinically rel
  nisolone, prednisone and triamcinolone; (22) diuretics. Such 30 evant volume (for example, 25-300 LL) for delivery to a
  as, acetazolamide, amiloride, bendroflumethiazide, bumet          human Subject. By way of comparison, clinically relevant
  anide, chlorothiazide, chlorthalidone, ethacrynic acid, doses of midazolam, lorazepam, alprazolam, diazepam and
  frusemide, metolaZone, spironolactone and triamterene; (23) clonazepam would have to be dissolved in at least 5 mL of
  anti-Parkinsonian agents, such as, bromocriptine mesylate, Water.
  ly Suride maleate, pramipexole, ropinirole HCl, and tolca 35 Although the alkoxy-polyethylene glycol excipients are
  pone; (24) gastrointestinal agents, such as bisacodyl, cimeti particularly useful for the delivery of hydrophobic agents,
  dine, cisapride, diphenoxylate HCl, domperidone, famoti alkoxy-polyethylene glycol can also be used to deliver a
  dine, lanSoprazole, loperamide, mesalazine, nizatidine, variety of hydrophilic therapeutic agents. Alkoxy-polyethyl
  omeprazole, ondansetron HCl, rabeprazole sodium, raniti ene glycols, under certain circumstances, may prolong the
  dine HCl and SulphaSalazine; (25) anti-histamines and hista 40 duration of the therapeutic agent at the absorption site thereby
  mine-receptor antagonists, such as, acrivastine, astemizole, increasing the amount of agent ultimately delivered. Exem
  chlorpheniramine, cinnarizine, cetrizine, clemastine fuma plary hydrophilic therapeutic agents include hydrophilic
  rate, cyclizine, cyproheptadine HCl, dexchlorpheniramine, drugs (i.e., conventional non-peptidic drugs), hydrophilic
  dimenhydrinate, fexofenadine, flunarizine HCl, loratadine, macromolecules, such as, cytokines, peptides, proteins, pep
  meclizine HCl, oxatomide, and terfenadine; (26) lipid regu 45 tidomimetics, toxoids, Sera, antibodies, vaccines, nucleo
  lating agents, such as, atorvastatin, beZafibrate, cerivastatin,  sides, nucleotides, nucleic acids, and genetic material. The
  ciprofibrate, clofibrate, fenofibrate, fluvastatin, gemfibrozil, hydrophilic therapeutic agent can be administered alone or in
  pravastatin, probucol, and simvastatin; (27) muscle relaxants, combination with other agents, for example, a hydrophobic
  such as, dantrolene sodium and tizanidine HCl: (28) nitrates therapeutic agent discussed hereinabove or a second, differ
  and other anti-anginal agents, such as, amyl nitrate, glyceryl 50 ent hydrophilic therapeutic agent.
  trinitrate, isosorbide dinitrate, isosorbide mononitrate and         Without limitation, exemplary hydrophilic therapeutic
  pentaerythritol tetranitrate; (29) nutritional agents, such as, agents that can be delivered using the compositions and meth
  calcitriol, carotenes, dihydrotachysterol, essential fatty acids, ods of the present invention, include the following com
  non-essential fatty acids, phytonadiol, vitaminA, Vitamin B. pounds as well as their pharmaceutically acceptable salts,
  Vitamin D. Vitamin E and vitamin K; (30) opioid analgesics, 55 isomers, esters, ethers and other derivatives, for example:
  Such as, codeine, dextropropoxyphene, diamorphine, dihy acarbose; acyclovir, acetyl cysteine; acetylcholine chloride;
  drocodeine, fentanyl, meptazinol, methadone, morphine, alatrofloxacin; alendronate; alglucerase; amantadine hydro
  hydromorphone, nalbuphine and pentazocine; (31) sex hor chloride; ambenomium; amifostine; aminocaproic acid; anti
  mones, such as, clomiphene citrate, cortisone acetate, dana hemophilic factor (human); antihemophilic factor (porcine);
  Zol, dehydroepiandrosterone, ethynyl estradiol, finasteride, 60 antihemophilic factor (recombinant); aprotinin; asparagi
  fludrocortisone, fluoxymesterone, medroxyprogesterone nase; atenolol; atracurium besylate; azithromycin; aztre
  acetate, megestrol acetate, mestranol, methyltestosterone, onam, BCG vaccine; bacitracin; becalermin; belladona;
  norethisterone, norgestrel, oestradiol, conjugated estrogens, bepridil hydrochloride; bleomycin sulfate; calcitonin human;
  progesterone, rimexolone, Stanozolol, stilbestrol, testoster calcitonin salmon; carboplatin: capecitabine; capreomycin
  one and tibolone; and (32) stimulants, such as, amphetamine, 65 Sulfate, cefamandole nafate; cefazolin Sodium, cefepime
  dexamphetamine, dexfenfluramine, fenfluramine and mazin hydrochloride; cefixime, cefonicid sodium, cefoperaZone;
  dol; and others, such as, becaplermin, donepezil HCl, L-thry cefotetan disodium, cefotoxime; cefoxitin Sodium, cefti
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  Zoxime, ceftriaxone; cefuroxime axetil; cephalexin; cephapi agents; antibodies, such as, monoclonal or polyclonal anti
  rin sodium; cholera vaccine; chorionic gonadotropin, cido bodies; anti-cholinergic agents; anti-depressants, such as,
  fovir, cisplatin: cladribine; clidinium bromide; clindamycin amitriptyline HCl, imipramine HCl; anti-emitics, such as,
  and clindamycin derivatives; ciprofloxacin; clondronate; neuroleptica, for example, metopimazin, anti-emetics having
  colistimethate sodium; colistin Sulfate; cortocotropin; coSyn a regulatory effect on the motility of the intestine. Such as,
  tropin; cromalyn Sodium: cytarabine; daltaperin Sodium; dan domperidon; anti-histaminic agents and histaminic agents,
  aproid; deforoxamine; denileukin diftitox; desmopressin;         Such as, diphenhydramin HCl, chloropheniramine maleate,
  diatrizoate megluamine and diatrizoate sodium; dicyclomine; histamine, prophenpyridamine maleate, chlorprophenpy
  didanosine; dopamine hydrochloride; dornase alpha: doxacu ridamine maleate, disodium cromoglyc ate, meclizine; anti
  rium chloride: doxorubicin; editronate disodium; elanaprilat; 10 hypertensive agents, such as, clonidine HCl; anti-inflamma
  enkephalin; enoxacin; enoxaprin Sodium; ephedrine; epi tory agents (enzymatic). Such as, chymotrypsin, bromelain
  nephrine; epoetin alpha; esmol hydrochloride; Factor IX:         seratiopeptidase; anti-inflammatory agents (non-steroidal),
  famiciclovir, fludarabine; fluoxetine; foscarnet Sodium; gan Such as, acetaminophen, aspirin, aminopyrine, phenylbuta
  ciclovir, granulocyte colony Stimulating factor; granulocyte Zone, colchicine, probenocid; anti-inflammatory agents (Ste
  macrophage stimulating factor; growth hormones (human or 15 roidal). Such as, fluticaSone, predonisolone, triaxncinolone
  bovine); gentamycin; glucagon; glycopyrolate; gonadotropin acetonide; anti-neoplastic agents, such as, actinomycin C.;
  releasing hormone and synthetic analogs thereof, GnRH; anti-septics, such as, chlorhexidine HCl, hexylresorcinol,
  gonadorelin; grepafloxacin; hemophilus B conjugate vac dequalinium cloride, ethacridine; anti-tussive expectorant
  cine; Hepatitis A virus vaccine inactivated; Hepatitis B virus (asthmatic agents), Such as, sodium cromoglycate, isoprot
  vaccine inactivated; heparin Sodium; indinavir Sulfate; influ ereol HCl; anti-viral and anti-cancer agents such as interfer
  enza virus vaccine; interleukin-2; interleukin-3; insulin-hu     ons (such as alpha-2 interferon for treatment of common
  man; insulin-porcine; insulin NPH; insulin aspart; insulin colds), phenyl-p-guanidino benzoate, enviroXime, etc.; beta
  glargine; insulin deternir, interferon-C., interferon-B; ipratro adrenergic blocking agents, such as, propranolol HCl; blood
  pium bromide; isofosfamide: japanese encephalitis virus vac factors, such as, factor VII, factor VIII; bone metabolism
  cine; leucoVorin calcium; leuprolide acetate; levofloxacin; 25 controlling agents, such as, vitamin D; bronchoisters. Such
  lincomycin and lincomycin derivatives; lobucavir, lom as, clenbuterol HCl, bitolterol mesylate; cardiotonics such as
  efloxacin; loracarbef mannitol; measles virus vaccine; men       digitalis; cardiovascular regulatory hormones, drugs and
  ingococcal vaccine; menotropins; mephenzolate bromide; derivatives, such as, bradykin antagonists, atrial natriuretic
  mesalmine; methanamine; methotrexate; methScopolamine; peptide and derivatives, such as, hydrailsazine, angiotensin II
  metformin hydrochloride; metroprolol; mezocillin sodium; 30 antagonist, nitroglycerin, propranolol, clofilium rosylate;
  mivacurium chloride; mumps viral vaccine; nedocromil chemotherapeutic agents, such as, Sulphathiazole, nitrofura
  sodium; neostigmine bromide: neostigmine methyl sulfate: Zone; CNS-stimulants, such as, lidocaine, cocaine; corticos
  neutontin; norfloxacin; octreotide acetate; olpadronate; oxy teroids, such as, lacicortone, hydrocorticeone, fluocinolone
  tocin, pamidronate disodium; pancuronium bromide; paroX acetonide, triamcinolone acetonide; enzymes, such as,
  etine; pefloxacin; pentamindineisethionate; pentostatin; pen 35 lysozyme chloride, dextranase; gastrointenstinal hormones
  toxifylline; periciclovir, pentagastrin; phentolamine and derivatives, such as, secretin, Substance P; hypothalamus
  mesylate; phenylalanine; physostigmine Salicylate; plague hormones and derivatives, such as, LHRH and analogues
  vaccine; piperacillin Sodium; platelet derived growth factor (such as naferelin, buserelin, Zolidex), TRH (thyrotropin
  human; pneumococcal vaccine polyvalent; poliovirus vac releasing hormone); hypothensives; local anaesthetics. Such
  cine (live or inactivated); polymixin B sulfate; pralidoxine 40 as, benzocaine; migraine treatment Substances, such as, dihy
  chloride; pramlintide; pregabalin; propofenone; propentha droergot amine, ergometrine, ergotamine, pizotizin; pancre
  line bromide:pyridostigmine bromide; rabies vaccine; residr atic hormones and derivatives, such as, insulin (hexameric/
  onate; ribavarin: rimantadine hydrochloride; rotavirus vac dimeric/monomeric forms); parasympathomimetics, such as,
  cine; Salmetrol Xinafoate; sincalide; Small pox vaccine; nicotine, methacholine; parasympatholytics, such as, Scopo
  solatol; somatostatin; Sparfloxacin; spectinomycin; stavu 45 lamine, attopine, ipratropium; Parkinson's disease Sub
  dine; Streptokinase; streptozocin, suxamethonium chloride;       stances, such as, apomorphin, pituitary gland hormones and
  tacrine hydrochloride; terbutaline sulfate; thiopeta: ticarcil derivatives, such as, growth hormone (e.g. human), Vaso
  lin; tiludronate; timolol, tissue type plasminogen activator, pressin and analogues (DDAVP, Lypressin); prostaglandins,
  TNFR:Fc: TNK-tRA; trandolapril; trimetrexate gluconate:          such as, PGA and derivatives thereof, PGE and derivatives
  trospectinomycin; trovafloxacin; tubocurarine chloride; 50 thereof, PGE and derivatives thereof, PGF and derivatives
  tumor necrosis factor; typhoid vaccine live; urea; urokinase; thereof, dinoprost trometamol; protease inhibitors, such as,
  Vancomycin; Valaciclovir, Varicella virus vaccine live; vaso citrate, or O-antitrypsin; sex-hormones, such as, ethiny
  pres sin and vasopessin derivatives; Vecoronium bromide; loestradiol, levonorgestrel, FSH. LH, LTH, estradiol-17-beta,
  Vinbiastin; Vincristine, Vinorelbine; warfarin-Sodium; yel norethindrone; sympathomimetics, such as, phenylephrine,
  low fever vaccine; Zalcitabine; Zanamavir, Zolandtronate; and 55 Xylometazoline, tramaZoline, dopamine, dobutamine; sleep
  Zidovudine.                                                      aids, such as granistron and ramelteon, tranquilizers, such as,
     Other therapeutic agents that can be administered in this brotizolam, camazepam, chloraZepic acid, cloxazolam,
  formulation may comprise adrenal hormones, corticosteroids deloraZeparn, estaZolam, ethyl loflazepate, fludiazepam,
  and derivatives, such as, ACTH and analogs thereof, teracos flutazolam, halazepam, haloxazolam, ketazolam, lopra
  actrin, alsactide, cortisone, hydrocortisone alcohol, hydro 60 Zolam, lormetazepam, nimetazepam, nitrazepam, nordiaz
  cortisone acetate, hydrocortisone hemisuccinate, predniso epam, oxazepam, pinazepam, praZepam, temazepam, tet
  lone terbutate, 9-alpha-fluoroprednisolone, triamcinolone razepam, tofisopam; vaccines, such as, AIDS-vaccines,
  acetonide, dexamethasone phosphate, flurisolide, toxicorol parainfluenza virus, polio, rhinovirus type 13, respiratory
  pivalate; anorectics, such as, benzphetamine HCl chlorphen syncytial virus; vasoconstrictors. Such as, phenylephrine
  termine HCl; antibiotics, such as, tetracycline HCl, tyrothri 65 HCl, tetrahydrozoline HCl, naphazoline nitrate, oxymetazo
  cin, cephalosporine, aminoglycosides, Streptomycin, genta line HCl, tramazoline HCl; vasodilators, such as, papaverine
  mycin, leucomycin, penicillin and derivatives; anti-allergic HCl, Substance P. vasoactive intestinal peptide (VIP).
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     Certain exemplary formulations comprising alkoxy-poly tetrahydrofurfuryl alcohol PEG ether (glycofurol, available
  ethylene glycol also comprise one or more therapeutic agents commercially from BASF under the trade name Tetraglycol):
  selected from the group consisting of peptide drugs, such as,     Surfactants, such as, Sodium lauryl Sulfate, oleic acid, linoleic
  oxytocin, vasopression (desmopresin), insulin, calcitonin, acid, monoolein, lecithin, lysolecithin, deoxycholate, tauro
  elcatonin, cyanocobalmin B, and glucagon-like protein-1           deoxycholate, glycochenodeoxycholate, polyoxyethylene
  (GLP-1), and Small organic molecules, such as, dinoprSoone, X-lauryl ether, where X is from 9 to 20, sodium tauro-24,
  misoprostol, apomorphine, fentanyl, metoclopramide, butor 25-dihydrofusidate, polyoxyethylene ether, polyoxyethylene
  phanol, and midazolam                                             sorbitan       esters,     p-t-octylphenoxypolyoxyethylene,
     C. Other Excipients                                            N-lauryl-B-D-maltopyranoside, 1-dodecylazacycloheptane
     It is understood that the compositions of the invention, in 10 2-azone; amides, such as, 2-pyrrolidone, 2-piperidone, capro
  addition to the alkoxy-polyethylene glycol and the therapeu lactam, N-alkylpyrrolidone, N-hydroxyalkylpyrrolidone,
  tic agent, can comprise a number of other excipients known to N-alkylpiperidone, N-alkylcaprolactam, dimethylacetamide,
  those skilled in the art, including absorption promoters, buff and polyvinylpyrrolidone; esters, such as, ethyl propionate,
  ering agents, water absorbing polymers, alcohols, lipids, tributylcitrate, acetyltriethylcitrate, acetyltributyl citrate, tri
  osmotic pressure controlling agents, pH-controlling agents, 15 ethylcitrate, ethyl oleate, ethyl caprylate, ethylbutyrate, tri
  preservatives, propellants, Surfactants, enzyme inhibitors, acetin, propylene glycol monoacetate, propylene glycol diac
  excipients for adjusting hydrophilic-lipophilic balance etate, caprolactone and isomers thereof, Valerolactone and
  (HLB) and stabilizers.                                            isomers thereof, B-butyrolactone and isomers thereof, and
     Exemplary Surfactants, include, for example nonoxynol, other solubilizers known in the art, such as dimethyl aceta
  octoxynol, tweens, spans, sodium lauryl Sulfate, and Sorbitan mide, dimethyl isosorbide (Ariasolve DMI (ICI)), N-methyl
  monopalmitate. Exemplary absorption promoters include, pyrrolidones (Pharmasolve (ISP)), monooctanoin, and dieth
  for example, bile salts and derivatives thereof, fusidic acid ylene glycol monoethyl ether (available from Gattefosse
  and derivatives thereof, oleic acid, lecithin, lysolechitins, under the trade name Transcutol).
  dodecanoyl phosphatidylcholine (DDPC), sucrose mon                   Preferred additional solubilizers include triacetin, triethyl
  ododecanoate, n-dodecyl-B-D-maltopyranoside, pectin, chi 25 citrate, ethyl oleate, ethyl caprylate, dimethylacetamide,
  tosan, Cl-, 3- and Y-cyclodextrins and derivatives thereof, N-methylpyrrolidone, N-hydroxyethylpyrrolidone, polyvi
  pegylated caprylic-/capric glycerides and derivatives thereof, nylpyrrolidone, hydroxypropyl methylcellulose, hydrox
  Such as, Softigen and Labrasol. Exemplary water absorbing ypropyl cyclodextrins, ethanol, polyethylene glycol 200
  polymers include, for example, polyethylene glycols having        1000, PEG 300, PEG 400, Transcutol, and dimethyl
  an average molecular weight ranging from 200 to 7500, pro 30 isosorbide, Sorbitol, glycerol, triacetin, glycofuroland propy
  pylene glycol, or mixtures thereof, or single ethylene glycols lene glycol. Typically, the Solubilizer, if present, is present in
  such as tetraethylene glycol and pentaethylene glycol. Exem an amount of from about 0.1% (w/v) to about 50% (w/v),
  plary alcohols include, for example, ethanol, isopropyl alco from about 1% (w/v) to about 40% (w/v) or from about 2%
  hol. Exemplary lipids include, for example, vegetable oil,        (w/v) to about 25% (w/v). In addition, the liquid pharmaceu
  Soyabean oil, peanut oil, coconut oil, maize oil, olive oil, 35 tical composition can comprise water, for example, from
  Sunflower oil, monoglycerides, diglycerides, mono/diglycer about 2% (v/v) to about 99% (v/v), from about 10% (v/v) to
  ides, mono/di?triglycerides. Exemplary osmotic pressure about 95% (v/v), or from about 20% (v/v) to about 90% (v/v),
  controlling agents include, for example, glycerol, dextrose, of the liquid composition.
  maltose, Sucrose, mannitol, Xylitol, various salts (for              As discussed, the composition can comprise a preservative.
  example, sodium chloride). Exemplary pH-controlling 40 In addition or in the alternative, the composition can be ster
  agents include, for example, buffers, acids (for example, ilized. Sterilization can be achieved by filter sterilization,
  nitric acid, phosphoric acid, or acetic acid). Exemplary pre autoclaving, exposure to ionizing radiation, for example,
  servatives include, for example, methyl paraoxybenzoate, gamma radiation, UV irradiation, and chemical sterilization.
  phenyl ethyl alcohol or benzoic acid. Exemplary propellants,      In one embodiment, the sterile composition has a sterility
  include, for example, butane or air displacement such as 45 assurance level of at least about 10. The resulting liquid
  nitrogen. Excipients adjusting the HLB of the formulation compositions preferably are stable at room temperature. Such
  include, for example, Tween 20, 25, 40, 45, 65, 85, Span that less than 5%, 4%, 3%, 2% or 1% by weight of the
  20-80, Brij 30-98, acacia. Exemplary enzyme inhibitors therapeutic agent degrades after storage for 30 days, or more
  include, for example aprotinin and other peptidase inhibitors, preferably 6 months, at 20° C.
  diisopropylfluorophosphate (DFP), carbopol. Exemplary sta 50 In addition, the formulations may also include a Sweetener
  bilizers include, for example, cyclodextrins.                     or flavoring agent. Exemplary Sweeteners or flavoring agents
     Although it is understood that the alkoxy-polyethylene include, for example, acacia syrup, acesulfame potassium,
  glycols described herein, for example, methoxy-polyethylene anethole, anise oil, aromatic elixir, aspartame, benzaldehyde,
  glycol, can solubilize poorly soluble therapeutic agents, benzaldehyde elixir, cyclodextrins, caraway, caraway oil, car
  under certain circumstances, it may be helpful to include 55 damom oil, cardamom seed, cardamom spirit, cardamom
  additional compounds that enhance the solubility of the thera tincture, cherry juice, cherry syrup, cinnamon, cinnamon oil,
  peutic agent. Examples of Such solubilizers include, for cinnamon water, citric acid, citric acid syrup, clove oil, cocoa,
  example, alcohols and polyols, such as ethanol, isopropanol, cocoa syrup, coriander oil, dextrose, eriodictyon, eriodictyon
  butanol, benzyl alcohol, ethylene glycol, propylene glycol, fluid extract, eriodictyon syrup, aromatic, ethylacetate, ethyl
  butanediols and isomers thereof, glycerol, pentaerythritol, 60 Vanillin, fennel oil, ginger, ginger fluid extract, ginger oleo
  Sorbitol, mannitol, transcutol, dimethyl isosorbide, polyeth resin, glucose, Sugar, maltodextrin, glycerin, glycyrrhiza,
  ylene glycol, polypropylene glycol, pegylated-mono/di-ca glycyrrhiza elixir, glycyrrhiza extract, glycyrrhiza extract
  prylic/capric glycerides, polyvinylalcohol, hydroxypropyl pure, glycyrrhiza fluid extract, glycyrrhiza syrup, honey, iso
  methylcellulose and other cellulose derivatives, cyclodex alcoholic elixir, lavender oil, lemon oil, lemon tincture, mal
  trins (for example, Cl-, 3-, or Y-cyclodextrins) and cyclodex 65 todextrin, maltose, mannitol, methyl salicylate, menthol, nut
  trin derivatives; ethers of polyethylene glycols having an meg oil, orange bitter, elixir, orange bitter, oil, orange flower
  average molecular weight of about 200 to about 6000 or oil, orange flower water, orange oil, orange peel, bitter,
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  orange peel Sweet, tincture, orange spirit, orange syrup, pep delivering a therapeutic agent to the mucosa of the nose,
  permint, peppermint oil, peppermint spirit, peppermint water, mouth (buccal, gingual, Sublingual or to the hard palate), or
  phenylethyl alcohol, raspberry juice, raspberry syrup, rose the vagina.
  mary oil, rose oil, rose water, saccharin, saccharin calcium,           It is understand that the compositions of the invention are
  saccharin Sodium, Sarsaparilla syrup, Sarsaparilla compound, particularly useful in the intranasal delivery of a therapeutic
  Sorbitol Solution, spearmint, spearmint oil. Sucrose, Sucral agent. When the composition is applied to the nasal mucosa,
  ose, syrup, thyme oil, tolu balsam, tolu balsam syrup, winter the Volume of the pharmaceutical composition applied typi
  green oil, Vanilla, Vanilla tincture, Vanillin, wild cherry syrup, cally is in the range of 1-1000 uL, preferably not more than
  xylitol, or combinations thereof.                                    700 uL, more preferably 50-150 uL per nostril, and most
     In addition, the formulations optionally can contain a taste 10 preferably
                                                                          It is
                                                                                    about 100 uL/nostril.
                                                                                understood  that when administered intranasally, the
  masking agents. Exemplary masking agents include, for compositions are delivered
  example, cyclodextrins, cyclodextrin emulsions, cyclodex plume of spray droplets thatviacontact       a spray device that produces a
                                                                                                               the nasal mucosa. It is
  trin particles, cyclodextrin complexes, or combinations contemplated that the compositions can                    be delivered using
  thereof.                                                          15 commercially available spray devices available from, for
     The foregoing list of excipients and additives is by no example, Pfeiffer of America, Princeton, N.J.; Valois of
  means complete, and it is understood that a person of ordinary America, Inc., Greenwich, Conn.; or Becton Dickinson,
  skill in the art can choose other excipients and additives from Franklin Lakes, N.J. Furthermore, these devices are easily
  the GRAS (generally regarding as safe) list of chemicals used operable by the patient or care giver, and leave little or no
  in pharmaceutical preparations and those that are currently residual formulation in the device after use.
  allowed in topical and parenteral formulations.                         Such devices can be filled with single or multi-dose
     Exemplary liquid compositions of the invention contain, amounts of the desired formulation. The container holding
  for example, the active ingredient (for example, midazolam), the pharmaceutical composition and its sealing means are
  40% (v/v) to 70% (v/v) methoxy-polyethylene glycol (for sterilizable. At least the parts of the device that are in contact
  example, mPEG 350), 0% (v/v) to 20% (vlv) polyethylene 25 with the pharmaceutical composition should be constructed
  glycol (for example, PEG 400), 0% (v/v) to 10% (v/v) pro and assembled in a configuration that can be sterilized. Exem
  pylene glycol, and 0% (v/v) to 5% (vlv) ethanol. Other exem plary delivery devices with one or more unit-dose(s) are
  plary liquid compositions of the invention contain, for described, for example, in U.S. Pat. Nos, 4,946,069; 5,307,
  example, the active ingredient dissolved in 50% (v/v) to 70% 953; 6,948,492; and 6,446,839. Individual devices can be
  (v/v) mPEG 350, 1% (v/v) to 4% (v/v) propylene glycol, and 30 packaged, sterilized and shipped; alternatively, entire ship
  1% (v/v) to 4% (v/v) ethanol.                                        ping and storage packages can be sterilized at once, and the
     It is understood that the choice and amounts of each of the       devices removed individually for dispensing, without affect
  therapeutic agents, alkoxy-polyethyline glycol and other ing the sterility of the remaining units.
  excipients combined to produce the compositions of the                  The mucosal epithelium in the nasal cavity is covered with
  invention will depend upon the ultimate use of the composi 35 many hair-like cilia that provide an important defense mecha
  tion, and the intended therapy and mode of administration. nism against inhaled dust, allergens and microorganisms. The
  When the liquid compositions ultimately are administered to          normal half-time for non-absorbed substances administered
  a patient, the amount of a given excipient, unless the circum to the nasal cavity is about 15 minutes due to the mucociliary
  stances dictate otherwise, preferably is limited to a bioaccept clearance removing foreign particles and excess mucus
  able amount, which is readily determined by one of skill in the 40 toward the pharynx. For this reason it is preferred that the
  art. Furthermore, it is understood that the liquid compositions absorption occurs rapidly and preferably within 0.5 to 20
  of the invention can be formulated using techniques known to         minutes. However, in the current invention due to bioadhesive
  those skilled in the art. A thorough discussion of formulations properties of the invention, the preferred absorption may
  and the selection of pharmaceutically acceptable carriers, occur within 0.5 to 300 minutes (e.g., for vaccines and bio
  stabilizers, etc. can be found, for example, in Remington's 45 logicals), preferably between 0.5 to 60 minutes (e.g., for large
  Pharmaceutical Sciences (18" Ed.), Mack Publishing Com molecules) and more preferably between 0.5 and 20 minutes,
  pany, Eaton, Pa.                                                     for example, within 2, 3, 4, 5, 10, 15 or 20 minutes post
     Although the therapeutic agent and the alkoxy-polyethyl administration. The composition can be formulated so that
  ene glycol are combined in the liquid formulations of the upon administration to a Subject, for example, via intranasal
  invention, they are not covalently linked to one another. In 50 administration to the Subject, the therapeutic agent has a peak
  certain embodiments, the liquid formulations of the invention concentration (T,) in the blood of the subject within 30, 25,
  are free or are substantially free of chitosan. In certain 20, 15, 108, 5, 3 or 2 minutes after administration of the
  embodiments, the compositions of the invention may be pre therapeutic agent.
  pared in a powder form.                                                 In addition to administration to humans, the compositions
  II Modes of Administration and Pharmacokinetics                   55 of the invention can be used to deliver the therapeutic agent to
     The compositions of the invention are particularly useful in an animal, for example: pets, for example, dogs, cats, rabbits,
  delivering one or more therapeutic agents to a mucosal mem and guinea pigs; and farm animals, for example, horses,
  brane or the skin of a mammal, for example, a human. The sheep, pigs, cattle, and chickens.
  mucosal membrane to which the pharmaceutical preparation                Throughout the description, where compositions are
  of the invention is administered may be any mucosal mem 60 described as having, including, or comprising specific com
  brane of the mammal to which the therapeutic agent is to be ponents, it is contemplated that compositions also consist
  applied, for example, the nose (for example, via a nasal mem essentially of or consist of the recited components. Simi
  brane), vagina, eye (for example, via an ocular membrane), larly, where processes are described as having, including, or
  ear (for example, via a tympanic membrane), mouth (for comprising specific process steps, the processes also consist
  example, via the buccal membrane), lungs (for example, via 65 essentially of, or consist of the recited processing steps.
  the pulmonal membrane), or rectum (for example, via the Except where indicated otherwise, the order of steps or order
  rectal membrane). The compositions are particularly useful in for performing certain actions are immaterial so long as the
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                                                              US 9,289,432 B2
                               17                                                                                    18
  invention remains operable. Moreover, unless otherwise                                                          TABLE 1
  noted, two or more steps or actions may be conducted simul
  taneously.                                                                           Test Formulation 1 Containing 50 mg/mL Midazolam base
                             EXAMPLES
                                                                                        Component                         Percent of Final (% viv)
     The invention is explained in more detail with reference to                          PEG 350                                      47
  the following Examples, which are to be considered as illus                           PEG 400                                        18
  trative and not to be construed so as to limit the scope of the 10                    Propylene Glycol                                5
  invention as set forth in the appended claims.
                                                                                        Ethanol                                         7
                             Example 1                                                  Water                                          21

         Exemplary LoraZapam Containing Formulation                       15

     In this Example, 10 mg lorazepam is dissolved in 2 mL of                                                     TABLE 2
  mPEG 350 using ultrasound to obtain a solution containing 5                          Test Formulation 2 Containing 50 mg/mL Midazolam base
  mg/mL of lorazepam. 50 LL of the resulting composition is
  administered into each nasal cavity of male New Zealand                               Component                         Percent of Final (% viv)
  White rabbits held in a supine position during, and then one                           PEG 350                                     47
  minute after application. An Eppendorf pipette is used for                            PEG 400                                      18
  each application. After administration, blood samples then                            Propylene Glycol                             10
                                                                                        Polysorbate 80                                O.1
  are harvested from a marginal ear vein at 0.2, 5, 10, 15.30 and                       Water                                        22
  60 minutes, and the lorazepam concentration determined by 25
  high performance liquid chromatography (HPLC). The phar
  macokinetics of lorazepam delivery via intranasal adminis                                                       TABLE 3
  tration can then be compared with the pharmacokinetics of
  lorazepam delivery by intravenous administration. It is con                                Control Containing 50 mg/mL Midazolam base
  templated that the pharmacokinetics of the intranasally 30
  administered lorazepam will be comparable to those of the                          Component                                Percent of Final (% viv)
  intravenously administered lorazepam.                                               PEG 400                                          18
                                                                                     Propylene Glycol                                  78
                               Example 2                                             Butylatedhydoxytoluene                             O.O1
                                                                          35
         Exemplary Midazolam Containing Formulation                               Each of the test and control formulations contained 50
    In this Example, 10 mg of midazolam is dissolved in 2 mL mg/mLmL was
                                                                         midazolam. Once made, 5 mg of midazolam in 0.1
                                                                         delivered intranasally to the right nostril of each dog
  ofmPEG 350 using ultrasound to obtain a solution containing
  5 mg/mL midazolam. 50 uL of the resulting composition is 40 (3 dogs perset) for each formulation in a cross over manner.
  then administered into each nasal cavity of male New Zealand Blood was harvested from the dogs predose and at 0.03, 0.08,
  White rabbits, held in a supine position during, and then one 0.16, 0.25, 0.5,0.75, 1, 2, and 4 hours after administration,
  minute after application. After administration, blood samples and the concentration of midazolam in the blood measured by
  then are harvested from a marginal ear vein at 0, 2, 5, 10, 15, HPLC. The pharmacokinetic properties are summarized in
  30 and 60 minutes, and the midazolam concentration deter 45 Table 4.
  mined by HPLC. The pharmacokinetics of midazolam deliv
  ery via intranasal administration can then be compared with                                                     TABLE 4
  the pharmacokinetics of midazolam delivery by intravenous
  administration. It is contemplated that the pharmacokinetics                                            Pharmacokinetic Properties
  of the intranasally administered midazolam will be compa 50                                        Tmax            Cmax           AUC,          AUC
  rable to those of the intravenously administered midazolam.  Formulation                           (hr)           (ng/mL)        (hring/mL)    (hring/mL)
                                                               Test                               O. 11    O.OS    2220   289       SO694          SO895
                            Example 3                          Formulation 1
                                                                             Test                 O.OS     O.O3    1880 - 682       399     75     403   76
           Pharmacokinetics of Exemplary Midazolam                        55 Formulation 2
                             Formulations                                    Control              O.O7     O.O3    23SO   796       SO672          SO971
                                                                             Formulation

     This Example describes a variety of formulations contain InTable 4. Cmax refer to the maximum plasma concentration, Trefers to the time to reach
  ing methoxy-polyethylene glycol that demonstrate compa measurableC, AUC refers to area under the concentration curve from time zero to the last
                                                                            plasma concentration, and AUCNF refers to the area under the concentration
  rable pharmacokinetic properties to a control formulation 60 curve from time zero to infinity,
  containing polyethylene glycol and propylene. hiaddition to
  having comparable pharmacokinetic properties, the meth              The results demonstrate that the test formulations, when
  oxy-polyethylene glycol formulations had a lower viscosity administered intranasally to the dogs, produced comparable
  than the control formulation.                                    pharmacokinetics to the control formulation. The test formu
     Table 1 lists the composition of a first test formulation, 65 lations, however, had a lower viscosity than the control for
  Table 2 lists the composition of a second test formulation, and mulations. Lower viscosity correlates with better spray pat
  Table 3 lists the composition of a control formulation.          tern characteristics.
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                                                                 US 9,289,432 B2
                                    19                                                                       20
                                 Example 4                                        additional organic phase was added. The remaining 35% of
                                                                                  the mPEG 350 was mixed with water, and the diluted mPEG
      Additional Exemplary Methoxy-Polyethylene Glycol            350 then was gradually added with mixing to the midazolam
                   Containing Formulations                        Solution until a clear Solution was produced. The Viscosity of
                                                                  the resulting formulations and spray patterns were tested.
    This example describes the benefit of incorporating meth        The viscosity of the resulting formulations was tested at
  oxy-polyethylene glycol into certain intranasal formulations. 25°C. using a viscometer (Brookfield DV-II PRO). The vis
  Table 5 describes a formulation containing methoxy-polyeth cosity of the control formulation without methoxy-polyeth
  ylene glycol and PEG 400, Table 6 describes a formulation ylene glycol (Table 8) was found to be about 42 cp, whereas
  containing methoxy-polyethylene glycol without PEG 400, 10 the viscosity of the test formulation of Table 5 was found to be
  Table 7 describes a formulation containing methoxy-polyeth about 30 cp and the viscosity of the test formulation of Table
  ylene glycol without PEG 400 (with reduced ethanol), and 6 was found to be about 23 cF. The reduced viscosity of the
  Table 8 describes a control formulation containing PEG 400 test formulations relative to the control formulation permitted
  but no methoxy-polyethylene glycol.                             the creation of more reproducible spray patterns.
                                                               15   The spray patterns produced by the two test formulations of
                            TABLE 5                               Tables 5 and 6 were tested using a Proveris spray view instru
                                                                  ment. The resulting parameters of the resulting spray patterns
      Component               Viscosity (cP)       % (w.fw)       were found to be more reproducible as the viscosity of the
      Propylene glycol                    40                     5                formulation decreased.
      PEG 400
        PEG 350
                                          8O
                                          29
                                                               18
                                                               47
                                                                                   In addition, 100 uL of placebo formulations (no mida
      Ethanol                                                   6
                                                                                Zolam) corresponding to the formulations set forth in Tables
      Water                                 1                  18               7 and 8 were administered intranasally to three healthy test
      Midazolam                                                 7               Subjects using a commercially available spray device from
                                                                                Pfeiffer. The placebo formulation corresponding to Table 7
                                                                             25 containing methoxy-polyethylene glycol had a less notice

                                   TABLE 6
                                                                                able taste relative to the placebo formulation corresponding to
                                                                                  Table 8.
      Component                      Viscosity (cP)          % (w.fw)               These collective results demonstrate that mPEG 350 is a
                                                                                  Suitable excipient for nasal administration, for example, with
      Propylene glycol                    40                     2           30   midazolam.
        PEG 350                           29                   64
      Ethanol                                                   5                                          Example 5
      Water                                 1                  23
      Midazolam                                                 7
                                                                                         Sprayability of Methoxy-Polyethylene Glycol
                                                                             35
                                                                                                   Containing Formulations
                                   TABLE 7                                         This Example demonstrates that methoxy-polyethylene
                            75 mg                 50 mg          25 mg
                                                                                glycol-based formulations produce Superior spray flumes
                         Midazolam              Midazolam     Midazolam         relative to polyethylene glycol. Solutions containing 100%
  Component              dose (% w/w)       dose (% w/w)      dose (% w/w)   40
                                                                                methoxy-polyethylene glycol 350 (MPEG 350) from Sigma
  MPEG 350                  64.8                  64.8           64.8
                                                                                Aldrich Chemie GmbH (St. Louis, Mo., USA) and 100%
  Propylene glycol           2.0                     2.0             2.0        polyethylene glycol 300 (PEG 300) from Croda Chemicals
  Ethanol                    2.5                   2.5            2.5           Europe Ltd. (Goole, UK) were placed into Pfeiffer 20 mL
  Water                     23.7                  26.O           28.3           bottles (Pfeiffer 34473) and attached to certain pumps from
                                                                             45 Valois or Pfeiffer (see Table 8). Each spray device was placed
  Phenethyl                  O.O2S                   O.O2S           O.O2S
  Alcohol
  Midazolam                  6.9                     4.6             2.3        25 cm under a sheet of absorbent paper and the sprayability
                                                                                was measured as the diameter across of the paper wetted by
                                                                                the resulting spray. The results are summarized in Table 9.
                                   TABLE 8                                                                 TABLE 9
                                                                             50
         Control Formulation (Without Methoxy-polyethylene Glycol                    Pump Type             Formulation    Spray diameter (cm)
      Component                         Viscosity (cP)        % (w.fw)               Pfeiffer 71514         PEG 300           2.0-3.2 cm
                                                                                     Pfeiffer 71514          PEG 350           22-26 cm
      PEG 400                                   89             19                    Valois VP6,100         PEG 300           5.0–7.5 cm
      Propylene Glycol                          40             76            55      Valois VP6,100          PEG 350           15-21 cm
      Butylated hydroxytoluene                                  O.O1
      Midazolam                                                 5
                                                                                    The results show that there is a clear difference in the
     The formulation of Table 5 was prepared by mixing the requiredsprayability of mPEG 350 compared with PEG 300. The
  propylene glycol, PEG 400, mPEG 350, and ethanol. The a clinically
                                                                60
                                                                             spray angle is not achieved using PEG 300, whereas
  midazolam was then added to the mixture, and then after the                   relevant spray-angle can beachieved using mPEG
                                                                   350.
  midazolam had dissolved following mixing the water was
  added to the formulation. The formulations in Tables 6 and 7                       Incorporation. By Reference
  were prepared as follows. The midazolam was weighed in a
  container and the ethanol was added to wet the active ingre 65 The entire disclosure of each of the patent documents and
  dient. After mixing, about 65% of the mPEG 350 was added,        scientific articles referred to herein is incorporated by refer
  and the resulting mixture mixed for 2 minutes. Thereafter, the ence for all purposes.
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                                                        US 9,289,432 B2
                               21                                                                     22
                           Equivalents                                    9. The pharmaceutical composition of claim 8 wherein the
                                                                       benzodiazepine or pharmaceutically acceptable salt thereof
     The invention may be embodied in other specific forms comprises about 0.001% (w/v) to about 20% (w/v) of the
  without departing from the spirit or essential characteristics pharmaceutical composition.
  thereof. The foregoing embodiments are therefore to be con 5 10. The pharmaceutical composition of claim 1, wherein
  sidered in all respects illustrative rather than limiting on the the composition at a temperature of 20°C. has a viscosity in
  invention described herein. Scope of the invention is thus the range of from about 1.5 cF to about 60 cp.
  indicated by the appended claims rather than by the foregoing
  description, and all changes that come within the meaning the11.            The pharmaceutical composition of claim 1, wherein
  and range of equivalency of the claims are intended to be 10 the range of fromatabout
                                                                           composition      a temperature of 20°C. has a viscosity in
                                                                                                 3 cF to about 40 cp.
  embraced therein.
     What is claimed is:                                                  12.  The  pharmaceutical   composition of claim 1, wherein
     1. A liquid pharmaceutical composition formulated for the composition at a temperature of 20°C. has a viscosity in
  intranasal administration comprising:                                the range of from about 5 cF to about 25 cF.
     a) a therapeutically effective amount of a therapeutic agent 15 13. The pharmaceutical composition of claim 1, wherein
        Selected from a benzodiazepine, a pharmaceutically the composition has a pH in the range of from about 4.5 to
        acceptable salt thereof or combinations thereof; and           about 8.5.
     b) a methoxy-polyethylene glycol of Formula I                        14. The pharmaceutical composition of claim 1, wherein
         HC O—(CH2CH2O), H                                      (I)    the composition has a pH in the range of from about 5.5 to
                                                                       about 7.5.
     wherein n is a number in the range of 2 to 12.                       15. A method of administering a therapeutic agent to a
     2. The pharmaceutical composition of claim 1 whereinn is
  in the range of 3 to 10.                                             mammal, the method comprising administering to an intra
     3. The pharmaceutical composition of claim 1 further com nasal mucosal membrane of the mammala liquid pharmaceu
  prising water.                                                    25
                                                                       tical composition comprising
     4. The pharmaceutical composition of claim 1, wherein the            a) a therapeutically effective amount of a therapeutic agent
  methoxypolyethylene glycol comprises methoxy-polyethyl                     Selected from benzodiazepine, a pharmaceutically
  ene glycol 350.                                                            acceptable salt thereof or combinations thereof; and
     5. The pharmaceutical composition of claim 1, wherein the            b) a methoxy-polyethylene glycol of Formula I
  methoxypolyethylene glycol comprises methoxy-polyethyl 30
  ene glycol 550.                                                             HC O—(CH2CH2O), H                                     (I)
     6. The pharmaceutical composition of claim 1 further com
  prising polyethylene glycol 200, 300 or 400.                            wherein n is a number in the range of 2 to 12.
     7. The pharmaceutical composition of claim 1 further com             16. The method of claim 15, wherein the pharmaceutical
  prising propylene glycol.                                         35 composition is administered in a volume of 50 ul to 300 ul.
     8. The pharmaceutical composition of claim 1 wherein the
  benzodiazepine or pharmaceutically acceptable salt thereof human.       17. The method of claim 15, wherein the mammal is a
  comprises about 0.0001% (w/v) to about 50% (w/v) of the
  pharmaceutical composition.
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                          EXHIBIT D
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                                                                                                       US009687495 B2


  (12) United States Patent                                                           (10) Patent No.:     US 9,687,495 B2
         Gizurarson                                                                   (45) Date of Patent:     *Jun. 27, 2017
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  (60) Division of application No. 14/330,654, filed on Jul.                                                (Continued)
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                (2013.01); A61 K3I/5513 (2013.01); A61 K
                     47/10 (2013.01); A61 K 9/12 (2013.01)                       Primary Examiner — Craig Ricci
  (58) Field of Classification Search                                            (74) Attorney, Agent, or Firm — Kagan Binder, PLLC
          None
          See application file for complete search history.                      (57)                      ABSTRACT
  (56)                    References Cited                                       The present invention provides a liquid pharmaceutical
                                                                                 composition comprising a therapeutic agent and an alkoxy
                  U.S. PATENT DOCUMENTS                                          polyethylene glycol, for example, methoxy-polyethylene
                                                                                 glycol, for administration of the therapeutic agent to the
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                                                      US 9,687,495 B2
                                1.                                                              2
         METHODS AND SYSTEMIS FOR THE                                  It has been hypothesized that the usefulness of nasal
        DELIVERY OF A THERAPEUTIC AGENT                             administration can be limited if the therapeutic agent has
                                                                    limited solubility in water (Proctor, D. F. (1985) Nasal
                 RELATED APPLICATIONS                               Physiology in Intranasal Drug Administrations, in Chien, Y.
                                                                    W. (Ed.) TRANSNASAL SYSTEMIC MEDICATIONS, FUNDAMENTALs,
    This application is a divisional of U.S. patent application      DEVELOPMENTAL CONCEPTS AND BIOMEDICAL ASSESSMENTS,
  Ser. No. 14/330,654, filed Jul. 14, 2014, which is a continu      ELSEVIER Science Publishers, Amsterdam, pp. 101-105). As a
  ation of U.S. patent application Ser. No. 13/446.284, filed result, this hypothesis, if correct, may limit the delivery of
  Apr. 13, 2012, now U.S. Pat. No. 8,809,322, which is a certain therapeutic agents that are sparingly soluble in water.
  continuation of U.S. patent application Ser. No. 12/016,724, 10 To facilitate delivery to the nasal cavity, an effective
  filed Jan. 18, 2008, now abandoned, and also claims the           amount of the therapeutic agent should be dissolved in a
  benefit of and priority to Icelandic Patent Application Serial small volume, for example, less than about 1000 uL, pref
  No. 8593/2007, filed Jan. 19, 2007, the entire disclosures of erably less than 300 uL, and more preferably less than 150
  which are incorporated by reference herein for all purposes.      uL. Larger Volumes drain out anteriorly through the nostrils
                                                                 15 or posteriorly toward the pharynx where excess liquid is
                 FIELD OF THE INVENTION                             Swallowed. As a result, if large Volumes are administered, a
                                                                    portion of the therapeutic agent can be lost from the absorp
     This invention relates generally to compositions for the tion site, and it can be difficult if not impossible to repro
  delivery of a therapeutic agent and to related methods, and ducibly administer the correct dose of the therapeutic agent.
  more particularly relates to compositions containing one or         A variety of delivery systems have been developed for the
  more alkoxy-polyethylene glycols for the delivery of a nasal administration of therapeutic agents. Lau and Slattery
  therapeutic agent and to related methods.                         studied the absorption characteristics of diazepam and lora
                                                                    Zepam following their intranasal administration for the treat
                        BACKGROUND                                  ment of epilepticus (Lau, S. W. J. & Slattery, J. T. (1989),
                                                                 25 Absorption of Diazepam and Lorazepam Following Intra
     The administration of a therapeutic agent by injection nasal Administration, INT. J. PHARM., 54, 171-174). In order
  (e.g., intravenous, intramuscular or Subcutaneous injection) to solubilize the therapeutic agent, a non-ionic Surfactant—
  typically is regarded as the most convenient way of admin polyoxyethylated castor oil—was selected as the least irri
  istration when the purpose is to achieve a rapid and strong tating solvent of several Solvents studied, including poly
  systemic effect, for example, within 3-10 minutes, when the 30 ethylene glycol 400 (PEG 400). Diazepam absorption was
  agent is not absorbed by the gastrointestinal tract, or when 84% and 72%, respectively, in two adults measured over a
  the agent is inactivated in the gastrointestinal tract or by period of 60 hours. However, the peak concentration was not
  first-pass hepatic metabolism. However, administration by observed until 1.4 hours after the nasal administration and
  injection presents a range of disadvantages. For example, was only about 27% with reference to intravenous admin
  sterile Syringes must be used and injections cannot be 35 istration, Suggesting that most of the absorption had taken
  administered by untrained personnel. Furthermore, this place after the test Substance passed down to pharynx and
  mode of administration may cause pain and/or irritation,          swallowed. Similar results were obtained for lorazepam but
  especially in the case of repeated injections at the same site. with an even longer time to peak (2.3 hours). The authors
    Mucosal administration, Such as, intranasal, buccal, Sub        concluded that the intranasal route of administration had
  lingual, rectal and pulmonal administration, is receiving 40 limited potential for the acute treatment of epileptic seizures.
  particular interest as it avoids many of the disadvantages of       Wilton et al. attempted to administer midazolam to 45
  injecting a therapeutic agent while, at the same time, still children to achieve pre-anesthetic sedation (Wilton et al.
  providing a strong and rapid systemic effect. In order to be (1988) Preanaesthetic Sedation of Preschool Children
  an attractive alternative to injection, mucosal administration,  Using Intranasal Midazolam, ANESTHESIOLOGY, 69,972-975).
  for example, intranasal administration, should neither cause 45 However, the volumes used were impractical and exceeded
  significant pain, discomfort or irritation nor cause any irre the maximal volume required for efficient administration.
  versible damage to the mucosal surface. However, in the This resulted in coughing and Sneezing with expulsion of at
  case of acute health threatening indications, a relatively high least part of the dose.
  local irritation to the mucosa may be acceptable.                   Morimoto et al. Studied a gel preparation for nasal appli
     In mucosal administration, such as during nasal, buccal or 50 cation in rats of nifedipine containing the gelling agent
  rectal administration, the therapeutic agent should be carbopol (polyacrylic acid) in PEG 400, for achieving pro
  applied to the mucosa in a vehicle that permits it to pen longed action and high bioavailability of the therapeutic
  etrate, or be absorbed through, the mucosa. In order to agent (Morimoto et al. (1987) Nasal Absorption of Nife
  penetrate the mucus, the vehicle should be biocompatible dipine from Gel Preparations in Rats, CHEMICAL AND PHAR
  with mucus and hence have a certain degree of hydrophi 55 MACEUTICAL BULLETINS, 35, No. 7, 3041-3044). A mixture of
  licity. However, the vehicle should preferably also possess equal amounts of carbopol and PEG 400 was preferred. It
  lipophilic properties to dissolve a clinically relevant amount was shown that nasal application provided higher bioavail
  of the therapeutic agent of interest.                            ability of nifedipine than after peroral administration, but the
     The extensive network of blood capillaries under the peak plasma concentration was not observed until 30 min
  mucosal Surface, especially in the nasal mucosa, is well 60 utes after administration.
  suited to provide a rapid and effective systemic absorption of      Danish Patent Application No. 2586/87 discloses a phar
  drugs, vaccines and biologicals. Moreover, the nasal epithe maceutical composition comprising an anti-inflammatory
  lial membrane in effect contains a single layer of epithelial steroid, water, 2 to 10% (v/v) propylene glycol, 10 to 25%
  cells (pseudostratified epithelium) and, therefore, is more (v/v) PEG 400, and 1 to 4% (v/v) Tween 20.
  Suited for drug administration than other mucosal Surfaces 65 U.S. Pat. No. 4,153,689 discloses a stable aqueous solu
  having squamous epithelial layers, such as, the mouth and tion of insulin intended for intranasal administration. The
  Vagina.                                                          solutions had a pH not more than 4.7, and contained from 0.1
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                                                      US 9,687,495 B2
                                 3                                                            4
  to 20% by weight of a stabilizing agent including (a) one or     In another aspect, the invention provides a liquid formu
  more non-ionic surface active agents whose hydrophile lation for solubilizing a poorly soluble therapeutic agent, for
  lipophile balance value was in the range of 9 to 22, and/or example, a poorly soluble organic therapeutic agent. The
  (b) polyethylene glycol whose molecular weight was in the composition comprises a poorly soluble therapeutic agent
  range of from 200 to 7500. Exemplary non-ionic surface 5 and an alkoxy-polyethylene glycol represented by Formula
  active agents included polyoxyethylene fatty acid ester, a I:
  polyoxyethylene higher alcohol ether, a polyoxyethylene
  alkylphenyl ether, or a polyoxyethylene alkylphenyl ether,           R-O-(CH2CH2O). H                                   (I)
  or a polyoxyethylene hydrogenated castor oil.                    wherein,
     International Patent Publication No. DK-2075/90 dis- 10 R is (C-C)alkyl; and
  closes the nasal administration of therapeutic agents, for       n, which is the average number of oxyethylene repeating
  example, benzodiazepines, in compositions containing units, is a number in the range of from about 1 to about 25.
  n-glycofurol, a derivative of polyethyleneglycol, for            In another aspect, the invention provides methods of
  mucosal administration. The application discloses the nasal delivering a therapeutic agent of interest to a mammal, for
  administration of therapeutic agents, for example, benzodi- 15 example, a human, using an alkoxy-polyethylene glycol
  azepines, in formulations containing at least 30% n-ethyl containing composition described herein. The composition
  eneglycols ranging from 1-8 ethylene glycol, for example, is particularly useful when the composition is applied to a
  polyethylene glycol 200 (PEG 200).                             mucosal membrane, for example, a nasal membrane during
     U.S. Pat. No. 5,693,608 discloses a method of adminis intranasal drug delivery.
  tering a therapeutic agent via the nasal mucosa of a mammal. 20 These and other aspects and advantages of the invention
  where the agent is dissolved or suspended in an n-ethyl will become apparent upon consideration of the following
  eneglycol containing vehicle where the n-ethyleneglycol is detailed description and claims.
  represented by the formula, H(OCHCH.),OH, wherein p is                         DETAILED DESCRIPTION OF THE
  a number from 1 to 8.
     Notwithstanding, there is still a need for compositions 25                               INVENTION
  deliverable through mucosal membranes that produce thera
  peutic plasma concentrations of the therapeutic agent as fast          The invention is based, in part, upon the discovery that the
  as or nearly as fast as by intravenous administration but inclusion of one or more alkoxy-polyethylene glycols into
  without causing irritation and/or unacceptable damage to the formulations provides certain advantages over other excipi
  mucosal membrane.                                                30 ents when the formulations are applied, for example, to a
                                                                      mucosal surface. For example, it has been discovered that
               SUMMARY OF THE INVENTION                               when an alkoxy-polyethylene glycol is used in such a
                                                                      formulation, the therapeutic agent (for example, a poorly
     The invention is based, in part, upon the discovery that the soluble therapeutic agent) can be solubilized more easily and
  inclusion of one or more alkoxy-polyethylene glycols in a 35 in larger amounts than when other excipients, for example,
  formulation provides certain advantages when the resulting polyethylene glycol (more particularly PEG 400), are used.
  composition is to be applied, for example, to a mucosal However, the resulting formulations are less Viscous and
  surface. For example, it has been discovered that when cause less irritation to mucosal membranes as the amount of
  alkoxy-polyethylene glycol is used in such formulations, the other viscous and irritable excipients can be reduced or
  therapeutic agent can be still be solubilized (which is 40 eliminated altogether. As a result, the lower viscosity for
  especially useful for poorly soluble therapeutic agents) but mulations, when converted into droplets, for example, by a
  the resulting formulations are less viscous and cause less nasal sprayer during intranasal delivery, produce a spray
  irritation to mucosal membranes because the amount of               pattern optimized for delivering the therapeutic agent to the
  other potentially viscous and irritable excipients, for mucosal membrane. In addition, formulations containing
  example, polyethylene glycol or propylene glucol, can be 45 one or more alkoxy-polyethylene glycols cause less irrita
  reduced or eliminated altogether. As a result, the lower tion (for example, a burning sensation) when applied to a
  viscosity formulations, when converted into droplets, for mucosal surface, for example, a nasal membrane during
  example, by a nasal sprayer during intranasal delivery, can intranasal administration. In addition, when administered
  produce a spray pattern optimized for delivering the thera intranasally, the compositions of the invention have less
  peutic agent to the mucosal membrane. In addition, formu- 50 undesirable after taste (for example, a petroleum-like after
  lations containing alkoxy-polyethylene glycols create less taste) than when other excipients, for example, propylene
  irritation (burning sensation) when applied to a mucosal glycol, are used.
  surface, for example, a nasal membrane following nasal                 Under certain circumstances, the alkoxy-group also
  administration. In addition, when administered intranasally, increases the bioadhesion of the composition to the site of
  the compositions of the invention minimize undesirable after 55 administration on the mucosal surface thereby prolonging
  taste (for example, a petroleum-like after taste) that can be the duration of the composition at the site of administration.
  associated with certain other excipients.                           This can increase the amount of therapeutic agent that is
     In one aspect, the invention provides a liquid pharmaceu ultimately absorbed.
  tical composition comprising a therapeutic agent and an I—Formulations
  alkoxy-polyethylene glycol represented by Formula I:             60 In one aspect, the invention provides a liquid pharmaceu
                                                                      tical composition comprising a therapeutic agent and an
         R-O-(CH2CH2O). H                                      (I)    alkoxy-polyethylene glycol represented by Formula I:
    wherein,
    R is methyl, ethyl, n-propyl, isopropyl, or cyclopropyl;                 R-O-(CH2CH2O). H                                     (I)
  and                                                             65     wherein,
     n, which is the average number of oxyethylene repeating             R is methyl, ethyl, n-propyl, isopropyl, or cyclopropyl;
  units, is a number in the range of from about 1 to about 25.         and
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                                                         US 9,687,495 B2
                                 5                                                                      6
     n is the average number of oxyethylene repeating units             The pharmaceutical composition can have a pH in the
  and is a number in the range of from about 1 to about 25.          range of from about 4.5 to about 8.5, or from about 4.5 to
     In another aspect, the invention provides a liquid formu about 7.5, or from about 4.5 to about 6.5, or from about 5.5
  lation for solubilizing a poorly soluble therapeutic agent. to about 8.5, or from about 6.5 to about 8.5, or from about
  The liquid pharmaceutical composition comprises a poorly 5 5.5 to about 7.5.
  soluble therapeutic agent, for example, a poorly soluble              As discussed, one of the advantages of using an alkoxy
  organic therapeutic agent, and an alkoxy-polyethylene gly polyethylene glycol is that it can be used in place of or can
  col represented by Formula I:                                      be used to reduce the amount of other excipients, for
                                                                     example, certain polyethylene glycols and propylrnr glycol,
         R-O-(CH2CH2O). H                                     (I) 10 so as to reduce the viscosity of the resulting formulation. By
     wherein,                                                        reducing the Viscosity of the resulting formation it is pos
     R is (C-C)alkyl, and                                            sible to create sprays that have more uniform spray charac
                                                                     teristics
     n is the average number of oxyethylene repeating units plume geometries)    (for example, more uniform droplet sizes and/or
  and is a number in the range of from about 1 to about 25. The 1 5 peutic                   for the intranasal administration of thera
  formulations typically are in liquid form at 20°C., 25°C., temperature of 20° C. has apharmaceutical
                                                                             agent.   The  resulting
                                                                                                        viscosity  in
                                                                                                                        composition at a
                                                                                                                      the  range of about
  30°C., 35°C., or 40° C. Certain formulations preferably are        1.5 cP   to  about 60   cP, or from  about  2 cP  to about  50 cP, or
  liquid formulations at 37° C.
     The term “poorly soluble therapeutic agent” refers to a from           about 3 cB to about 40 cB, or from about 4 cB to about
  compound having biological activity and a solubility in 30Exemplary    cP, or from about 5 cP to about 25 cP.
                                                                                        alkoxy-polyethylene glycols, therapeutic
  water of less than about 1 mg/mL at pH 7 and 20° C. In agents, and other excipients useful in creating compositions
  certain embodiments, the poorly soluble therapeutic agent is of the invention are described in the following sections.
  an organic compound that has a molecular weight of less               A. Alkoxy-polyethylene Glycol
  than 1500 g/mol, and preferably less than 500 g/mol. In
  certain embodiments, the poorly soluble therapeutic agent is 25 theUseful        alkoxy-polyethylene glycol excipients useful in
                                                                         practice of the invention are represented by Formula (I):
  a compound, for example, an organic compound, having an
  aqueous solubility of less than about 0.5 mg/mL, less than                R-O-(CH2CH2O). H                                            (I)
  about 0.3 mg/mL, or less than about 0.1 mg/mL, at pH 7 and            wherein, n, as the average number of oxyethylene repeat
  200 C.
                                                                     ing
     In addition, the term “alkyl is art-recognized, and 25. Accordingly, units, is a number in the range of from about 1 to about
  includes saturated aliphatic groups, including straight-chain 8, 9, 10, 11, 12, 13,     in can be a number about 1, 2, 3, 4, 5, 6, 7,
  alkyl groups, branched-chain alkyl groups, cycloalkyl (ali or 25. In certain embodiments,   14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24,
  cyclic) groups, alkyl Substituted cycloalkyl groups, and of from about 2 to about 15, or from            n is an number in the range
  cycloalkyl substituted alkyl groups. The term “(C-C) from about 2 to about 13, or from about                   about 2 to about 14, or
  alkyl refers to an alkyl group having between 1 and 6 from about 2 to about 11, or from about 22 to                        about 12, or
  carbon atoms. Representative alkyl groups include methyl, from about 3 to about 15, or from about 3 to about            to
                                                                                                                             about
                                                                                                                                    10, or
                                                                                                                                    14, or
  ethyl, n-propyl, isopropyl. n-butyl, sec-butyl, isobutyl, tert
  butyl, pentyl, hexyl, cyclopropyl, cyclobutyl, cyclopropyl from about 3 to about 13, or from about 3 to about 12, or
  methylene, cyclopentyl, cyclobutylmethylene, cyclobutyl from              about 3 to about 11, or from about 3 to about 10.
  ethylene,          cyclohexyl,         cyclopropylpropylene, 40 as Indiscussed
                                                                            certain embodiments, R is (C-C)alkyl. For example,
                                                                                       above, R can be methyl, ethyl, n-propyl.
  cyclobutylethylene, and cyclopentylmethylene. The term isopropyl. n-butyl,
  cyclopropylmethylene, for example, is art-recognized and hexyl, cyclopropyl,sec-butyl,                   isobutyl, tert-butyl, pentyl,
                                                                                                  cyclobutyl, cyclopropylmethylene,
  refers to a radical having the following formula:                  cyclopentyl, cyclobutylmethylene, cyclobutylethylene,
                                                                     cyclohexyl, cyclopropylpropylene, cyclobutylethylene, or
                                                                  45 cyclopentylmethylene. In certain embodiments, R is

                          "...y                                      selected from the group consisting of methyl, ethyl, n-pro
                                                                     pyl, isopropyl, and cyclopropyl.
                                                                        In a preferred embodiment, the alkoxy-polyethylene gly
                                                                     col is methoxy-polyethylene glycol where R is methyl and
     In certain embodiments, the alkoxy-polyethylene glycol 50 n is an number from about 1 to about 25, or from about 2 to
  can comprise from about 0.1% (v/v) to about 80% (v/v), or about 12, or from about 3 to about 10.
  from about 0.5% (v/v) to about 70% (v/v), of the composi              Useful methoxy-polyethylene glycols include, for
  tion. In certain other embodiments, the alkoxy-polyethylene example, methoxy-diethyleneglyol (m2EG), methoxy-tri
  glycol can comprise from about 5% (v/v) to about 80% ethylene glycol (m3EG), methoxy-tetraethylene glycol
  (v/v), or from about 30% (v/v) to about 75% (v/v) or from 55 (m4EG), methoxy-pentaethylene glycol (mSEG), methoxy
  about 40% (v/v) to about 70% (v/v), of the composition. For hexaethylene glycol (m6EG), methoxy-heptaethylene glycol
  certain hydrophilic drugs, the alkoxy-polyethylene glycol (m7EG), methoxy-octaethylene glycol (m8EG), methoxy
  can comprise from about 0.1% (v/v) to about 80% (v/v), or nonaethylene glycol (m9EG), methoxy-decaethylene glycol
  from about 0.5% (v/v) to about 70% (v/v), or from about 1% (m10EG), methoxy-undecaethylene glycol (m11EG),
  (v/v) to about 60% of the composition. For certain lipophilic 60 methoxy-dodecaethylene glycol (m12EG), methoxy-tride
  drugs, the alkoxy-polyethylene glycol can comprise from caethylene glycol (m13EG) and methoxy-tetradecaethylene
  about 1% (v/v) to about 80% (v/v), or from about 2% (v/v) glycol (m14EG). The ethylene glycols may be used in the
  to about 65% (v/v), or from about 5% (v/v) to about 50% of form of the single compounds or as a mixture of two or more
  the composition. Furthermore, the therapeutic agent can methoxy-n-ethylene glycols.
  comprise from about 0.001% (w/v) to about 20% (w/v) of 65 In certain embodiments, the alkoxy-polyethylene glycol is
  the composition, or from about 0.1% (w/v) to about 10% methoxy-polyethylene glycol 350 (mPEG 350) or is
  (w/v) of the composition.                                          methoxy-polyethylene glycol 550 (mPEG 550) or is
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  methoxy-polyethylene glycol 750 (mPEG 750). The term               ant, nitrate and other anti-anginal agent, a nutritional agent,
  “mPEG 350' is understood to mean methoxy polyethylene              an opioid analgesic, sex hormone, stimulant, cytokine, pep
  glycol having an average molecular weight of about 350,            tidomimetic, peptide, protein, toxoid, Sera, antibody, vac
  and in certain embodiments “n,” as denoted in Formula I, is        cine, nucleoside, nucleotide, nucleic acid and peptidyl
  7.2. The term “mPEG550' is understood to mean methoxy 5 nucleic acid.
  polyethylene glycol having an average molecular weight of             Specific non-limiting examples of hydrophobic therapeu
  about 550, and in certain embodiments “n,” as denoted in           tic agents that can be used in the pharmaceutical composi
  Formula I, is 11.8. The term “mPEG750' is understood to            tions of the present invention include the following repre
  mean methoxy polyethylene glycol having an average sentative compounds, as well as their pharmaceutically
  molecular weight of about 750, and in certain embodiments 10 acceptable salts, isomers, esters, ethers and other derivatives
  “n,” as denoted in Formula I, is 16.3.                             including, for example: (1) analgesics and anti-inflammatory
     Certain, preferred alkoxy-polyethylene glycols include agents, such as, aloxiprin, auranofin, azapropaZone, beno
  CarbowaxTM mPEG 350, CarbowaxTM mPEG 550 or Car                    rylate, capsaicin, celecoxib, diclofenac, diflunisal, etodolac,
  bowaxTM mPEG 750, which are available commercially fenbufen, fenoprofen calcium, flurbiprofen, ibuprofen, indo
  from Dow Chemical Company. Both mPEG350 and 15 methacin, ketoprofen, ketorolac, leflunomide, meclofenamic
  mPEG550 are colorless liquids that are miscible with water, acid, mefenamic acid, nabumetone, naproxen, oxaprozin,
  alcohols, such as methanol, ethanol, n-propanol, glycerol oxyphenbutaZone, phenylbutaZone, piroXicam, refocoxib,
  and various oils in all proportions, and have a boiling point Sulindac, tetrahydrocannabinol, tramadol and tromethamine;
  about 155° C. It is understood that alkoxy-polyethylene (2) anti-arrhythmic agents, such as, amiodarone HCl,
  glycols are known by other names, where, for example, disopyramide, flecainide acetate and quinidine Sulfate; (3)
  methoxy-polyethylene glycol is also known as mono-methyl anti-asthma agents, such as, Zileuton, Zafirlukast, montelu
  polyethylene glycol and poly(ethylene glycol) methyl ether. kast, and albuterol; (4) anti-bacterial agents, such as,
     By using one or more of the alkoxy-polyethylene glycols baclofen, benZathine penicillin, cinoxacin, clarithromycin,
  described herein, the resulting pharmaceutical compositions clofazimine, cloxacillin, demeclocycline, dirithromycin,
  can be optimized, for example, with respect to bioadhesion, 25 doxycycline, erythromycin, ethionamide, furazolidone, gre
  viscosity and sprayability. For example, mPEG 350, at an pafloxacin, imipenem, levofloxacin, lorefloxacin, moxi
  equivalent concentration as PEG 200, can still solubilize a floxacin HCl, nalidixic acid, nitrofurantoin, norfloxacin,
  therapeutic agent but the resulting composition has a lower ofloxacin, rifampicin, rifabutine, rifapentine, sparfloxacin,
  Viscosity. As a result, this Substitution has a Surprisingly spiramycin, Sulphabenzamide, Sulphadoxine, Sulphamera
  positive effect on the sprayability compared with lower 30 Zine, Sulphacetamide, Sulphadiazine, Sulphafurazole, Sul
  molecular weight PEG 200, which is important where the phamethoxazole, Sulphapyridine, tetracycline, trimethoprim
  formulation is to be sprayed.                                      and trovafloxacin; (5) anti-viral agents, such as, abacavir,
     B. Therapeutic Agent                                            amprenavir, delavirdine, efavirenz, indinavir, lamivudine,
     The pharmaceutical composition of the invention may nelfinavir, nevirapine, ritonavir, saquinavir, and stavudine;
  comprise one or more therapeutic agents (also referred to as 35 (6) anti-coagulants, such as, ciloStaZol, clopidogrel, dicuma
  biologically active Substances) selected from the group rol, dipyridamole, nicoumalone, oprelvekin, phenindione,
  consisting of hydrophobic therapeutic agents, hydrophilic ticlopidine, and tirofiban; (7) anti-depressants, such as
  therapeutic agents, and combinations thereof.                      amoxapine, bupropion, citalopram, clomipramine, maproti
     The alkoxy-polyethylene glycol excipients are surpris line HCl, mianserin HCl, nortriptyline HCl, paroxetine HCl,
  ingly capable of solubilizing and delivering a wide variety of 40 sertraline HCl, trazodone HCl, trimipramine maleate, and
  hydrophilic and hydrophobic therapeutic agents. The hydro Venlafaxine HCl; (8) anti-diabetics, such as, acetohexamide,
  phobic drugs have little or no water solubility. It is under chlorpropamide, glibenclamide, gliclazide, glipizide,
  stood that the excipients described herein can be used to glimepiride, miglitol, pioglitaZone, repaglinide, rosiglita
  solubilize therapeutic agents that have a solubility in water Zone, tolaZamide, tolbutamide and troglitaZone; (9) anti
  of less than about 1.0 mg/mL, less than about 0.5 mg/mL, 45 epileptics, such as, beclamide, carbamazepine, clonazepam,
  less than about 0.3 mg/mL, or less than about 0.1 mg/mL, or ethotoin, felbamate, fosphenytoin Sodium, lamotrigine,
  less than about 0.01 mg/mL, at pH 7 and 20° C. Such methoin, methSuximide, methylphenobarbitone, oXcarba
  therapeutic agents can be any agents having therapeutic or Zepine, paramethadione, phenacemide, phenobarbitone,
  other value when administered to a mammal, for example, a phenytoin, phensuximide, primidone, Sulthiame, tiagabine
  human, and can include organic molecules (for example, 50 HCl, topiramate, Valproic acid, and vigabatrin; (10) anti
  Small molecule drugs having a molecular weight of less than fungal agents, such as, amphotericin, butenafine HCl, buto
  1,500 g/mol., or less than 500 g/mol.), proteins, peptides, conazole nitrate, clotrimazole, econazole nitrate, flucon
  immunogens (e.g. Vaccines, cytokines, etc.), nutrients, and azole, flucytosine, griseofulvin, itraconazole, ketoconazole,
  cosmetics (cosmeceuticals).                                        miconazole, natamycin, nystatin, Sulconazole nitrate, oxi
     In certain embodiments, the therapeutic agent is an anal 55 conazole, terbinafine HCl, terconazole, tioconazole and
  gesic agent, an anti-inflammatory agent, an anti-arrhythmic undecenoic acid; (11) anti-hypertensive agents, such as,
  agent, an anti-asthma agent, an anti-bacterial agent, an amlodipine, benidipine, benezepril, candesartan, captopril,
  anti-viral agent, an anti-coagulant, an anti-depressant, an darodipine, dilitazem HCl, diazoxide, doxazosin HCl,
  anti-diabetic, an anti-epileptic, an anti-fungal agent, an anti elanapril, eposartan, losartan mesylate, felodipine, fenoldo
  hypertensive agent, an anti-malarial, an anti-migraine agent, 60 pam, fosenopril, guanabenZ acetate, irbesartan, isradipine,
  an anti-muscarinic agent, an anti-neoplastic agent, an immu lisinopril, minoxidil, nicardipine HCl, nifedipine, nimo
  nosuppressant, an anti-protozoal agent, an anti-thyroid dipine, nisoldipine, phenoxybenzamine HCl, praZosin HCl,
  agent, an anxiolytic agent, a sedative, a hypnotic agent, a quinapril, reserpine, teraZosin HCl, telmisartan, and Valsar
  neuroleptic agent, a beta-Blocker, a cardiac inotropic agent, tan; (12) anti-malarials, such as, amodiaquine, chloroquine,
  a corticosteroid, a diuretic agent, an anti-Parkinsonian agent, 65 chlorproguanil HCl, halofantrine HCl, mefloquine HCl,
  a gastrointestinal agent, an anti-histamine, a histamine proguanil HCl, pyrimethamine and quinine Sulfate; (13)
  receptor antagonist, a lipid regulating agent, a muscle relax anti-migraine agents, such as, dihydroergotamine mesylate,
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  ergotamine tartrate, froVatriptan, methysergide maleate, essential fatty acids, phytonadiol, Vitamin A, vitamin B,
  naratriptan HCl, pizotyline malate, rizatriptan benzoate, Vitamin D. Vitamin E and vitamin K; (30) opioid analgesics,
  Sumatriptan Succinate, and Zolmitriptan: (14) anti-muscar Such as, codeine, dextropropoxyphene, diamorphine, dihy
  inic agents, such as, atropine, benzhexol HCl, biperiden, drocodeine, fentanyl, meptazinol, methadone, morphine,
  ethopropazine HCl, hyoscyamine, oxyphencyclimine HCl hydromorphone, nalbuphine and pentazocine; (31) sex hor
  and tropicamide; (15) anti-neoplastic agents and immuno mones, such as, clomiphene citrate, cortisone acetate, dana
  Suppressants, such as, aminoglutethimide, amsacrine, aza Zol, dehydroepiandrosterone, ethynyl estradiol, finasteride,
  thioprine, bicalutamide, bisantrene, buSulfan, camptothecin, fludrocortisone, fluoxymesterone, medroxyprogesterone
  chlorambucil, cyclosporin, dacarbazine, ellipticine, estra acetate, megestrol acetate, mestranol, methyltestosterone,
  mustine, etoposide, irinotecan, lomustine, melphalan, mer 10 norethisterone, norgestrel, oestradiol, conjugated estrogens,
  captopurine, mitomycin, mitotane, mitoxantrone, mofetil progesterone, rimexolone, stanozolol, stilbestrol, testoster
  mycophenolate, nilutamide, paclitaxel, procarbazine HCl, one and tibolone; and (32) stimulants, such as, amphet
  Sirolimus, tacrolimus, tamoxifen citrate, teniposide, testo amine, dexamphetamine, dexfenfluramine, fenfluramine and
  lactone, topotecan HCl, and toremifene citrate; (16) anti mazindol; and others, such as, becaplermin, donepezil HCl,
  protozoal agents, such as, atovaquone, benznidazole, clio 15 L-thrynoXine, methoXSalen, Verteporfirin, physostigmine,
  quinol, decoquinate, diiodohydroxyquinoline, diloxanide pyridostigmine, raloxifene HCl, sibutramine HCl, sildenafil
  furoate, dinitolmide, furazolidone, metronidazole, nimora         citrate, tacrine, tamsulosin HCl, and tolterodine.
  Zole, nitrofuraZone, ornidazole and tinidazole; (17) anti              Certain exemplary hydrophobic therapeutic agents
  thyroid agents, such as, carbimazole, paracalcitol, and pro include sildenafil citrate, amlodipine, tramadol, celecoxib,
  pylthiouracil; anti-tussives, such as, benzonatate; (18) rofecoxib, oxaprozin, nabumetone, ibuprofen, terbenafine,
  anxiolytics, sedatives, hypnotics and neuroleptics, such as, itraconazole, Zileuton, Zafirlukast, cisapride, fenofibrate,
  alprazolam, amylobarbitone, barbitone, bentazepam, bro tizanidine, nizatidine, feXofenadine, loratadine, famotidine,
  mazepam, bromperidol, brotizolam, butobarbitone, carbro paricalcitol, atovaquone, nabumetone, alprazolam, bro
  mal, chlordiazepoxide, chlormethiazole, chlorpromazine, mazepam, chlorpromazine, clonazepam, diazepam, fluni
  chlorprothixene, clonazepam, clobazam, clotiazepam, clo 25 trazepam, flurazepam, haloperidol, lorazepam, lormetaze
  Zapine, diazepam, droperidol, ethinamate, flunanisone, pam, midazolam, nitrazepam, oxazepam, pseudoephedrine,
  flunitrazepam, triflupromazine, fluiphenthixol decanoate, flu temazepam, triazolam, Zolpidem, Zopiclone, tetrahydrocan
  phenazine decanoate, flurazepam, gabapentin, haloperidol. nabinol, testosterone, megestrol acetate, repaglinide, pro
  lorazepam, lormetazepam, medazepam, meprobamate, gesterone, rimexolone, cyclosporin, tacrolimus, Sirolimus,
  mesoridazine, methaqualone, methylphenidate, midazolam, 30 teniposide, paclitaxel, pseudoephedrine, troglitaZone,
  molindone, nitrazepam, olanzapine, oxazepam, pentobarbi rosiglitaZone, finasteride, Vitamin A, vitamin D. Vitamin E,
  tone, perphenazine pimozide, prochlorperazine, pseu and pharmaceutically acceptable salts, isomers and deriva
  doephedrine, quetiapine, rispiridone, sertindole, Sulpiride, tives thereof. It should be appreciated that the listing of
  temazepam, thioridazine, triazolam, Zolpidem, and Zopi hydrophobic therapeutic agents and their therapeutic classes
  clone; (19) beta-Blockers, such as, acebutolol, alprenolol, 35 is merely illustrative. It is understood, that mixtures of
  labetalol, metoprolol, nadolol, Oxprenolol, pindolol and pro hydrophobic therapeutic agents may also be used where
  pranolol; (20) cardiac inotropic agents, such as, amrinone, desired.
  digitoxin, digoxin, enoXimone, lanatoside C and medigoxin;             An advantage of using alkoxy-polyethylene glycol as an
  (21) a corticosteroid, such as, beclomethasone, betametha excipient in the pharmaceutical composition is that, for
  Sone, budesonide, cortisone acetate, desoxymethasone, dex 40 example, highly lipophilic Substances, such as, lorazepam,
  amethasone, fludrocortisone acetate, flunisolide, fluocor           midazolam, clonazepam, alprazolam and other compounds
  tolone,       fluticasone      propionate,      hydrocortisone,     belonging to the benzodiazepines, as well as water soluble
  methylprednisolone, prednisolone, prednisone and triamci Substances, for example, peptides and proteins, such as, the
  nolone; (22) diuretics, such as, acetazolamide, amiloride, pancreatic hormones can be solubilized in a clinically rel
  bendroflumethiazide, bumetanide, chlorothiazide, chlortha 45 evant volume (for example, 25-300 uL) for delivery to a
  lidone, ethacrynic acid, frusemide, metolaZone, spironolac human Subject. By way of comparison, clinically relevant
  tone and triamterene; (23) anti-Parkinsonian agents, such as, doses of midazolam, lorazepam, alprazolam, diazepam and
  bromocriptine mesylate, lysuride maleate, pramipexole, rop clonazepam would have to be dissolved in at least 5 mL of
  inirole HCl, and tolcapone; (24) gastrointestinal agents. Such Water.
  as bisacodyl, cimetidine, cisapride, diphenoxylate HCl, 50 Although the alkoxy-polyethylene glycol excipients are
  domperidone, famotidine, lanSoprazole, loperamide, particularly useful for the delivery of hydrophobic agents,
  mesalazine, nizatidine, omeprazole, ondansetron HCl, rabe alkoxy-polyethylene glycol can also be used to deliver a
  prazole sodium, ranitidine HCl and sulphasalazine; (25) variety of hydrophilic therapeutic agents. Alkoxy-polyeth
  anti-histamines and histamine-receptor antagonists, such as, ylene glycols, under certain circumstances, may prolong the
  acrivastine, astemizole, chlorpheniramine, cinnarizine, 55 duration of the therapeutic agent at the absorption site
  cetrizine, clemastine fumarate, cyclizine, cyproheptadine thereby increasing the amount of agent ultimately delivered.
  HCl, dexchlorpheniramine, dimenhydrinate, fexofenadine,             Exemplary hydrophilic therapeutic agents include hydro
  flunarizine HCl, loratadine, meclizine HCl, oxatomide, and          philic drugs (i.e., conventional non-peptidic drugs), hydro
  terfenadine; (26) lipid regulating agents, such as, atorvasta philic macromolecules, such as, cytokines, peptides, pro
  tin, bezafibrate, cerivastatin, ciprofibrate, clofibrate, fenofi 60 teins, peptidomimetics, toxoids, Sera, antibodies, vaccines,
  brate, fluvastatin, gemfibrozil, pravastatin, probucol, and nucleosides, nucleotides, nucleic acids, and genetic material.
  simvastatin; (27) muscle relaxants, such as, dantrolene The hydrophilic therapeutic agent can be administered alone
  sodium and tizanidine HCl; (28) nitrates and other anti or in combination with other agents, for example, a hydro
  anginal agents, such as, amyl nitrate, glyceryl trinitrate, phobic therapeutic agent discussed hereinabove or a second,
  isosorbide dinitrate, isosorbide mononitrate and pentaeryth 65 different hydrophilic therapeutic agent.
  ritol tetranitrate; (29) nutritional agents, such as, calcitriol,      Without limitation, exemplary hydrophilic therapeutic
  carotenes, dihydrotachysterol, essential fatty acids, non agents that can be delivered using the compositions and
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  methods of the present invention, include the following        Vancomycin; Valaciclovir, Varicella virus vaccine live; vaso
  compounds as well as their pharmaceutically acceptable         pres sin and vasopessin derivatives; Vecoronium bromide;
  salts, isomers, esters, ethers and other derivatives, for      Vinbiastin; Vincristine; vinorelbine; warfarin-sodium; yel
  example: acarbose; acyclovir, acetyl cysteine; acetylcholine low fever vaccine; Zalcitabine; Zanamavir, Zolandtronate;
  chloride; alatrofloxacin; alendronate; alglucerase; amanta and Zidovudine.
  dine hydrochloride; ambenomium; amifostine; aminocap              Other therapeutic agents that can be administered in this
  roic acid; antihemophilic factor (human); antihemophilic formulation may comprise adrenal hormones, corticoster
  factor (porcine); antihemophilic factor (recombinant); apro oids and derivatives, such as, ACTH and analogs thereof,
  tinin; asparaginase; atenolol; atracurium besylate; azithro teracosactrin, alsactide, cortisone, hydrocortisone alcohol,
  mycin; aztreonam, BCG vaccine; bacitracin; becalermin; 10 hydrocortisone acetate, hydrocortisone hemisuccinate, pred
  belladona; bepridil hydrochloride; bleomycin sulfate; calci nisolone terbutate, 9-alpha-fluoroprednisolone, triamcino
  tonin human; calcitonin salmon; carboplatin: capecitabine; lone acetonide, dexamethasone phosphate, flurisolide, toxi
  capreomycin Sulfate; cefamandole nafate; cefazolin Sodium; corol pivalate; anorectics, such as, benZphetamine HCl
  cefepime hydrochloride, cefixime; cefonicid sodium, cefop chlorphentermine HCl; antibiotics, such as, tetracycline
  eraZone, cefotetan disodium, cefotoxime; cefoxitin Sodium; 15 HCl, tyrothricin, cephalosporine, aminoglycosides, strepto
  ceftizoxime; ceftriaxone, cefuroxime axetil, cephalexin; mycin, gentamycin, leucomycin, penicillin and derivatives;
  cephapirin Sodium; cholera vaccine; chorionic gonadotro anti-allergic agents; antibodies, such as, monoclonal or
  pin; cidofovir, cisplatin: cladribine; clidinium bromide; clin polyclonal antibodies; anti-cholinergic agents; anti-depres
  damycin and clindamycin derivatives; ciprofloxacin; clon sants, such as, amitriptyline HCl, imipramine HCl; anti
  dronate; colistimethate sodium; colistin Sulfate;              emitics, such as, neuroleptica, for example, metopimazin,
  cortocotropin; cosyntropin; cromalyn Sodium: cytarabine; anti-emetics having a regulatory effect on the motility of the
  daltaperin Sodium; danaproid; deforoxamine; denileukin intestine, Such as, domperidon; anti-histaminic agents and
  diftitox; desmopressin; diatrizoate megluamine and diatrizo histaminic agents, such as, diphenhydramin HCl, chlorophe
  ate Sodium; dicyclomine; didanosine; dopamine hydrochlo niramine maleate, histamine, prophenpyridamine maleate,
  ride; dornase alpha: doxacurium chloride: doxorubicin; 25 chlorprophenpyridamine maleate, disodium cromoglycate,
  editronate disodium; elanaprilat, enkephalin; enoxacin; meclizine; anti-hypertensive agents, such as, clonidine HCl;
  enoxaprin Sodium; ephedrine; epinephrine; epoetin alpha; anti-inflammatory agents (enzymatic). Such as, chy
  esmol hydrochloride; Factor IX; famiciclovir; fludarabine; motrypsin, bromelain seratiopeptidase; anti-inflammatory
  fluoxetine; foscarnet Sodium; ganciclovir, granulocyte agents (non-steroidal). Such as, acetaminophen, aspirin,
  colony stimulating factor; granulocyte-macrophage stimu 30 aminopyrine, phenylbutaZone, colchicine, probenocid; anti
  lating factor; growth hormones (human or bovine); gen inflammatory agents (steroidal). Such as, fluticasone, pre
  tamycin; glucagon; glycopyrolate; gonadotropin releasing donisolone, triaxncinolone acetonide; anti-neoplastic
  hormone and synthetic analogs thereof, GnRH; gonadorelin; agents, such as, actinomycin C.; anti-septics, such as, chlo
  grepafloxacin; hemophilus B conjugate vaccine; Hepatitis A rhexidine HCl, hexylresorcinol, dequalinium cloride,
  virus vaccine inactivated; Hepatitis B virus vaccine inacti 35 ethacridine; anti-tussive expectorant (asthmatic agents),
  vated; heparin Sodium; indinavir Sulfate; influenza virus Such as, Sodium cromoglycate, isoprotereol HCl; anti-viral
  vaccine; interleukin-2; interleukin-3; insulin-human; insu     and anti-cancer agents such as interferons (such as alpha-2
  lin-porcine; insulin NPH; insulin aspart; insulin glargine; interferon for treatment of common colds), phenyl-p-guani
  insulin deternir, interferon-C.; interferon-B; ipratropium bro dino benzoate, enviroxime, etc.; beta-adrenergic blocking
  mide; isofosfamide: japanese encephalitis virus vaccine; 40 agents, such as, propranolol HCl, blood factors. Such as,
  leucovorin calcium; leuprolide acetate; levofloxacin; linco factor VII, factor VIII; bone metabolism controlling agents,
  mycin and lincomycin derivatives; lobucavir, lomefloxacin;     such as, vitamin D; bronchoisters, such as, clenbuterol HCl,
  loracarbef mannitol; measles virus vaccine; meningococcal bitolterol mesylate; cardiotonics Such as digitalis; cardio
  vaccine; menotropins; mephenzolate bromide; mesalmine; vascular regulatory hormones, drugs and derivatives, such
  methanamine; methotrexate; methScopolamine; metformin 45 as, bradykin antagonists, atrial natriuretic peptide and
  hydrochloride; metroprolol; mezocillin Sodium; mivacurium derivatives, such as, hydrailsazine, angiotensin II antagonist,
  chloride; mumps viral vaccine; nedocromil Sodium; neostig nitroglycerin, propranolol, clofilium rosylate; chemothera
  mine bromide; neostigmine methyl Sulfate; neutontin; nor peutic agents, such as, Sulphathiazole, nitrofuraZone; CNS
  floxacin; Octreotide acetate; olpadronate; oxytocin, pamidro stimulants, such as, lidocaine, cocaine; corticosteroids. Such
  nate disodium; pancuronium bromide; paroxetine; 50 as, lacicortone, hydrocorticeone, fluocinolone acetonide, tri
  pefloxacin; pentamindine isethionate; pentostatin: pentoxif amcinolone acetonide; enzymes, such as, lysozyme chloride,
  ylline; periciclovir, pentagastrin; phentolamine mesylate; dextranase; gastrointenstinal hormones and derivatives,
  phenylalanine; physostigmine salicylate; plague vaccine;       Such as, Secretin, Substance P; hypothalamus hormones and
  piperacillin Sodium; platelet derived growth factor-human; derivatives, such as, LHRH and analogues (such as nafer
  pneumococcal vaccine polyvalent; poliovirus vaccine (live 55 elin, buserelin, Zolidex), TRH (thyrotropin releasing hor
  or inactivated); polymixin B sulfate; pralidoxine chloride: mone); hypothensives; local anaesthetics, such as, benzo
  pramlintide; pregabalin; propofenone; propenthaline bro caine; migraine treatment Substances, such as, dihydroergot
  mide; pyridostigmine bromide; rabies vaccine; residronate; amine, ergometrine, ergotamine, pizotizin; pancreatic hor
  ribavarin: rimantadine hydrochloride; rotavirus vaccine; sal mones and derivatives, such as, insulin (hexameric? dimeric/
  metrol Xinafoate; sincalide; Small pox vaccine; solatol; 60 monomeric forms); parasympathomimetics, such as, nico
  Somatostatin: sparfloxacin; spectinomycin; stavudine; Strep tine, methacholine; parasympatholytics, such as,
  tokinase; streptozocin, suxamethonium chloride; tacrine Scopolamine, attopine, ipratropium; Parkinson's disease
  hydrochloride; terbutaline sulfate; thiopeta: ticarcillin;     Substances, such as, apomorphin, pituitary gland hormones
  tiludronate; timolol, tissue type plasminogen activator; and derivatives, such as, growth hormone (e.g. human),
  TNFR:Fc: TNK-tRA; trandolapril; trimetrexate gluconate: 65 vasopressin and analogues (DDAVP, Lypressin); prostaglan
  trospectinomycin; trovafloxacin; tubocurarine chloride; dins, such as, PGA and derivatives thereof. PGE and
  tumor necrosis factor, typhoid vaccine live; urea; urokinase; derivatives thereof, PGE and derivatives thereof, PGF and
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                                 13                                                               14
  derivatives thereof, dinoprost trometamol; protease inhibi       peptidase  inhibitors, diisopropylfluorophosphate  (DFP), car
  tors, such as, citrate, or O-antitrypsin; sex-hormones, such bopol. Exemplary stabilizers include, for example, cyclo
  as, ethinyloestradiol, levonorgestrel, FSH. LH, LTH, estra dextrins.
  diol-17-beta, norethindrone; sympathomimetics, such as,             Although it is understood that the alkoxy-polyethylene
  phenylephrine, Xylometazoline, tramaZoline, dopamine, glycols described herein, for example, methoxy-polyethyl
  dobutamine; sleep-aids, such as granistron and ramelteon, ene glycol, can solubilize poorly soluble therapeutic agents,
  tranquilizers, such as, brotizolam, camazepam, chloraZepic under certain circumstances, it may be helpful to include
  acid, cloxazolam, delorazepam, estazolam, ethyl loflazepate, additional compounds that enhance the solubility of the
  fludiazepam, flutazolam, halazepam, haloxazolam, ketazo therapeutic agent. Examples of Such solubilizers include, for
  lam, loprazolam, lormetazepam, nimetazepam, nitrazepam, 10 example, alcohols and polyols, such as ethanol, isopropanol,
  nordiazepam, oxazepam, pinazepam, prazepam, temaze butanol, benzyl alcohol, ethylene glycol, propylene glycol,
  pam, tetrazepam, tofisopam; vaccines, such as, AIDS-vac butanediols and isomers thereof, glycerol, pentaerythritol,
  cines, parainfluenza virus, polio, rhinovirus type 13, respi
  ratory syncytial virus; vasoconstrictors, such as, ylene         Sorbitol, mannitol, transcutol, dimethyl isosorbide, polyeth
  phenylephrine HCl, tetrahydrozoline HCl, naphazoline 15                  glycol, polypropylene glycol, pegylated-mono/di
  nitrate, oxymetazoline HCl, tramazoline HCl; vasodilators,       caprylic/capric  glycerides, polyvinylalcohol, hydroxypropyl
  such as, papaverine HCl, Substance P. vasoactive intestinal      methylcellulose   and other cellulose derivatives, cyclodex
  peptide (VIP).                                                   trins (for example, Cl-, 3-, or Y-cyclodextrins) and cyclodex
     Certain exemplary formulations comprising alkoxy-poly trin derivatives; ethers of polyethylene glycols having an
  ethylene glycol also comprise one or more therapeutic average molecular weight of about 200 to about 6000 or
  agents selected from the group consisting of peptide drugs, tetrahydrofurfuryl alcohol PEG ether (glycofurol, available
  Such as, oxytocin, vasopression (desmopresin), insulin, cal commercially from BASF under the trade name Tetragly
  citonin, elcatonin, cyanocobalmin B, and glucagon-like col); Surfactants, such as, sodium lauryl Sulfate, oleic acid,
  protein-1 (GLP-1), and Small organic molecules, such as, linoleic acid, monoolein, lecithin, lysolecithin, deoxy
  dinoprSoone, misoprostol, apomorphine, fentanyl, metoclo 25 cholate, taurodeoxycholate, glycochenodeoxycholate, poly
  pramide, butorphanol, and midazolam                              oxyethylene X-lauryl ether, where X is from 9 to 20, sodium
     C. Other Excipients                                           tauro-24,25-dihydrofusidate, polyoxyethylene ether, poly
     It is understood that the compositions of the invention, in oxyethylene Sorbitan esters, p-t-octylphenoxypolyoxyethyl
  addition to the alkoxy-polyethylene glycol and the thera ene, N-lauryl-B-D-maltopyranoside, 1-dodecylazacyclohep
  peutic agent, can comprise a number of other excipients 30 tane-2-azone; amides, such as, 2-pyrrolidone, 2-piperidone,
  known to those skilled in the art, including absorption caprolactam, N-alkylpyrrolidone, N-hydroxyalkylpyrroli
  promoters, buffering agents, water absorbing polymers, done, N-alkylpiperidone, N-alkylcaprolactam, dimethylac
  alcohols, lipids, osmotic pressure controlling agents, pH etamide, and polyvinylpyrrolidone; esters, such as, ethyl
  controlling agents, preservatives, propellants, Surfactants, propionate, tributylcitrate, acetyl triethylcitrate, acetyl tribu
  enzyme inhibitors, excipients for adjusting hydrophilic 35 tyl citrate, triethylcitrate, ethyl oleate, ethyl caprylate, ethyl
  lipophilic balance (HLB) and stabilizers.                        butyrate, triacetin, propylene glycol monoacetate, propylene
     Exemplary Surfactants, include, for example nonoxynol, glycol diacetate, caprolactone and isomers thereof, Valero
  octoxynol, tweens, spans, sodium lauryl Sulfate, and Sorbitan lactone and isomers thereof, B-butyrolactone and isomers
  monopalmitate. Exemplary absorption promoters include, thereof, and other solubilizers known in the art, such as
  for example, bile salts and derivatives thereof, fusidic acid 40 dimethyl acetamide, dimethyl isosorbide (Arlasolve DMI
  and derivatives thereof, oleic acid, lecithin, lysolechitins,    (ICI)), N-methyl pyrrolidones (Pharmasolve (ISP)),
  dodecanoyl phosphatidylcholine (DDPC), sucrose monodo monooctanoin, and diethylene glycol monoethyl ether
  decanoate, n-dodecyl-B-D-maltopyranoside, pectin, chito (available from Gattefosse under the trade name Transcutol).
  san, Cl-, 3- and Y-cyclodextrins and derivatives thereof,           Preferred additional solubilizers include triacetin, trieth
  pegylated caprylic-/capric glycerides and derivatives 45 ylcitrate, ethyl oleate, ethyl caprylate, dimethylacetamide,
  thereof. Such as, Softigen and Labrasol. Exemplary water N-methylpyrrolidone, N-hydroxyethylpyrrolidone, polyvi
  absorbing polymers include, for example, polyethylene gly nylpyrrolidone, hydroxypropyl methylcellulose, hydroxy
  cols having an average molecular weight ranging from 200 propyl cyclodextrins, ethanol, polyethylene glycol 200
  to 7500, propylene glycol, or mixtures thereof, or single        1000, PEG 300, PEG 400, Transcutol, and dimethyl
  ethylene glycols such as tetraethylene glycol and pentaeth 50 isosorbide, Sorbitol, glycerol, triacetin, glycofurol and pro
  ylene glycol. Exemplary alcohols include, for example, pylene glycol. Typically, the solubilizer, if present, is present
  ethanol, isopropyl alcohol. Exemplary lipids include, for in an amount of from about 0.1% (w/v) to about 50% (w/v),
  example, vegetable oil, soybean oil, peanut oil, coconut oil, from about 1% (w/v) to about 40% (w/v) or from about 2%
  maize oil, olive oil, Sunflower oil, monoglycerides, diglyc (w/v) to about 25% (w/v). In addition, the liquid pharma
  erides, mono/diglycerides, monofcdi/triglycerides. Exem 55 ceutical composition can comprise water, for example, from
  plary osmotic pressure controlling agents include, for about 2% (v/v) to about 99% (v/v), from about 10% (v/v) to
  example, glycerol, dextrose, maltose. Sucrose, mannitol, about 95% (v/v), or from about 20% (v/v) to about 90%
  Xylitol, various salts (for example, Sodium chloride). Exem (v/v), of the liquid composition.
  plary pH-controlling agents include, for example, buffers,          As discussed, the composition can comprise a preserva
  acids (for example, nitric acid, phosphoric acid, or acetic 60 tive. In addition or in the alternative, the composition can be
  acid). Exemplary preservatives include, for example, methyl sterilized. Sterilization can be achieved by filter sterilization,
  paraoxybenzoate, phenyl ethyl alcohol or benzoic acid. autoclaving, exposure to ionizing radiation, for example,
  Exemplary propellants, include, for example, butane or air gamma radiation, UV irradiation, and chemical sterilization.
  displacement Such as nitrogen. Excipients adjusting the In one embodiment, the sterile composition has a sterility
  HLB of the formulation include, for example, Tween 20, 25, 65 assurance level of at least about 10. The resulting liquid
  40, 45, 65, 85, Span 20-80, Brij 30-98, acacia. Exemplary compositions preferably are stable at room temperature,
  enzyme inhibitors include, for example aprotinin and other such that less than 5%, 4%. 3%, 2% or 1% by weight of the
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  therapeutic agent degrades after storage for 30 days, or more          Although the therapeutic agent and the alkoxy-polyeth
  preferably 6 months, at 20° C.                                      ylene glycol are combined in the liquid formulations of the
     In addition, the formulations may also include a Sweet invention, they are not covalently linked to one another. In
  ener or flavoring agent. Exemplary Sweeteners or flavoring certain embodiments, the liquid formulations of the inven
  agents include, for example, acacia syrup, acesulfame potas tion are free or are substantially free of chitosan. In certain
  sium, anethole, anise oil, aromatic elixir, aspartame, benz embodiments, the compositions of the invention may be
  aldehyde, benzaldehyde elixir, cyclodextrins, caraway, cara prepared in a powder form.
  way oil, cardamom oil, cardamom seed, cardamom spirit,              II Modes of Administration and Pharmacokinetics
  cardamom tincture, cherry juice, cherry syrup, cinnamon,               The compositions of the invention are particularly useful
  cinnamon oil, cinnamon water, citric acid, citric acid syrup, 10 in delivering one or more therapeutic agents to a mucosal
  clove oil, cocoa, cocoa syrup, coriander oil, dextrose, erio membrane or the skin of a mammal, for example, a human.
  dictyon, eriodictyon fluid extract, eriodictyon syrup, aro The mucosal membrane to which the pharmaceutical prepa
  matic, ethylacetate, ethyl Vanillin, fennel oil, ginger, ginger ration of the invention is administered may be any mucosal
  fluid extract, ginger oleoresin, glucose, Sugar, maltodextrin, membrane of the mammal to which the therapeutic agent is
  glycerin, glycyrrhiza, glycyrrhiza elixir, glycyrrhiza extract, 15 to be applied, for example, the nose (for example, via a nasal
  glycyrrhiza extract pure, glycyrrhiza fluid extract, glycyr membrane), vagina, eye (for example, via an ocular mem
  rhiza syrup, honey, iso-alcoholic elixir, lavender oil, lemon brane), ear (for example, via a tympanic membrane), mouth
  oil, lemon tincture, maltodextrin, maltose, mannitol, methyl (for example, via the buccal membrane), lungs (for example,
  salicylate, menthol, nutmeg oil, orange bitter, elixir, orange via the pulmonal membrane), or rectum (for example, via
  bitter, oil, orange flower oil, orange flower water, orange oil, the rectal membrane). The compositions are particularly
  orange peel, bitter, orange peel Sweet, tincture, orange spirit, useful in delivering a therapeutic agent to the mucosa of the
  orange syrup, peppermint, peppermint oil, peppermint spirit, nose, mouth (buccal, gingual, Sublingual or to the hard
  peppermint water, phenylethyl alcohol, raspberry juice, palate), or the vagina.
  raspberry syrup, rosemary oil, rose oil, rose water, Saccharin,        It is understand that the compositions of the invention are
  saccharin calcium, saccharin Sodium, Sarsaparilla syrup, 25 particularly useful in the intranasal delivery of a therapeutic
  Sarsaparilla compound, Sorbitol Solution, spearmint, spear agent. When the composition is applied to the nasal mucosa,
  mint oil. Sucrose. Sucralose, syrup, thyme oil, tolu balsam, the Volume of the pharmaceutical composition applied typi
  tolu balsam syrup, wintergreen oil, Vanilla, Vanilla tincture, cally is in the range of 1-1000 uL, preferably not more than
  vanillin, wild cherry syrup, xylitol, or combinations thereof. 700 uL, more preferably 50-150 uL per nostril, and most
     In addition, the formulations optionally can contain a taste 30 preferably about 100 uL/nostril.
  masking agents. Exemplary masking agents include, for                  It is understood that when administered intranasally, the
  example, cyclodextrins, cyclodextrin emulsions, cyclodex compositions are delivered via a spray device that produces
  trin particles, cyclodextrin complexes, or combinations a plume of spray droplets that contact the nasal mucosa. It
  thereof.                                                            is contemplated that the compositions can be delivered using
     The foregoing list of excipients and additives is by no 35 commercially available spray devices available from, for
  means complete, and it is understood that a person of example, Pfeiffer of America, Princeton, N.J.; Valois of
  ordinary skill in the art can choose other excipients and America, Inc., Greenwich, Conn.; or Becton Dickinson,
  additives from the GRAS (generally regarding as safe) list of Franklin Lakes, N.J. Furthermore, these devices are easily
  chemicals used in pharmaceutical preparations and those operable by the patient or care giver, and leave little or no
  that are currently allowed in topical and parenteral formu 40 residual formulation in the device after use.
  lations.                                                               Such devices can be filled with single or multi-dose
     Exemplary liquid compositions of the invention contain, amounts of the desired formulation. The container holding
  for example, the active ingredient (for example, midazo the pharmaceutical composition and its sealing means are
  lam), 40% (v/v) to 70% (v/v) methoxy-polyethylene glycol sterilizable. At least the parts of the device that are in contact
  (for example, mPEG 350), 0% (v/v) to 20% (v/v) polyeth 45 with the pharmaceutical composition should be constructed
  ylene glycol (for example, PEG 400), 0% (v/v) to 10% (v/v) and assembled in a configuration that can be sterilized.
  propylene glycol, and 0% (v/v) to 5% (v/v) ethanol. Other Exemplary delivery devices with one or more unit-dose(s)
  exemplary liquid compositions of the invention contain, for are described, for example, in U.S. Pat. Nos. 4.946,069;
  example, the active ingredient dissolved in 50% (v/v) to 5,307,953; 6,948,492; and 6,446,839. Individual devices can
  70% (v/v) mPEG 350, 1% (v/v) to 4% (v/v) propylene 50 be packaged, sterilized and shipped; alternatively, entire
  glycol, and 1% (v/v) to 4% (v/v) ethanol.                           shipping and storage packages can be sterilized at once, and
     It is understood that the choice and amounts of each of the      the devices removed individually for dispensing, without
  therapeutic agents, alkoxy-polyethyline glycol and other affecting the sterility of the remaining units.
  excipients combined to produce the compositions of the                 The mucosal epithelium in the nasal cavity is covered
  invention will depend upon the ultimate use of the compo 55 with many hair-like cilia that provide an important defense
  sition, and the intended therapy and mode of administration. mechanism against inhaled dust, allergens and microorgan
  When the liquid compositions ultimately are administered to isms. The normal half-time for non-absorbed substances
  a patient, the amount of a given excipient, unless the administered to the nasal cavity is about 15 minutes due to
  circumstances dictate otherwise, preferably is limited to a the mucociliary clearance removing foreign particles and
  bioacceptable amount, which is readily determined by one 60 excess mucus toward the pharynx. For this reason it is
  of skill in the art. Furthermore, it is understood that the         preferred that the absorption occurs rapidly and preferably
  liquid compositions of the invention can be formulated using within 0.5 to 20 minutes. However, in the current invention
  techniques known to those skilled in the art. A thorough due to bioadhesive properties of the invention, the preferred
  discussion of formulations and the selection of pharmaceu absorption may occur within 0.5 to 300 minutes (e.g., for
  tically acceptable carriers, stabilizers, etc. can be found, for 65 vaccines and biologicals), preferably between 0.5 to 60
  example, in Remington's Pharmaceutical Sciences (18" minutes (e.g., for large molecules) and more preferably
  Ed.), Mack Publishing Company, Eaton, Pa.                           between 0.5 and 20 minutes, for example, within 2, 3, 4, 5,
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  10, 15 or 20 minutes post administration. The composition ery by intravenous administration. It is contemplated that the
  can be formulated so that upon administration to a Subject, pharmacokinetics of the intranasally administered midazo
  for example, via intranasal administration to the Subject, the lam will be comparable to those of the intravenously admin
  therapeutic agent has a peak concentration (T,) in the istered midazolam.
  blood of the subject within 30, 25, 20, 15, 108, 5, 3 or 2
  minutes after administration of the therapeutic agent.                                 Example 3
     In addition to administration to humans, the compositions
  of the invention can be used to deliver the therapeutic agent
  to an animal, for example: pets, for example, dogs, cats, 10          Pharmacokinetics of Exemplary Midazolam
  rabbits, and guinea pigs; and farm animals, for example,                              Formulations
  horses, sheep, pigs, cattle, and chickens.
     Throughout the description, where compositions are            This Example describes a variety of formulations con
  described as having, including, or comprising specific com taining    methoxy-polyethylene glycol that demonstrate com
  ponents, it is contemplated that compositions also consist
  essentially of or consist of the recited components. Simi 15 parable pharmacokinetic properties to a control formulation
  larly, where processes are described as having, including, or containing polyethylene glycol and propylene. In addition to
  comprising specific process steps, the processes also consist having comparable pharmacokinetic properties, the
  essentially of, or consist of the recited processing steps. methoxy-polyethylene glycol formulations had a lower vis
  Except where indicated otherwise, the order of steps or order cosity than the control formulation.
  for performing certain actions are immaterial so long as the     Table 1 lists the composition of a first test formulation,
  invention remains operable. Moreover, unless otherwise Table 2 lists the composition of a second test formulation,
  noted, two or more steps or actions may be conducted and Table 3 lists the composition of a control formulation.
  simultaneously.
                                                                25                                 TABLE 1.
                         EXAMPLES
                                                                           Test Formulation 1 Containing 50 mg/mL Midazolam base
     The invention is explained in more detail with reference
  to the following Examples, which are to be considered as                  Component                   Percent of Final (% viv)
  illustrative and not to be construed so as to limit the scope
                                                                30
  of the invention as set forth in the appended claims.                      PEG 350                              47
                                                                            PEG 400                               18
                            Example 1                                       Propylene Glycol                        5
                                                                            Ethanol
        Exemplary LoraZapam Containing Formulation                          Water                                 21
                                                                35
     In this Example, 10 mg lorazepam is dissolved in 2 mL of
  mPEG 350 using ultrasound to obtain a solution containing
  5 mg/mL of lorazepam. 50 uL of the resulting composition                                         TABLE 2
  is administered into each nasal cavity of male New Zealand               Test Formulation 2 Containing 50 mg/mL Midazolan base
  White rabbits held in a supine position during, and then one 40
  minute after application. An Eppendorf pipette is used for                Component                   Percent of Final (% viv)
  each application. After administration, blood samples then                 PEG 350                             47
  are harvested from a marginal ear vein at 0, 2, 5, 10, 15, 30             PEG 400                              18
  and 60 minutes, and the lorazepam concentration deter                     Propylene Glycol                      10
  mined by high performance liquid chromatography (HPLC). 45                Polysorbate 80                         O.1
  The pharmacokinetics of lorazepam delivery via intranasal                 Water                                22
  administration can then be compared with the pharmacoki
  netics of lorazepam delivery by intravenous administration.
  It is contemplated that the pharmacokinetics of the intrana                                      TABLE 3
  sally administered lorazepam will be comparable to those of 50
  the intravenously administered lorazepam.                                     Control Containing 50 mg/mL Midazolam base
                           Example 2                                      Component                       Percent of Final (% viv)
                                                                          PEG 400                                  18
        Exemplary Midazolam Containing Formulation              55        Propylene Glycol                         78
                                                                          Butylatedhydoxytoluene                    O.O1
     In this Example, 10 mg of midazolam is dissolved in 2 mL
  of mPEG 350 using ultrasound to obtain a solution contain         Each of the test and control formulations contained 50
  ing 5 mg/mL midazolam. 50 uL of the resulting composition
  is then administered into each nasal cavity of male New     60 mg/mL   midazolam. Once made, 5 mg of midazolam in 0.1
  Zealand White rabbits, held in a supine position during, and mL was delivered intranasally to the right nostril of each dog
  then one minute after application. After administration,       (3 dogs perset) for each formulation in a cross over manner.
  blood samples then are harvested from a marginal ear vein Blood was harvested from the dogs predose and at 0.03,
  at 0, 2, 5, 10, 15, 30 and 60 minutes, and the midazolam           0.08, 0.16, 0.25, 0.5,0.75, 1, 2, and 4 hours after adminis
  concentration determined by HPLC. The pharmacokinetics 65 tration, and the concentration of midazolam in the blood
  of midazolam delivery via intranasal administration can then measured by HPLC. The pharmacokinetic properties are
  be compared with the pharmacokinetics of midazolam deliv summarized in Table 4.
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                                      TABLE 4                                                                        TABLE 7-continued
                             Pharmacokinetic Properties                                                                75 mg              50 mg         25 mg
                                                                                                                     Midazolam         Midazolam      Midazolam
                          Tmax             Cmax           AUC             AUCN:                Component            dose (% w/w)      dose (% w/w)   dose (% w/w)
  Formulation             (hr)            (ng/mL)        (hring/mL)      (hring/mL)       5

  Test                O.11 - O.OS        2220   289       SO694           SO895                Alcohol
  Formulation 1                                                                                Midazolam                6.9               4.6               2.3
  Test                O.OS     O.O3      1880 - 682       399 - 75        403        76
  Formulation 2
  Control             O.O7     O.O3      23SO   796       SO6    72       SO9        71   10
  Formulation                                                                                                                 TABLE 8
  In Table 4, Cmax refer to the maximum plasma concentration, T refers to the time to               Control Formulation (Without Methoxy-polyethylene Glycol
  reach C, AUC refers to area under the concentration curve from time zero to the last
  measurable plasma concentration, and AUCF refers to the area under the concentration
  curve from time zero to infinity,                                                               Component                        Viscosity (cP)    % (w.fw)
                                                                                          15
     The results demonstrate that the test formulations, when                                      PEG 400                              89             19
  administered intranasally to the dogs, produced comparable                                      Propylene Glycol                      40            76
  pharmacokinetics to the control formulation. The test for                                       Butylated hydroxytoluene                             O.O1
                                                                                                  Midazolam                                             5
  mulations, however, had a lower viscosity than the control
  formulations. Lower viscosity correlates with better spray
  pattern characteristics.                                                                       The formulation of Table 5 was prepared by mixing the
                                                                                               propylene glycol, PEG 400, mPEG 350, and ethanol. The
                           Example 4                                                           midazolam was then added to the mixture, and then after the
                                                                                               midazolam had dissolved following mixing the water was
            Additional Exemplary Methoxy-Polyethylene                                     25
                                                                                               added to the formulation. The formulations in Tables 6 and
                  Glycol Containing Formulations                                               7 were prepared as follows. The midazolam was weighed in
                                                                                               a container and the ethanol was added to wet the active
     This example describes the benefit of incorporating ingredient. After mixing, about 65% of the mPEG 350 was
  methoxy-polyethylene glycol into certain intranasal formu added, and the resulting mixture mixed for 2 minutes.
  lations. Table 5 describes a formulation containing methoxy 30 Thereafter,  the additional organic phase was added. The
                                                                 remaining 35% of the mPEG 350 was mixed with water, and
  polyethylene glycol and PEG 400, Table 6 describes a the            diluted mPEG 350 then was gradually added with
  formulation containing methoxy-polyethylene glycol with mixing         to the midazolam solution until a clear solution was
  out PEG 400, Table 7 describes a formulation containing produced.         The Viscosity of the resulting formulations and
  methoxy-polyethylene glycol without PEG 400 (with spray patterns               were tested.
  reduced ethanol), and Table 8 describes a control formula 35 The viscosity of the resulting formulations was tested at
  tion containing PEG 400 but no methoxy-polyethylene 25° C. using a viscometer (Brookfield DV-II PRO). The
  glycol.                                                        viscosity of the control formulation without methoxy-poly
                                                                 ethylene glycol (Table 8) was found to be about 42 cB.
                            TABLE 5                              whereas the viscosity of the test formulation of Table 5 was
      Component                Viscosity (cP)     % (w.fw)    40 found to be about 30 cp and the viscosity of the test
                                                                                               formulation of Table 6 was found to be about 23 cB. The
       Propylene glycol                         40                        5                  reduced viscosity of the test formulations relative to the
       PEG 400                                  8O                      18                   control formulation permitted the creation of more repro
         PEG 350
       Ethanol
                                                29                      47
                                                                         6
                                                                                             ducible spray patterns.
       Water                                     1                      18
                                                                                                The spray patterns produced by the two test formulations
                                                                                          45 of Tables 5 and 6 were tested using a Proveris spray view
       Midazolam                                                         7
                                                                                             instrument. The resulting parameters of the resulting spray
                                                                                             patterns were found to be more reproducible as the viscosity
                                                                                               of the formulation decreased.
                                      TABLE 6                                                   In addition, 100 uL of placebo formulations (no midazo
                                                                                          50 lam) corresponding to the formulations set forth in Tables 7
       Component                         Viscosity (cP)               % (w.fw)               and 8 were administered intranasally to three healthy test
       Propylene glycol                         40                        2                  Subjects using a commercially available spray device from
         PEG 350                                29                      64                   Pfeiffer. The placebo formulation corresponding to Table 7
       Ethanol                                                           5                   containing methoxy-polyethylene glycol had a less notice
                                                                                          55 able taste relative to the placebo formulation corresponding
       Water                                     1                      23
       Midazolam                                                         7                     to Table 8.
                                                                                                  These collective results demonstrate that mPEG 350 is a
                                                                                               Suitable excipient for nasal administration, for example, with
                                      TABLE 7                                                  midazolam.
                                                                                          60                                  Example 5
                                 75 mg                 50 mg              25 mg
                             Midazolam               Midazolam         Midazolam
  Component                  dose (% w/w)        dose (% w/w)         dose (% w/w)                   Sprayability of Methoxy-Polyethylene Glycol
  MPEG 350                       64.8                   64.8                  64.8                             Containing Formulations
  Propylene glycol                 2.0                   2.0                   2.0
  Ethanol                         2.5                    2.5                   2.5        65      This Example demonstrates that methoxy-polyethylene
  Water                          23.7                   26.0                  28.3             glycol-based formulations produce Superior spray flumes
                                                                                               relative to polyethylene glycol. Solutions containing 100%
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                                                       US 9,687,495 B2
                               21                                                                      22
  methoxy-polyethylene glycol 350 (MPEG 350) from Sigma                      2. The system of claim 1, wherein the nasal spray device
  Aldrich Chemie GmbH (St. Louis, Mo., USA) and 100%                       comprises a single-dose amount of the liquid pharmaceutical
  polyethylene glycol 300 (PEG 300) from Croda Chemicals                   composition.
  Europe Ltd. (Goole, UK) were placed into Pfeiffer 20 mL                    3. The system of claim 1, wherein the nasal spray device
  bottles (Pfeiffer 34473) and attached to certain pumps from              comprises a multi-dose amount of the liquid pharmaceutical
  Valois or Pfeiffer (see Table 8). Each spray device was                  composition.
  placed 25 cm under a sheet of absorbent paper and the                      4. The system according to claim 1, wherein the thera
  sprayability was measured as the diameter across of the                  peutic agent is midazolam, or a pharmaceutically acceptable
  paper wetted by the resulting spray. The results are Summa
  rized in Table 9.                                                        salt thereof.
                                                                      10
                           TABLE 9
                                                                             5. The system according to claim 1, wherein n is 2-15.
                                                                             6. The system according to claim 1, wherein n is 3-15.
      Pump Type           Formulation     Spray diameter (cm)                7. The system according to claim 1, wherein the methoxy
      Pfeiffer 71514        PEG 300           2.0-3.2 cm
                                                                           polyethylene glycol is mPEG 350, mPEG 550, or a combi
      Pfeiffer 71514         PEG 350           22-26 cm               15
                                                                           nation thereof.
      Valois VP6,100        PEG 300           5.0–7.5 cm               8. The system according to claim 1, wherein the thera
      Valois VP6,100         PEG 350           15-21 cm              peutic agent comprises from about 0.001% (w/v) to about
                                                                     20% (w/v) of the composition.
     The results show that there is a clear difference in the          9. The system according to claim 1, wherein the methoxy
  sprayability of mPEG 350 compared with PEG 300. The polyethylene glycol comprises from about 0.5% (v/v) to
  required spray angle is not achieved using PEG 300, about 70% (v/v) of the composition.
  whereas a clinically relevant spray-angle can be achieved             10. The system according to claim 1, wherein the
  using mPEG 350.                                                    methoxy-polyethylene glycol comprises 1% (v/v) to 60%
              INCORPORATION BY REFERENCE
                                                                     (v/v) of the composition.
                                                                  25    11. The system according to claim 1, wherein the com
     The entire disclosure of each of the patent documents and position        further comprises water.
  scientific articles referred to herein is incorporated by ref position at system
                                                                        12.  The         according to claim 1, wherein the com
                                                                                  a temperature of 20° C. has a viscosity in the
  erence for all purposes.
                                                                     range of from 1.5 cP to 60 cB.
                         EQUIVALENTS                              30    13. The system according to claim 1, wherein the com
                                                                     position at a temperature of 20° C. has a viscosity in the
     The invention may be embodied in other specific forms range of from 5 cB to 25 cB.
  without departing from the spirit or essential characteristics        14. The system according to claim 1, wherein the com
  thereof. The foregoing embodiments are therefore to be position has a pH in the range of from 4.5 to 8.5.
  considered in all respects illustrative rather than limiting on 35 15. A method of administering a therapeutic agent to a
  the invention described herein. Scope of the invention is thus mammal, the method comprising administering to an intra
  indicated by the appended claims rather than by the fore nasal mucosal membrane of the mammal a liquid pharma
  going description, and all changes that come within the ceutical composition comprising
  meaning and range of equivalency of the claims are intended          a) a therapeutically effective amount of a therapeutic
  to be embraced therein.                                         40       agent selected from benzodiazepine, a pharmaceuti
     What claimed is:
     1. A system for intranasal administration of a liquid                 cally acceptable salt thereof or combinations thereof;
                                                                           and
  pharmaceutical composition formulated for intranasal                 b)  a methoxy-polyethylene glycol of Formula I
  administration comprising:
     a) a nasal spray device; and
     b) a liquid pharmaceutical composition formulated for 45               HC O—(CH2CH2O), H                                  (I)
        intranasal administration disposed in the nasal spray          wherein n is a number in the range of from about 1 to
        device, the liquid pharmaceutical composition com                  about 25.
        prising                                                         16. The method of claim 15, wherein the pharmaceutical
        i) a therapeutically effective amount of a therapeutic composition is administered in a volume of 50 ul to 300 ul.
           agent that is a benzodiazepine, a pharmaceutically 50 17. The method of claim 15, wherein the mammal is a
           acceptable salt thereof or combinations thereof; and human.
        ii) a methoxy-polyethylene glycol of Formula I                  18. The method of claim 15, wherein n is in the range of
        HC-O-(CH2CH2O). H                                       (I)        2 to 12.
    wherein n is a number in the range of 1 to 25.
